Case 4:19-cv-00170-MWB Document 1-2 Filed 01/30/19 Page 1 of 157

EXHIBIT 2
Case 4:19-cv-00170-MWB Document 1-2: Filed 01/30/19 Page 2 of 157

COURT OF COMMON PLEAS, LYCOMING COUNTY, PENNSYLVANIA

 

 

 

 

CASE MONITORING NOTICE
CITY OF WILLIAMSPORT, : IN THE COURT OF COMMON PLEAS OF
Plaintiff ©: LYCOMING COUNTY, PENNSYLVANIA
vs. ; DOCKET NO, 16-0520
CNA INSURANCE COMPANIES and
NATIONAL FIRE INSURANCE OF ; Claim E2022084
HARTFORD, : Response due 1/30
Defendants

I. This matter is:
_. Mortgage Foreclosure (file once an Answer has been filed). Time needed for trial

_ Credit Card Collection Case (file once an Answer has been filed)
a) ____ Arbitration. ($50,000 or less) Time needed for discovery? months
b) ____ Trial. Fast track (6-12 months) Normal track (12-18 months)

_ Forfeiture (file once an Answer has been filed)

Administrative Agency Appeal (file with Notice of Appeal)
X___ General Civil Case (file with Amended Complaint):

a) ____ Arbitration. ($50,000 or less) Time needed for discovery? 3 months
b) ___ Fast track (6-12 months)
c) _X_ Normal track (12-18 months)
d) ____ Complex track (18-24 months)
Other. Action requested:

 

II. Jury trial demanded?__ X YES NO

III. Please note any special scheduling concerns:

 

Name of filing counsel or pro se party: J. David Smith, Esquire for Plaintiff
Address: 835 West Fourth Street, Williamsport, PA 17701

Opposing counsel or pro se party:
Defendants: CNA Insurance Companies and National Fire Insurance of Hartford
Address for both: 333 South Wabash Avenue, Chicago, Illinois 60604
Case 4:19-cv-00170-MWB Document 1-2 Filed 01/30/19 Page 3 of 157

CITY OF WILLIAMSPORT, : IN THE COURT OF COMMON PLEAS OF
Plaintiff : LYCOMING COUNTY, PENNSYLVANIA
vs, DOCKET NO. 16-0520

CNA INSURANCE COMPANIES and
NATIONAL FIRE INSURANCE OF
HARTFORD,

Defendants

NOTICE TO DEFEND

You have been sued in Court. If you wish to defend against the claims set forth in
the following pages, you must take action within twenty (20) days after this Complaint and
notice are served by entering a written appearance personally or by an attorney and filing
in writing with the Court your defenses or objections to the claims set forth. You are
warned that if you fail to do so the case may proceed without you and a judgment may be
entered against you by the Court without further notice for any money claimed by the
Plaintiff. You may lose money or property or other rights important to you.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU
DO NOT HAVE A LAWYER, GO TO OR TELEPHONE THE OFFICE SET FORTH
BELOW. THIS OFFICE CAN PROVIDE YOU WITH INFORMATION ABOUT
HIRING A LAWYER.

Pennsylvania Bar Association
100 South Street, P. O. Box 186
Harrisburg, PA 17108-0186
Telephone (800) 692-7375

IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE
ABLE TO PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT MAY
OFFER LEGAL SERVICES TO ELIGIBLE PERSONS AT A REDUCED FEE OR NO
FEE.

North Penn Legal Services
329 Market Street
Williamsport, PA 17701
Telephone 570-323-8741
Case 4:19-cv-00170-MWB Document 1-2 Filed 01/30/19 Page 4 of 157

AMERICANS WITH DISABILITIES ACT OF 1990

The Court of Common Pleas of Lycoming County is required by law to comply with the
Americans With Disabilities Act of 1990. For information about accessible facilities and
reasonable accommodations available to disabled individuals having business before the Court,
please contact the office of the Lycoming County Court, Administrator, Lycoming County
Courthouse, 48 West Third Street, Williamsport, PA 17701 , Telephone No. (570) 327-2330. All
arrangements must be made at least 72 hours prior to any hearing or business before the Court.
You must attend the scheduled conference or hearing.

McCORMICK LAW FIRM

» LL lJ

J, David Smith, .D. No. 27813
Austin White, I.D. No. 312789
Attorneys for Plaintiff

City of Williamsport

835 West Fourth Street
Williamsport, PA 17701
(570) 326-5131
Case 4:19-cv-00170-MWB Document 1-2 Filed 01/30/19 Page 5 of 157

CITY OF WILLIAMSPORT, : IN THE COURT OF COMMON PLEAS OF
Plaintiff : LYCOMING COUNTY, PENNSYLVANIA
VS. : DOCKET NO. 16-0520

CNA INSURANCE COMPANIES and
NATIONAL FIRE INSURANCE OF
HARTFORD,
Defendants
COMPLAINT

Plaintiff, the City of Williamsport (the “City”), by and through its attorneys, hereby files
this complaint against the defendants, and in support thereof avers as follows:

1. Plaintiff, City of Williamsport, is a city of the third class organized and existing
under Pennsylvania law, situated within Lycoming County, and has a mailing address of 245
West Fourth Street, Williamsport, Pennsylvania 17701.

2. Defendant, CNA Insurance Companies, is a duly licensed insurance carrier, and a
wholly owned subsidiary of defendant National Fire Insurance Company of Hartford, with a
mailing address of 333 South Wabash Avenue, Chicago, Illinois 60604.

3, Defendant, National Fire Insurance Company of Hartford, is a duly licensed
insurance carrier, with a mailing address of 333 South Wabash Avenue, Chicago, Illinois 60604.

4, This action was commenced on April 7, 2016 by the City filing a praecipe for a
writ of summons, with a writ of summons being issued by the Lycoming County Prothonotary
against each of the defendants on that same day. Defendants were served with the writs shortly
thereafter. See Proof of Service filed April 19, 2016.

5. Defendants advertise, solicit and conduct insurance business in the

Commonwealth of Pennsylvania.
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6. For the policy period of January 1, 2014 through January 1, 2015, the City of
Williamsport purchased and maintained from the defendants certain insurance policies, to
include an Automobile Policy (No. 419708561) (the “Automobile Policy”) and a Law
Enforcement Liability Policy (No. 419711301) (the “Law Enforcement Policy”). See
Automobile Policy, Declarations, and Forms, attached hereto as Exhibit “A”; Law Enforcement
Policy, Declarations, and Forms, attached hereto as Exhibit “B.”

7. The Automobile Policy had a $1,000,000.00 combined single limit. See Ex. A.

8. The Law Enforcement Policy had a $1,000,000.00 limit for each wrongful act,
with an aggregate limit of $3,000,000.00, and a deductible of $5,000.00. See Ex. B.

9. For the aforementioned policy period, the policy premium paid by the City for the
Automobile Policy was $65,635.00. See Ex. A,

10. For the aforementioned policy period, the policy premium paid by the City for the
Law Enforcement Policy was $48,788.00. See Ex. B.

11. In January of 2014, the City employed Jonathan Deprenda as a police officer
(hereinafter “Officer Deprenda”).

12. On January 12, 2014, Officer Deprenda was acting within the course and scope of
his employment with the City, when, while pursuing a fleeing vehicle, he collided with another
car, which resulted in the death of the other driver, James David Robinson (the “Accident”),

13. | The City submitted timely claims to the defendants under both the Automobile
Policy and the Law Enforcement Policy, to obtain coverage for claims being made as a result of

the Accident.

ho
Case 4:19-cv-00170-MWB Document 1-2 Filed 01/30/19 Page 7 of 157

14, The defendants denied coverage under the Law Enforcement Policy, claiming that
the “auto” exclusion applied, which exclusion excludes coverage for a claim arising out of the
operation, use, or control of an automobile.

15. The defendants partially denied coverage under the Automobile Policy, claiming
that the insurance did not apply to claims in excess of $500,000.00.

16. The decedent’s family initiated a lawsuit against, inter alia, the City and Officer
Deprenda. See Nancy Robinson Westbrooks, Administrator of the Estate of James David
Robinson, deceased, v. Jonathan DePrenda et al, United States District Court Civil Action No.
14-1114, Complaint attached hereto as Exhibit “C” (hereinafter referred to as the “Underlying
Action’).

17, In the Underlying Action, the plaintiff alleged one count against the City for
negligence, one count against Officer Deprenda for negligence, counts against both the City and
Officer Deprenda for civil right violations (under 42 U.S.C. § 1983), and a wrongful death and a
survival cause of action against each defendant. See Ex. C.

18. Onor about November 2, 2015, the Underlying Action settled for a gross sum of
$1,000,000.00 to be paid by the City together with some non-economic terms. See Settlement
Petition and Order, attached hereto as Exhibit “D” (the “Settlement”).

19. In connection with the Settlement, defendants herein refused to indemnify the
City and pay any amount in excess of $500,000.00.

20. The defendants refusal was despite the fact that the Automobile Policy had a
policy limit of $1 Million, and the Law Enforcement Policy had a policy limit of $1 Million. See

Ex. A and Ex. B.
Case 4:19-cv-00170-MWB Document 1-2 Filed 01/30/19 Page 8 of 157

21. The City was thus forced to finance the additional $500,000.00 in order to fulfill
its financial obligations under the terms of the Settlement.

22. The claims made within the Underlying Action and the settlement itself should
have been fully covered by plaintiff's Automobile Policy, and/or the Law Enforcement Policy,
without exclusions.

COUNT I- DECLARATORY JUDGMENT
THE AUTOMOBILE POLICY

23. The averments of paragraphs 1 through 22 are incorporated by reference as if
fully set forth herein.

24. The City’s Automobile Policy provides, in pertinent part:

We will pay all sums an “insured” legally must pay as damages because of
“bodily injury” or “property damage” to which this insurance applies,
caused by an “accident” and resulting from the ownership, maintenance or
use of a covered “auto”.

See Ex. A, at section 2(A),

25. The Automobile Policy includes a single occurrence policy limit of $1 Million.

26. The City owned the police car operated by Officer Deprenda on January 12, 2014.

27. The policy provides coverage for “[a]nyone else while using with your permission
a covered ‘auto’ you own, hire or borrow” as a covered insured.

28. _ By virtue of the foregoing provisions, Officer Deprenda was an insured under the
Automobile Policy, because he was a City employee using a City vehicle within the course and
scope of his employment at the time of the accident,

29. The Underlying Action alleges that, inter alia, the decedent’s bodily injury and

death was caused by an accident that was the result of Officer Deprenda’s alleged negligence,

and alleged negligence of the City.
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30. If proven and a judgment entered against the City, such a judgment would be a
loss within the coverage provided by the Automobile Policy.

31. Likewise, the Settlement was a loss within the coverage provided by the
Automobile Policy.

32. Accordingly, pursuant to the express and implied terms of the Automobile Policy,
defendants are required to indemnify the City for the full settlement sum of $1 000,000.00.

33. The defendants’ obligations to indemnify the City were not extinguished by their
payment of only one-half of the Settlement.

34, The Court should declare that the duty to indemnify extends to the entire
Settlement, and thus the defendants must reimburse the City for the $500,000.00 it was forced to
contribute to the Settlement due to defendants’ denials.

WHEREFORE, plaintiff requests that the Court enter judgment in its favor and declare
that the defendants:

(a) had/have an obligation to indemnify the City for the full Settlement of
$1,000,000.00 in the Underlying Action;
(b) must reimburse the City the $500,000.00 it contributed to the Settlement,
including all interest and fees associated with financing the same; and
(c) must retmburse the City its costs and legal fees incurred in the Under] ying
Action and in the instant action.
And, that the Court grant such supplementary relief as the Court may be appropriate under the

Declaratory Judgments Act.
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COUNT II - DECLARATORY JUDGMENT
TRE LAW ENFORCEMENT POLICY

35. The averments of paragraphs | through 34 are incorporated by reference as if
fully set forth herein.

36. The Law Enforcement Policy provides that:

We will pay those sums that the insured becomes legally obligated to pay as

compensatory civil damages because of “injury.” This insurance applies only to

such “injury” that results from a “wrongful act” to which this insurance applies...
See Ex. B. at section I (1.)

37. | The defendants denied coverage on the Law Enforcement Policy under the auto
exclusion, which excludes coverage for “damages arising out of the ownership, maintenance,
management, operation, use, control, loading or unloading of any “automobile...” See Ex. B at
Section I (2.).

38. | However, the claims made in the Underlying Action included, inter alia, the
allegation that the City negligently failed to supervise Deprenda; failed to properly train
Deprenda; failed to create, implement, and or enforce policies and procedures relating to the
operation of motor vehicles; failed to create, implement, and or enforce policies and procedures
relating to responding to calls involving other officers; and, failed to create, implement, and or
enforce policies and procedures relating to calls which have been called off and/or reported to be
over. See Ex. C,

39. Those claims, in whole or in part, are not excluded by the “automobile” exclusion,
and thus are covered claims under the Law Enforcement Policy.

40. Additionally, the defendants denied coverage under the Law Enforcement Policy

because the claims made in the underlying Action were purportedly not “injuries” covered by the

policy. See Letter dated April 27, 2015 attached hereto as Exhibit “E.”
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41. The Law Enforcement Policy provides that: “Injury” means “bodily injury”,
“property damage” or “personal injury” that the insured did not expect or intend, and that arises
out of the insured’s duties to provide law enforcement and/or other activities approved by the
insured.

42, The allegations within the Underlying Action included allegations that the injury
was not expected or intended, and that it arose out of the law enforcement activities of the City.

43. Those claims, in whole or in part, are included under the definition of “injury”
and thus are covered claims under the Law Enforcement Policy.

44, Furthermore, the Law Enforcement Policy provides that: “Personal injury”, means
injury, other than “bodily injury” arising out of...a violation of civil rights, unless uninsurable by
law.

45. The allegations within the Underlying Action included allegations that civil rights
violations resulted in personal injuries, inter alia, the allegations that:

a. the City negligently failed to supervise Deprenda;

b. failed to properly train Deprenda;

c. failed to create, implement, and or enforce policies and procedures relating to
the operation of motor vehicles;

d. failed to create, implement, and or enforce policies and procedures relating to
responding to calls involving other officers;

e. failed to create, implement, and or enforce policies and procedures relating to

calls which have been called off and/or reported to be over;

 
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f, employed policies and/or procedures which recklessly disregarded and/or
were deliberately indifferent to, the safety and constitutional rights of the
public relating to the operation of motor vehicles by police officers;

g. engaged in customs and/or practices which recklessly disregarded and/or are
deliberately indifferent to, the safety and constitutional rights of the public
relating to the operation of motor vehicles by police officers: and,

h. failed to appropriately discipline Mr. Deprenda for prior operation of a motor
vehicle with reckless disregard and/or deliberate indifference to the safety/and
or constitutional rights of others. See Ex. C.

46. Those claims, in whole or in part, are included under the definition of “personal
injury” and thus are covered claims under the Law Enforcement Policy.

47. Nevertheless, the defendants refused coverage under the Law Enforcernent
Policy, which was unlawful and contrary to the City’s rights under the insurance contract.

48. Therefore, to the extent the Settlement is not covered by the Automobile Policy,
which is specifically denied, the City submits that in the alternative should be covered by the
Law Enforcement Policy.

WHEREFORE, plaintiff requests that the Court enter judgment declaring that the
defendants:

(a) Had/have an obligation to indemnify the City for the full Settlement of $1

Million in the Underlying Action;
(b) must reimburse the City the $500,000.00 it contributed to the Settlement;

and
Case 4:19-cv-00170-MWB Document 1-2 Filed 01/30/19 Page 13 of 157

(c) must reimburse the City its costs and legal fees incurred in the Underlying
Action and in the instant action.

The City also requests that the Court grant such further relief as the Court may deem
appropniate.

COUNT II - BREACH OF CONTRACT

49. The averments of paragraphs 1 through 48 are incorporated by reference as if
fully set forth herein.

50. Asset forth above, in return for substantial premiums paid by the City, the
defendants entered into insurance agreements with the City, to include the Automobile Policy
and the Law Enforcement Policy.

51. Within the insurance agreements, the defendants promised, inter alia, to pay all
sums due by the City for claims covered by the policies.

52. In consideration for premiums paid, the defendants contractually obligated
themselves to indemnify the City for covered claims, which obligation arises whenever an
allegation states a claim to which the policy potentially applies. See United States Fire Ins. Co.
v. Rothenberg, 1998 U.S. Dist. LEXIS 15009 (E.D. Pa. 1998).

53. The claims made in the Underlying Action are covered by the policies, either
jointly or in the alternative.

54, Despite acknowledging the claims made and having all pertinent information
available to them, the defendants refused to indemnify the City for the additional $500,000.00
owed for the Settlement of the Underlying Action.

55. That refusal to indemnify and to pay the additional $500,000.00 was a breach of

the insurance contracts between the City and the defendants.

 
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56. As adirect and proximate result of the defendants’ breach of their contractual
obligations, the City has been deprived of the benefits of insurance contracts for which the City
has paid substantial premiums, causing the City substantial damage.

WHEREFORE, the City of Williamsport respectfully requests judgment in its favor in an
amount in excess of the limits of compulsory arbitration, plus costs, attorneys’ fees, interest,
incidental’consequential damages, and such further relief as the Court may deem appropriate.

COUNT III - VIOLATION OF 42 Pa. CS. § 8371

97. The averments of paragraphs | through 56 are incorporated by reference as if
fully set forth herein.

58, The City’s insurance contracts with the defendants obligated the defendants to
provide indemnity coverage to the City for the Underlying Action and the Settlement.

59. Indeed, defendants, as insurance companies, had a duty to act with the utmost
good faith toward the City, the policy holder.

60. Through their failure to indemnify the City and pay the full Settlement Amount,
the defendants have violated the bad faith statute 42 Pa. C.S. § 8371.

61, Indeed, the defendants acted in bad faith when they denied responsibility to pay
for the full Settlement Amount, placing their own financial interest above the City’s right to
secure the benefit of the policies for which it paid substantial premiums.

62. The defendants lacked a reasonable basis for failing to indemnify the City.

63. Because of the defendants’ bad faith actions, the City has suffered and will
continue to suffer, substantial damages.

64. As aresult, the defendants are liable for acting in bad faith, and subject to the

additional relief authorized under 42 Pa. C.S. § 8371.

10
~ Case 4:19-cv-00170-MWB Document 1-2 Filed 01/30/19 Page 15 of 157

WHEREFORE, the City requests that the Court enter judgment in its favor and against
the defendants, in an amount in excess of the limits of compulsory arbitration. In addition, the
City requests that the Court, pursuant to 42 Pa. C.S. § 8371, award to the City interest on the
amount of the claim from the date the claim was made by the City, in an amount equal to the
prime rate of interest plus 3%; punitive damages; all Court costs and attorneys’ fees incurred by
the City in the instant action; and such further relief as the Court may deem appropriate.

McCORMICK LAW FIRM

»_L ta

J. David Smith, LD. No. 27813
Austin White, LD. No. 312789
Attormeys for Plaintiff,

City of Williamsport

835 West Fourth Street

Williamsport, PA 17701
(570) 326-5131

11
“~

Exhibit A

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MUNICIPAL PACKAGE PROGRAM GH
COMMERCIAL AUTOMOBILE COVERAGE

C] New Business Declaration
RJ Renewal of 419708561

shee

     
   

POLICY NUMBER COVERAGE PROVIDED BY POLICY PERIOD

MNA419708561 NATIONAL FIRE INSURANCE OF HARTFORD 01/01/2014 to 01/01/2015
CNA PLAZA

CHICAGO, ILLINOIS 60685

INSURED NAME AND ADDRESS
Williamsport, City of

245 W. Fourth Street
Williamsport, PA 17701

AGENCY NAME AND ADDRESS BROKER NAME AND ADDRESS:
Henry Dunn, Inc McKee Risk Management, Inc.
49 E. Forth St 810 Freedom Business Center Drive
Williamsport, PA 17701-6355 Suite 300
King of Prussia, PA 19406
CNA PRODUCER #
BRANCH NUMBER BRANCH NAME AND ADDRESS
B80 CNA E&S PROGRAMS
333 SOUTH WABASH AVENUE
SUITE 2200

CHICAGO, IL 60585

 

 

This policy becomes effective and expires at 12:01 A.M. standard time at your mailing address on the dates shown above.

The Named Insured is a MUNICIPALITY,

Your policy is composed of this Declarations, with the attached Common Policy Conditions, Coverage Forms, and
Endorsements, if any. The Policy Forms and Endorsement Schedule shows all forms applicable to this policy at the time
of policy issuance.

The AUTOMOBILE Policy Premium is: $65,635

The Terrorism Risk Premium (if elected) is: N/A

In return for the payment of the premium, and subject to ail the terms and conditions contained here-in, we agree to
provide the Insurance as stated.

 
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POLICY NUMBER INSURED NAME AND ADDRESS
MNA419708561 Williamsport, City of

 

ITEM TWO: SCHEDULE OF COVERAGES AND COVERED AUTOS

Each of these coverages wilt apply only to those autos shown as Covered Autos. Autos are shown as Covered Autos for
a particular coverage by the entry of one or more of the symbols from the Covered Auto Section of the Business Auto
Coverage Form next to the name of the Coverage. The limit displayed is the most we will pay for any one accident/loss.

See Note 3.

COVERED
COVERAGES AUTO SYMBOL LIMIT PREMIUM
Cambined Single Limit 1,8,9 $1,000,000 included
Personal Injury Protection 5 See Below included
Uninsured Motorists 6 $35,000 included
Underinsured Motorists 6 $35,000 included
Comprehensive 7,8,9 Refer to Note 1 included
Collision 7,8,9 Refer to Note 2 included

Note 1:
ACV or Cost of Repair whichever is less minus deductible stated in Item Three, for each Covered Auto for all
losses but no deductible applies to loss caused by fire or lightning. See Item Four for Hired or Borrowed Autos.

Note 2:
ACV or Cost of Repair whichever is less minus deductible stated in ftem Three, for each Covered Auto. See Item
Four for Hired or Borrowed Autos.

Note 3:
SUBJECT TO THE CONDITIONS DESCRIBED BELOW, THIS POLICY WILL NOT BE AUDITED/

Any auto(s) the entity acquires during the term of the policy will be covered automatically for Liability and Physical
Damage, provided it is an additional new auto or replaces an auto the entity previously owned which had Physical
Damage coverage

1) The total additional auto(s) do not exceed of the number of vehicles currently on the original schedule by
more than 10%.

2) The named insured submits a notice of the addition or replacement within 30 days after the entity acquires the
auto(s) to the agency.

3) The agency forwards a copy of the change request to the Managing Agency shown in the declarations of this
policy.

 
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POLICY NUMBER INSURED NAME AND ADDRESS
MNA419708561 Williamsport, City of

 

ITEM THREE: SCHEDULE OF COVERED AUTOS YOU OWN AND COVERAGES

 

Ail vehicles are covered for the fimils of liability as stated under Item Two unless other coverage/limits are indicated here,

COVERAGE DEDUCTIBLE PREMIUM

 

 

PHYSICAL DAMAGE

Comprehensive $500 included

Collision $500 included

 
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POLICY NUMBER INSURED NAME AND ADDRESS
MNA419708561 Williamsport, City of

 

ITEM FOUR: SCHEDULE OF HIRED OR BORROWED coverep AUTO COVERAGE AND PREMIUMS

 

RATE PER ESTIMATED
$100 COST cCOosT

COVERAGE STATE DEDUCT OF HIRE OF HIRE* FACTOR PREMIUM
Excess Liability PA NOT COVERED
Primary Physical
Damage PA $500 $25,000
Comprehensive $500
Collision $500

TOTAL HIRED OR BORROWED PREMIUM: INCLUDED

*Cost of Hire means the total amount you incur for the hire of autos you do not own (not including autos you borrow or
rent fram your partners or employees or their family members), Cost of Hire does nat include charges for services
performed by motor carriers of property or passengers.

 
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POLICY NUMBER INSURED NAME AND ADDRESS
MNA419708561 Williamsport, City of

 
 

ITEM FIVE: SCHEDULE FOR NON-OWNERSHIP LIABILITY

NAMED RATING

INSURED’S BUSINESS BASIS NUMBER PREMIUM

Municipality Number of On File With Company included
Employees

Non-Ownership Liabitity Total Premium INCLUDED

 
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POLICY NUMBER

INSURED NAME AND ADDRESS
MNA419708561

Williamsport, City of

 

MISCELLANEOUS COVERAGES

EN ae eat gg

COVERAGE DEDUCTIBLE

 

LIMIT PREMIUM

Miscellaneous Coverage Total Premiums NOT APPLICABLE

 

 

 
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POLICY NUMBER INSURED NAME AND ADDRESS
MNA418708561 Williamsport, City of

    
     

 

 

COMMERCIAL AUTOMOBILE LOSS PAYEE SCHEDULE

Any Loss Payee that has a financial interest in a covered auto for which We aré providing physical damage coverage for
that covered auto under this policy.

 
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POLICY NUMBER INSURED NAME AND ADDRESS
MNA419708561 Williamsport, City of

 

ADDITIONAL INSURED - LESSOR SCHEDULE

Any Lessor of a covered auto for which we are providing any coverage for that cavered auto under this policy.

 
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POLICY NUMBER

MNA419708561

 
  

INSURED NAME AND ADDRESS
Willlamsport, City of

FORMS AND ENDORSEMENTS SCHEDULE

 
 

 
 

The following forms have been added to this policy.

FORM NUMBER
CA 00 01 03 10
CA 01 80 09 97
CA 20 02 03 10

CA 20 15 12 04
CA 20 18 12 93
CA 20 30 03 10
CA 21 92 06 12
CA 21 93 06 12
CA 22 37 03 06
CA 22 38 03 95
CA 23 94 03 06
CA 24 02 12 93
CA 989 15 12 93
CA 99 28 03 10
CA 99 33 02 99
CA 99 34 12 93
CA 99 37 03 10
DCMNPCM 11 06
G-144207-B
G-144291-A
G-89001-E
SCA-23 500-C

INTERLINE FORMS

IL 00 03 69 08
IL QO 17 11 98
IL 00 274 09 08
IL O41 2005 11
IL. 02 46 09 07
iL 09 10 07 02
{L 12 01 11 85

FORM TITLE

Business Auto Coverage Form

Pennsylvania Changes

Audio, Visual & Data Electronic Equipment Coverage - Fire, Police and
Emergency Vehicles

Mobile Equipment

Professional Services Not Covered

Emergency Vehicles - Volunteer Firefighters & Workers Injuries Excluded
Pennsylvania Uninsured Motorists Coverage - Nonstacked
Pennsylvania Underinsured Motorists Coverage - Nonstacked
Pennsylvania Basic First Party Benefits

Pennsylvania Added/Combo First Pariy Benefits

Silica or Silica-related Dust Exclusion

Public Transportation Autos

Govemmentat Bodies Amendatory Endorsement

Stated Amount Insurance

Employees as Insureds

Volunteers as Insureds

Garagekeepers Coverage

CNA Common Policy Declarations

CNA Pennsylvania UM/UIM Selection Rejection Form
Econamic Trade and Sanctions Condition

Composite Rate Endorsement

CNA BA Plus Extended Coverage Endorsement

FORM TITLE

Calculation of Premium

Commion Policy Conditions

Nuclear Energy Liability Exclusion Endorsement
Pennsylvania Changes - Defense Costs

Pennsylvania Changes - Cancellation and Nonrenewal
Pennsylvania Notice

Named Insured Continuation

“** PLEASE READ THE ENCLOSED IMPORTANT NOTICES CONCERNING YOUR POLICY ***

FORM NUMBER

Brrks hen Ve

Chairman of the Board

FORM TITLE

 

Countersignature

Mill Poe

Secretary
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CNA G-89001-E (Ed. 05/07)

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
COMPOSITE RATE ENDORSEMENT

This endorsement modifies insurance provided under the following:

The premium for coverage shal! be computed on the premium be less than the minimum premiums shown in
basis of premium shown below. The premium stated in the schedule betow.

the schedule is an estimated premium only, Upon sae: « .
termination of the policy, eamed premium shall be you shal ree 1 ooniee tes of alt res tb
computed by the application of the rates to the number cquired and deleted. Copi uen records shall be
of "autos," or other basis of premium shown. As stated sent to us at the end of the policy period and at such

in the schedule including any "autos" newly acquired or limes during the policy period as we may direct.
deleted during the policy period, if the earned premium We shall be permitted to inspect your "autos" and to

 

 

 

exceeds the estimated advanced premium, you shail examine and audit your books and records at any time
pay the excess to us; ifless, we shall return to you the during the policy period and any extension thereof and
uneamed partion paid. In no event shall the eamed within three years after the final termination of the
policy.
Coverages Basis of Rates Estimated Minimum
Premium Advance Premium
Premium
Liability 84 power units $ 332.119 $27,898 $20,923
Comprehensive 83 power units 3 454.663 $37,737 $28,302
and Collision

 

 

 

 

 

 

 

Definition of Premium Basis: Number of power units covered, excluding trailers

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THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

 

 

 

 

 

 

POLICY CHANGES
Policy Change
Number
POLICY NUMBER POLICY CHANGES COMPANY
MNA419708561 EFFECTIVE
NAMED INSURED AUTHORIZED REPRESENTATIVE
CITY OF WILLIAMSPORT
COVERAGE PARTS AFFECTED
COMMERCIAL AUTOMOBILE
CHANGES

Named Insured continuation:

Municipal Authority of the City of Williamsport
City Recreation Commission

Bowman Field Commission

Brandon Park Commission

Ways Garden Commission

Williamsport Planning Commission

Urban Homestead Selection Board
Homestead Appeal Board

Vacant Property Review Committee

City of Williamsport Bureau of Transportation dba River Valley Transit
Williamsport Redevelopment Authority

Board of Health — City of Williamsport

 

 

 

 

Authorized Representative Signature

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COMMERCIAL AUTO
CA 00 01 03 10

BUSINESS AUTO COVERAGE FORM

Various provisions in this policy restrict coverage.
Read the entire policy carefully to determine rights,
duties and what is and is not covered.

Throughout this policy the words "you" and “your" re-
fer to the Named Insured shown in the Declarations.
The words “we”, “us" and "our" refer to the company
providing this insurance.

Other words and phrases that appear in quotation
marks have special meaning. Refer to Section V —
Definitions,

SECTION | - COVERED AUTOS

Item Two of the Declarations shows the “autos” that
are covered "autos" for each of your coverages. The
following numerical symbols describe the "autos" that
may be covered "autos", The symbols entered next to
a coverage on the Declarations designate the only
“autos” that are covered "autos".

A. Description Of Covered Auto Designation
Symbols

 

Symbol

Description Of Covered Auto Designation Symbols

 

4 Any “Auto”

 

2 Owned "Autos"

Only those "autos” you own (and for Liability Coverage any “trailers” you don't own
Only while attached to power units you own). This includes those “autos” you acquire
Ownership of after the policy begins.

 

3 Owned Private

Only the private passenger “autos” you own. This includes those private

 

"Autos” Other
Than Private

Passenger passenger "autos" you acquire ownership of after the policy begins,
“Autos” Only
4 Owned Only those “autos” you own that are not of the private passenger type (and for

Liability Coverage any "trailers" you don't own while attached to power units you
own). This includes those “autos” not of the private passenger type you acquire

 

Passenger ownership of after the policy begins.
“Autos” Only

5 Owned "Autos" Only those "autos" you own that are required to have no-fault benefits in the state
Subject To where they are licensed or principally garaged. This Includes those “autos” you
No-fault acquire ownership of after the policy begins provided they are required to have no-

fault benefits in the state where they are licensed or principally garaged.

 

6 Owned "Autos"
Subject To A
Cornpulsory
Uninsured

Motorists Law requirement.

Only those “autos” you own that because of the law in the state where they are
licensed or principally garaged are required to have and cannot reject Uninsured
Motorists Coverage, This Includes those “autos” you acquire ownership of after the
policy begins provided they are subject to the same state uninsured motorists

 

7 Specifically
Described
"Autos”

Only those “autos" described in tem Three of the Declarations for which a
premium charge is shown (and for Liability Coverage any "trailers" you don't own
while attached to any power unit described in Item Three).

 

8 Hired "Autos"

households.

Only those “autos” you lease, hire, rent or borrow. This does not include any "auto"
Only you lease, hire, rent or borrow from any of your "employees", partners (if you are a
partnership), members (if you are a limited lability company) or members of their

 

9 Non-owned
"Autos" Only

 

 

personal affairs.

Only those "autos" you do not own, lease, hire, rent or borrow that are used in
connection with your business. This includes “autos” owned by your “employees”,
partners (if you are a partnership), members (if you are a limited liability company)
or members of their households but only while used in your business or your

 

 

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19 Mobite Equip-

Compulsory Or
Financial

Only those "autos" that are land vehicles and that would qualify under the definition
ment Subject To of "mobile equipment” under this policy if they were not subject to a compulsory or

financial responsibility taw or othe
licensed or principally garaged.

t motor vehicle insurance law where they are

Responsibility
Or Other Motor
Vehicle Insur-
ance Law Only

 

 

 

 

B. Owned Autos You Acquire After The Policy
Begins
1. If Symbols 1, 2, 3, 4, 5, 6 or 19 are entered
next lo a coverage in Item Two of the Declara-
tions, then you have coverage for "autos" that
you acquire of the type described for the re-
mainder of the policy period.

2. But, if Symbol 7 Is entered next to a coverage
in tem Two of the Dectarations, an “auto” you
acquire will be a covered “auto” for that cover-
age only if:

a. We already cover all "autos" that you own
for that coverage or it replaces an “auto”
you previously owned that had that cover-
age; and

b. You tell us within 30 days after you acquire
it that you want us to cover it for that cover-
age.

C, Certain Trailers, Mobile Equipment And

Temporary Substitute Autos

If Liability Coverage is provided by this coverage
form, the following types of vehicles are also cov-
ered “autos” for Ltability Coverage:

1. "Trailers" with a load capacity of 2,000 pounds
or less designed primaniy for travel on public
roads.

2. "Mobile equipment" while being carried or
towed by 4 covered “auto”,

3, Any “auto” you do not own while used with the
permission of its owner as a temporary substi-
tute for a covered "auto" you own that is out of
service because of its:

a. Breakdown;
Repair;
Servicing;
“Loss”: or
Destruction.

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SECTION It - LIABILITY COVERAGE
A. Coverage

We will pay all sums an “insured” legally must pay
as damages because of "bodily injury” or "property
damage" to which this insurance applies, caused
by an “accident” and resulting from the ownership,
maintenance or use of a covered “auto”,

We will also pay all sums an “insured” legally must
pay as a “covered pollution cost or expense” to
which this insurance applies, caused by an “acci-
dent" and resulting from the ownership, mainte-
nance or use of covered “autos”. However, we will
only pay for the “covered pollution cost or ex.
pense” if there is either "bodily injury" or “property
damage" to which this insurance applies that is
caused by the same "accident".

We have the right and duty to defend any “in-
sured” against a “suit” asking for such damages or
a "covered pollution cost or expense", However,
we have no duty to defend any “insured” against a
“suit” seeking damages for “bodily injury” or "prop-
erty damage” or a "covered pollution cost or ex-
pense” to which this insurance does not apply. We
may investigate and settle any claim or "suit" as
we consider appropriate. Our duty to defend or
settle ends when the Liability Coverage Limit of
Insurance has been exhausted by payment of
judgments or settiernents.

1. Who Is An insured
The following are “insureds”:
a. You for any covered "auto",

b. Anyone else while using with your permis-
sion a covered “auto” you own, hire or bor-
row except:

(1) The owner or anyone else from whom
you hire or borrow a covered “auto”.

This exception does not apply if the
covered “auto” is a “trailer’ connected to a
covered "auto" you own.

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(2) Your “ernployee" if the covered "auto" Is
owned by that “employee" or a member
of his or her household,

(3) Sameone using a covered "auto" while
he or she is working in a business of
selling, servicing, repairing, parking or
Storing “autos” unless that business is
yours,

{4} Anyone other than your “employees”,
partners (if you are a_ partnership),
members (if you are a limited tiabllity
company) or a lessee or borrower or
any of their “employees”, while moving
property to or from a covered “auto”,

(5) A partner (if you are a partnership) or a
member (if you are a limited liability
company) for a covered “auto” owned by
him or her or a member of his or her
household,

c. Anyone liable for the conduct of an “in-
sured" described above but only to the ex-
tent of that liability.

2. Coverage Extensions

a. Supplementary Payments
We will pay for the “insured”:
(i) All expenses we incur,

(2) Up to $2,000 for cost of bail bonds (in-
cluding bonds for related traffic law vio-
lations) required because of an “acci-
dent" we cover. We do not have to fur-
nish these bonds,

(3) The cost of bonds to release attach-
ments in any "suit" against the "insured"
we defend, but only for bond amounts
within our Limit of Insurance.

(4) All reasonable expenses incurred by the
“insured” at our request, including actual
loss of earnings up to $250 a day be-
cause of time off from wark,

(5) All court costs taxed against the "in-
sured" in any “suit” against the "insured"
we defend. However, these paymenis
do not include altorneys' fees or attor-
neys’ expenses taxed against the “in-
sured”,

(6) All interest on the full amount of any
judgment that accrues after entry of the
judgment in any "suit" against the "in-
sured" we defend, but our duty to pay in-
lerest ends when we have paid, offered
to pay or deposited In court the part of
the judgment that is within our Limit of
Insurance,

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These payments will not reduce the Limit of
Insurance.

b. Out-of-state Coverage Extensions

While a covered “auto” is away from the
Slate where it is licensed we will:

(1) Increase the Limit of Insurance for Li
ability Coverage to meet the limits speci-
fied by a compulsory or financial re-
sponsibility law of the jurisdiction where
the covered “auto” is being used. This
extension dees nol apply to the limit or
limits specified by any law goverming
motor carers of passengers or prop-
erty.

(2) Provide the minimum amounts and
types of other coverages, such as no-
fault, required of out-of-state vehictes by
the jurisdiction where the covered “auto”
is being used.

We will not pay anyone more than once for
the same elements of loss because of
these extensions.

B. Exctusions

This insurance does not apply to any of the follow-
ing:

1. Expected Or Intended Injury

“Bodily Injury" or “property damage” expected
or intended from the standpoint of the “in-
sured”,

. Contractual

Ltability assumed under any contract. or
agreement.

But this exclusion does not apply to liability for
damages:

a. Assumed in a contract or agreement that is
an “insured contract" provided the “bodily
Injury” or "property damage" occurs subse-
quent to the execution of the contract or
agreement; or

b. That the “insured” would have in the ab-
sence of the contract or agreement.

. Workers’ Compensation

Any obligation for which the “insured” or the
"insured's” insurer may be held liable under
any workers' compensation, disability benefits
or unemployment compensation law or any
sirnilar law.

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4, Employee Indemnification And Employer's
Liability
“Bodily injury” to:
a. An "employee" of the “insured” arising out
of and in the course of:

(1) Employment by the "insured": or

(2) Perionning the duties related to the
conduct of the “insured’s" business; or

b. The spouse, child, parent, brother or sister
of that "employee" as a consequence of Pa-
ragraph a, above.

This exclusion applies:

(1) Whether the “insured" may be liable as
an employer or in any other capacity:
and

(2) To any obligation to share damages with
or repay Someone else who must pay
damages because of the injury.

But this exclusion does not apply to "bodily in-
Jury" to domestic "employees" not entitled to
workers’ compensation benefits or to liability
assumed by the "insured" under an “insured
contract". For the purposes of the coverage
form, a domestic “employee" is a person en-
gaged in household or domestic work per-
formed principally in connection with a resi-
dence premises.

5, Fetlow Employee
“Bodily injury” to:
a. Any fellow “employee” of the “insured” aris-
ing out of and in the course of the fellow
“employee's” employment or while perform-

Ing duties related to the conduct of your
business; or

b. The spouse, child, parent, brother or sister
of that fellow “employee" as a consequence
of Paragraph a. above,

6. Care, Custody Or Control

“Property damage" to or covered pollution cost
or expense" involving property owned or trans-
ported by the "insured" or in the “insured’s”
care, custody or control. But this exclusion
does not apply to liability assumed under a si-
detrack agreement.

7. Handling Of Property
“Bodily injury" or “properly damage" resulting
from the handling of property:

a. Before it is moved from the place where it is
accepted by the "insured" for movement in-
to or onto the covered “auto”: or

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bh. After it is moved from the covered "auto" to
the place where it is finally delivered by the
"insured",

Movement Of Property By Mechanical
Device

“Bodily injury” or "property damage” resulting
from the movement of property by a mechani-
cal device (other than a hand truck) unless the
device is attached to the covered "auto",

Operations

“Bodily injury" or “property damage" arising out
of the operation of:

a. Any equipment listed in Paragraphs 6.b.
and 6.c, of the definition of "mobile equip-
ment": or

b. Machinery or equipment that is on, attached
to or part of a land vehicle that would qual-
ify under the definition of “mobile equip-
ment" if it were not subject to a compulsory
or financial responsibility law or other motor
vehicle insurance law-where itis ticensed or
principally garaged.

Completed Operations

“Bodily injury" or “property damage" arising out
of your work after that work has been com-
pleted or abandoned.

In this exclusion, your work means:

a. Work or operations performed by you or on
your behalf; and

b. Materials, parts or equipment furnished in
connection with such work or operations,

Your work includes warranties or representa-
tions made at any time with respect to the fit-
hess, quality, durability or performance of any
of the items included in Paragraph a. or b.
above.

Your work will be deemed completed at the
earliest of the following times:

(1) When all of the work called for in your
contract has been completed.

{2) When all of the work to be done at the
site has been completed if your contract
calls for work al more than one site.

(3) When that part of the work done at a job
site has been put to its intended use by
any person of organization other than
another contractor or subcontractor
working on the same project.

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Work that may need service, maintenance, cor-
rection, repair or replacement, but which is
otherwise complete, will be treated as com-
pleted.

Pollution

“Bodily Injury” or "property damage” arising out
of the actual, alleged or threatened discharge,
dispersal, seepage, migration, release or es-
cape of "pollutants":

a. That are, or that are contained in any prop-
erty that is:

(1) Being transported or towed by, handled
or handled for movement into, onto or
from the covered auto";

(2) Otherwise in the course of transit by or
an behalf of ihe "insured"; or

(3) Being stored, disposed of, treated or
processed in of upon the covered "au-
to";

b, Before the “pollutants" or any property in
which the "pollutanis® are contained are
moved from the place where they are ac-
cepted by the "insured" for movement into
or onto the covered “auto”: or

c. After the “pollutants” or any property in
which the "pollutants" are contained are
moved from the covered "auto" to the place
where they are finally delivered, disposed of
or abandoned by the “insured”,

Paragraph a. above does not apply to fuels, tu-
bricants, fluids, exhaust gases or other simitar
“pollutants” that are needed for or resutt from
the normal electrical, hydraulic or mechanical
functioning of the covered "auto" or its parts, if:

(1) The "pollutants" escape, seep, migrate
or are discharged, dispersed or released
directly from an “auto” part designed by
its manufacturer to hold, store, receive
or dispose of such "pollutants"; and

{2) The “bodily injury", "property damage” or
"covered pollution cost or expense"
does not arise out of the operation of
any equipment listed in Paragraphs 6.b.
and 6.c. of the definition of "mobile
equipment".

Paragraphs b, and ¢. above of this exclusion
do not apply to "accidents" that occur away
from premises owned by or rented to an “in-
sured" with respect to "pollutants" not in or
upon a covered “auto" if:

(a) The "pollutants" or any property in which
ihe “paifutants" are contained are upset,
overturned or damaged as a result of
the maintenance or use of a covered
“auto”; and

(b) The discharge, dispersal, seepage, mi-
gration, release or escape of the “pollut-
ants” is caused directly by such upset,
overturn or damage.

12. War

"Bodily injury" or "property damage" arising di-
rectly or indirectly out of:

a. War, including undeclared or civil war;

b. Warlike action by a military force, including
action in hindering or defending against an
actual or expected attack, by any govern-
ment, sovereign or other authority using
military personnel or other agents; or

€. Insurrection, rebellion, revolution, usurped
power or action taken by governmental au-
thority in hindering or defending against any
of these.

13. Racing

Covered “autos” while used in any professional
of organized racing or demolition contest or
Stunting activity, or while practicing for such
contest or activity. This Insurance also does
not apply while that covered “auto” js being
prepared for such a contest or activity,

C, Limit Of Insurance

Regardless of the number of covered “autos”, "in-
sureds", premiums paid, claims made or vehicles
involved in the "accident", the most we will pay for
the total of all damages and “covered pollution
cost or expense” combined resulting from any one
“accident” is the Limit of Insurance for Liability
Caverage shown in the Declarations,

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All "bodily injury", "property damage" and "covered
pollution cost or expense" resulting from continu-
ous or repeated exposure fo substantially the
same conditions will be considered as resulting
from one "accident".

No one will be entitled to receive duplicate pay-
ments for the same elements of “loss” under this
coverage form and any Medical Payments Cover-
age endorsement, Uninsured Motorists Coverage
endorsement or Underinsured Motorists Coverage
endorsement altached to this Coverage Part,

SECTION Ill - PHYSICAL DAMAGE COVERAGE
A, Coverage

1. We will pay for “loss” to a covered “auto" or its
equipment under:

a. Comprehensive Coverage
From any cause except:

(1) The covered "auto's" collision with an-
other object; or

(2) The covered “auto's” overturn.
b. Specified Causes Of Loss Coverage
Caused by:
{1) Fire, lightning or explosion;
(2) Theft;
(3) Windstomn, hail or earthquake;
(4) Flood;
(5) Mischief or vandalism; or

(6) The sinking, burning, collision or derail-
ment of any conveyance transporting
the covered "auto".

c. Collision Coverage
Caused by:

{1} The covered “auto's” collision with an-
other object; or

(2) The covered “auto's” overturn.
2, Towing

We will pay up to the limit shown in the Decla-
rations for towing and labor costs incurred
each time a covered "auto" of the private pas-
senger type is disabled. However, the labor
must be performed al the place of disablement.

3. Glass Breakage — Hitting A Bird Or Animal —
Falling Objects Or Missiles

If you carry Comprehensive Coverage for the
damaged covered “auto”, we will pay for the
following under Comprehensive Coverage:

a. Glass breakage;

b. "Loss" caused by hitting a bird or animal:
and

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c, "Loss" caused by falling objects or missiles.

However, you have the option of having glass
breakage caused by a covered “auto's” colli-
sion or overlurn considered a “loss” under Col-
lision Coverage.

4, Coverage Extensions
a. Transportation Expenses

We will pay up to $20 per day lo a maxi-
mum of $600 for temporary transporiation
expense incurred by you because of the to-
tal theft of a covered "auto" of the private
passenger type, We will pay only for those
covered “autos” for which you carry either
Comprehensive or Specified Causes Of
Loss Coverage. We will pay for terriporary
transportation expenses incurred during the
period beginning 48 hours after the theft
and ending, regardless of the policy's expi-
ration, when the covered “auto” is returned
to use or we pay for its "loss",

b. Loss Of Use Expenses

For Hired Auto Physical Damage, we will
pay expenses for which an "insured" be-
comes legally responsible to pay for loss of
use of a vehicle rented or hired without a
driver under a written rental contract or
agreement. We will pay for foss of use ex-
penses if caused by:

(1) Other than collision only if the Dectara-
tions indicate that Comprehensive Cov-
erage is provided for any covered "au-
to”:

(2) Specified Causes Of Loss only if the
Declarations indicate that Specified
Causes Of Loss Coverage is provided
for any covered “auto”: or

(3) Collision only if the Declarations indicate
that Collision Coverage is provided for
any covered “auto”.

However, the most we will pay for any ex-
penses for loss of use Is $20 per day, to a
maximum of $600.

B. Exclusions

1. We will not pay for “toss” caused by or resulling
from any of the following. Such “loss” is ex-
cluded regardless of any other cause or event
that contributes concurrently or in any se-
quence to the "loss".

a. Nuclear Hazard

(1) The explosion of any weapon employing
atomic fission or fusion; or

(2) Nuclear reaction or radiation, or radioac-
tive contamination, however caused,

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b. War Or Mititary Action
(4) War, including undeclared or civil war;

(2) Warlike action by a military force, includ-
ing action in hindering or defending
against an actual or expected attack, by
any government, sovereign or other au-
thority using military personnel or other
agents; or

(3) Insurrection, rebellion, —_ revolution,
usurped power or action taken by gav-
emmental authority in hindering or de-
fending against any of these.

We will not pay for "loss" to any covered “auto”
while used in any professional or organized
racing or demolition contest or stunting activity,
or while practicing for such contest or activity.
We will also not pay for “loss" to any covered
“auto” while that covered "auto" is being pre-
pared for such a contest or activity.

We will not pay for “loss” due and confined to:

a. Wear and tear, freezing, mechanical or
electrical breakdown,

b, Blowouts, punctures or other road damage
to tires.

This exclusion does not apply to such “loss”
resulting from the total theft of a covered “au-
to”.

We will not pay for "loss" to any of the fotlow-

ing:

a. Tapes, records, discs or other similar audio,
visual or data electronic devices designed
for use with audio, visual or data electronic
equipment.

b. Any device designed or used to detect
speed-measuring equipment such as radar
or laser detectors and any jamming appara-
tus intended to elude or disrupt speed-
measurement equipment.

ce. Any electronic equipment, without regard to
whether this equipment is permanently in-
Stalled, that reproduces, receives or trans-
mits audio, visuat or data signals.

d. Any accessories used with the electronic
equipment described in Paragraph c.
above,

Exclusions 4.c. and 4.d. do not apply to
equipment designed to be operated solely by
use of the power from the “auto's” electrical
system that, at the time of "loss", is:

a. Permanenily installed in or upon the cov-
ered “auto”,

b. Removable from a housing unit which is
permanently installed in or upon the cov-
ered "auto":

c. An integral part of the same unit housing
any electronic equipment described in Pa-
ragraphs a. and b. above; or

d. Necessary for the norma! operation of the
covered "auto" or the monitoring of the
covered “auto's” operating system.

6. We will not pay for "loss" to a covered “auto”
due to “diminution in value".

. Limit Of Insurance

1. The most we will pay for “loss” in any one “ac-
cident" is the lesser of:

a. The actual cash value of the damaged or
stolen property as of the time of the "loss":
or

b. The cost of repairing or replacing the dam-
aged or stolen property with other property
of like kind and quality.

2. $1,000 is the most we will pay for “loss” in any
one "accident" to all electronic equipment that
reproduces, receives or transmits audio, visual
or data signals which, at the time of "loss", is:

a. Permanently installed In or upon the cov-
ered “auto” in a housing, opening or other
location that is not normally used by the
“auto” manufacturer for the installation of
such equipment;

b, Removable from a permanently installed
housing unit as described in Paragraph 2.a.
above or is an integral part of that equip-
ment; or

«. An integral part of such equipment.

3. An adjustment for depreciation and physical
condition will be made in determining actual
cash value in the event of a total "loss",

4. lf a repair or replacement results in better than
like kind or quality, we will not pay for the
amount of the betterment.

. Deductible

For each covered “auto’, our obligation to pay for,
repair, return or replace damaged or stolen prop-
erty will be reduced by the applicable deductible
shown in the Declarations. Any Comprehensive
Coverage deductible shown in the Declarations
does not apply to “loss” caused by fire or lightning.

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SECTION IV — BUSINESS AUTO CONDITIONS

The following conditions apply in addition to the
Common Policy Conditions:

A. Loss Conditions
1. Appraisal For Physical Damage Loss

If you and we disagree on the amount of “loss”,
aither may demand an appraisal of the "loss".
In this event, each party will select a competent
appraiser, The two appraisers will select a
competent and impartial umpire. The apprais-
ers will state separately the actual cash value
and amount of “loss”. If they fail to agree, they
will submit their differences to the umpire. A
decision agreed to by any two will be binding,
Each party will:

a. Pay its chosen appraiser: and

b. Bear the other expenses of the appraisal
and umpire equally,

If we submit to an appraisal, we will still retain
our right to deny the claim.

2. Duties in The Event Of Accident, Claim, Suit
Or Loss

We have no duty to provide coverage under
this policy unless there has been full compli-
ance with the following duties:

a. In the event of “accident”, claim, "suit" or
"loss", you must give us or our authorized
representative prompt notice of the “acci-
dent" or "loss". Include:

(1) How, when and where the "accident" or
“toss” occurred;

(2) The “insured's” name and address: and

(3} To the extent possible, the names and
addresses of any injured persons and
witnesses.

b. Additionally, you and any other involved
“insured” must:

(4) Assume no obligation, make no pay-
ment or incur no expense without our
consent, except at the “insured's" own
cost.

(2) Immediately send us copies of any re-
quest, demand, order, notice, summons
or legal paper received concerning the
claim or “suit”.

(3) Cooperate with us in the investigation or
settlement of the claim or defense
against the “suit*,

(4) Authorize us to obtain medicat records
or other pertinent information.

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(5) Subrnit to examination, at our expense,
by physicians of our choice, as often as
we reasonably require.

c. If there is “loss” to a covered "auto" or its
equipment you must also do the following:

(1) Promptly notify the police if the covered
“auto" or any of its equipment is stolen.

(2) Take all reasonable steps to protect the
covered “auto" from further damage. Al-
So keep a record of your expenses for
consideration in the settlement of the
claim.

(3) Permit us to inspect the covered “auto”
and records proving the “loss” before its
repair or disposition.

(4) Agree to examinations under oath at our
request and give us a signed statement
of your answers,

3. Legal Action Against Us

No one may bring a legal action against us un-
der this coverage form until:

a. There has been full compliance with all the
terms of this coverage form; and

b. Under Liability Coverage, we agree in writ-
ing that the "insured" has an obligation to
pay or until the amount of that obligation
has finally been determined by judgment af-
ter trial. No one has the right under this pal-
icy to bring us into an action to determine
the “insured’s” liability.

. Loss Payment ~ Physical Damage

Coverages

At our option we may:

a, Pay for, repair or replace damaged or sto-
fen property;

b. Return the stolen property, at our expense,
We will pay for any damage that results to
the "auto" from the theft: or

c. Take all or any part of the damaged or sto-
len property at an agreed or appraised val-
ue,

if we pay for the “loss", our payment will in-
clude the applicable sales tax for the damaged
or stolen property,

. Transfer Of Rights Of Recovery Against
Others To Us

If any person or organization to or for whom we
make payment under this coverage forn has
rights to recover damages from another, those
rights are transferred to us. That person or or-
ganization must do everything necessary to
secure our rights and must do nothing after
“accident” or “loss” to impair them.

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B. General Conditions

1. Bankruptcy

Bankruptcy or insolvency of the “insured” or the
“insured’s" estate will not relieve us of any obli-
gations tinder this coverage form.

. Concealment, Misrepresentation Or Fraud

This coverage form is void in any case of fraud
by you at any time as it relates to this coverage
form. It is also void if you or any other “in-
sured", at any time, intentionally conceal or
misrepresent a material fact concerning:

a, This coverage form:
b. The covered “auto”:
c. Your interest in the covered "auto": or
d. A claim under this coverage form.
. Liberalization

If we revise this coverage form to provide more
coverage without additional premium charge,
your policy will automatically provide the addi-
tional coverage as of the day the revision Is ef-
fective in your state.

- No Benefit To Bailee - Physical Damage
Coverages

We will not recognize any assignment or grant
any coverage for the benefit of any person or
organization holding, storing or transporting
property for a fee regardless of any other pro-
vision of this coverage form.

. Other Insurance

a. For any covered "auto" you own, this cov-
erage form provides primary insurance. For
any covered “auto” you don't own, the in-
surance provided by this coverage for is
excess over any other collectible insurance.
However, while a covered “auto” which is a
“trailer” is connected to another vehicle, the
Liability Coverage this coverage form pro-
vides for the “trailer is:

(1) Excess while it is connected to a motor
vehicle you do not own.

(2} Primary while it is connected to a cov-
ered "auto" you own.

b. For Hired Auto Physical Damage Coverage,
any covered "auto" you lease, hire, rent or
borrow is deemed to be a covered "auto"
you own. However, any “auto” that is
leased, hired, rented or borrowed with a
driver is not a covered “auto”.

c. Regardless of the provisions of Paragraph
a, above, this coverage form's Liability
Coverage is primary for any liability as-
sumed under an “insured contract",

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d. When this coverage form and any other
coverage form or policy covers on the same
basis, either excess or primary, we will pay
only our share. Our share is the proportion
that the Limit of Insurance of our coverage
form bears to the total of the limits of all the
coverage forms and policies covering on
the same basis.

6. Premium Audit

a. The estimated premium for this coverage
form is based on the exposures you told us
you would have when this policy began. We
will compute the final premium due when
we determine your actual exposures. The
estimated total premium will be credited
against the final premium due and the first
Named Insured will be billed for the bal-
ance, if any. The due date for the final pre-
mium or retrospective premium is the date
shown as the due date on the bill. If the es-
limated total premium exceeds the final
premium due, the first Named Insured will
get a refund.

b. lf this policy is issued for more than one
year, the premium for this coverage form
will be computed annually based on our
rates or premiums in effect at the beginning
of each year of the policy.

. Policy Period, Coverage Territory

Under this coverage form, we cover "accidents"
and “losses” occurring:

a. During the policy period shown in the Dec-
larations; and

b. Within the coverage territory,
The coverage territory is:
(1) The United States of America:

{2) The territories and possessions of the Unit-
ed States of America;

(3) Puerto Rico;
{4) Canada: and
(5) Anywhere in the world if:

{a) A covered “auto” of the private passen-
ger type is leased, hired, rented or bor-
rowed without a driver for a period of 30
days or Jess; and

(b) The "“insured’s” responsibility to pay
damages is determined in a “suit” on the
merits, in the United States of America,
the territories and possessions of the
United States of America, Puerto Rico
or Canada or in a settlement we agree
to.

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We also cover "loss" to, or “accidents” involv-
ing, 4 covered “auto” while being transported
between any of these places.

8. Two Or More Coverage Forms Or Policies
issued By Us

If this coverage form and any other coverage
form or policy issued to you by us or any com-
pany affiliated with us applies to the same "ac-
cident’, the aggregate maximum Limit of {nsur-
ance under all the coverage forms or policies
shat! not exceed the highest applicable Limit of
Insurance under any one coverage form or pol-
icy. This condition does not apply to any cov-
erage form or policy issued by us or an affili-
ated company specifically to apply as excess
insurance over this coverage form.

SECTION V —- DEFINITIONS

A. "Accident" includes continuous or repeated expo-
sure to the same conditions resulting in “bodily in-
jury" or "property damage”.

B. "Auto" means:

i. A land motor vehicle, “trailer” or semitrailer de-
signed for travel on public roads: or

2. Any other land vehicle that is subject to a com-
pulsory or financial responsibility law or other
motor vehicle insurance law where it is |i.
censed or principally garaged.

However, “auto” does not include "mobile equip-
ment",

C. “Bodily Injury" means bodily injury, sickness or
disease sustained by a person including death re-
sulting from any of these.

D, “Covered pollution cost or expense” means any
cost or expense arising out of:

i. Any request, demand, order or statutory or
regulatory requirement that any "insured" or
others test for, monitor, clean up, remove, con-
tain, treat, detoxify or neutralize, or in any way
respond to, or assess the effects of, "poltut-
ants"; or

2. Any claim or "suit? by or on behalf of a gov-
ernmental authority for damages because of
testing for, monitoring, cleaning up, removing,
containing, treating, detoxifying or neutralizing,
or in any way responding to, or assessing the
effects of, “pollutants”.

"Covered pollution cost or expense” does not in-
clude any cost or expense arising out of the ac-
tual, alleged or threatened discharge, dispersal,
seepage, migration, release or escape of “pollut-
ants”:

a. That are, or that are contained in any prop-
erty that is:

(1) Being transporied or towed by, handled
or handled for movement into, onto or
from the covered "auto";

(2) Otherwise in the course of transit by or
on behalf of the “insured”: or

(3) Being stored, disposed of, treated or
processed in or upon the covered "au-
to",

b. Before the “pollutants” or any property in
which the “pollutants” are contained are
moved fram the place where they are ac-
cepted by the “insured” for movement into
or onto the covered “auto”; or

c. After the “pollutants” or any property in
which the "pollutants* are contained are
moved from the covered “auto” to the place
where they are finally delivered, disposed of
or abandoned by the “insured”.

Paragraph a, above does not apply to fuels, lu-
bricants, fluids, exhaust gases or other similar
"pollutants" that are needed for or result from
the normal electrical, hydraulic or mechanical
functioning of the covered “auto” or its parts, if:

(1) The “pollutants” escape, seep, migrate
or are discharged, dispersed or released
directly from an “auto” part designed by
its manufacturer to hold, store, receive
or dispose of such "pollutants"; and

(2) The "bodily injury", "property damage” or
"covered pollution cost or expense"
does not arise out of the operation of
any equipment listed in Paragraph 6.b.
or 6.c, of the definition of "mobile
equipment",

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Paragraphs b. and c. above do not apply to
“accidents” that occur away from premises
owned by or rented to an "insured" with respect
to "poliutants" not in or upon a covered "auto"
if:

(a) The "pollutants" or any property in which
the “pollutants” are contained are upset,
overtumed or damaged as a result of
the maintenance or use of a covered
“auto”; and

{b) The discharge, dispersal, seepage, mi-
gration, release or escape of the "pollut-
ants" is caused directly by such upset,
overtum or damage.

. "Dirninution In value" means the actual or per-

ceived loss in market value or resale value which
results from a direct and accidental "loss".

. "Employee" includes a “leased worker’. “Em-

ployee” daes not include a “ternmporary worker",

. “Insured” means any person or organization quali-

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fying as an insured in the Who Is An Insured pro-
vision of the applicable coverage. Except with re-
speci to the Limit of Insurance, the coverage af-
forded applies separately to each insured who is
seeking coverage or against whom a claim or
"suit" is brought.

“Insured contract" means:
1. A lease of premises;
2. A sidetrack agreement;

3. Any easement or license agreement, except in
connection with construction or demolition op-
erations on or within 50 feet of a railroad;

4, An obligation, as required by ordinance, to in-
demnify a municipality, except in connection
with work for a municipality:

5. That part of any other contract or agreement
pertaining to your business {including an in-
demnification of a municipality in connection
with work performed for a municipality) under
which you assume the tort liability of another to
pay for “bodily injury” or “property damage” to a
third party or organization. Tort liability means
a liability that would be imposed by law in the
absence of any contract or agreement,

6. That part of any contract or agreement entered
into, as part of your business, pertaining to the
rental or lease, by you or any of your “employ-
ees", of any “auto”, However, such contract or
agreement shall not be considered an “insured
contract” to the extent that it obligates you or
any of your “employees” to pay for “property
damage” to any "auto" rented or leased by you
or any of your "employees".

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An “insured contract" does not include that part of
any contract or agreernent:

a. That indemnifies a railroad for "bodily injury"
or "property damage" arising out of con-
struction or demolition operations, within 50
feet of any railroad property and affecting
any railroad bridge or trestle, tracks, road-
beds, tunnel, underpass or crossing;

b, That pertains to the loan, lease or rental of
an “auto” to you or any of your “employ-
ees”, if the “auto” is loaned, leased or
rented with a driver: or

¢. That holds a person or organization en-
gaged in the business of transporting prop-
erly by “auto” for hire harmless for your use
of a covered “auto” over a route or territory
that person or organization ts authorized to
serve by public authority.

1, "Leased worker’ means a person leased to you by

@ labor leasing firm under an agreement between
you and the tabor leasing firm to perform duties re-
lated to the conduct of your business. “Leased
worker" does not include a "temporary worker".

. "Loss” means direct and accidental loss or dam-

age.

- "Mobile equipment’ means any of the following

types of land vehicles, including any attached ma-
chinery or equipment:

i. Bulldozers, farm machinery, forklifis and other
vehicles designed for use principally off public
roads;

2, Vehicles maintained for use solely on or next to
premises you own or rent;

3. Vehicles that travel on crawler treads;

4. Vehicles, whether self-propelled or not, main-
tained primarily to provide mobility to perma-
nertly mounted:

a. Power cranes, shovels, loaders, diggers or
drills; or

b. Road construction or resurfacing equipment
SUCH as graders, scrapers or rollers:

5. Vehicles not described in Paragraph 1., 2., 3.
or 4. above that are not self-propelled and are
maintained primarily to provide mobility to per-
manently attached equipment of the following
types:

a. Air compressors, purnps and generators,
including spraying, welding, building clean-
ing, geophysical exploration, lighting and
well-servicing equipment; or

b. Cherry pickers and similar devices used to
ralse or lower workers; or

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6. Vehicles not described in Paragraph 1., 2., 3.
ar 4, above maintained primarily for purposes
other than the transportation of persons or car-
go. However, self-propelled vehicles with the
following types of permanently attached
equipment are not "mobile equipment” but wilt
be considered “autos”:

a. Equipment designed primarily for:
(1) Snow removal;

(2) Road maintenance, but not construction
or resurfacing; or

(3) Street cleaning;

b. Cherry pickers and similar devices mounted
on automobile or truck chassis and used to
raise or lower workers; and

c. Air compressors, pumps and generators,
including spraying, welding, building clean-
ing, geophysical exploration, flighting or
well-servicing equiprnent.

However, "Iimoblie equipment” does not include
land vehicles that are subject to a compulsory or
financial responsibility law or other motor vehicle
insurance law where It is licerised or principally ga-
raged. Land vehicles subject to a compulsory or
financial responsibility law or other motor vehicle
insurance law are considered “autos”.

. "Pollutants" means any solid, liquid, gaseous or
thermal Irritant or contaminant, including smoke,
vapor, soot, fumes, acids, alkalis, chemicals and
waste. Waste includes materials to be recycled,
reconditioned or reclaimed.

M. “Properly damage” means damage to or loss of

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use of tangible property.
"Suit" means a civil proceeding in which:

1. Damages because of “bodily Injury’ or “prop-
erty damage"; or

2, A “covered pollution cost or expense";
to which this insurance applies, are alleged,
“Suit” includes:

a. An arbitration proceeding in which such
damages or “covered pollution costs or ex-
penses” are claimed and to which the “in-
sured" must submit or does submit with our
consent; or

b. Any other altemative dispute resolution
proceeding in which such damages or
“covered pollution costs or expenses" are
claimed and to which the insured submits
with our consent.

. "Temporary worker” means a person who is fur-

nished to you to substitute for a permanent "em-
ployee” on leave or to meet seasonal or short-term
workload conditions.

P, "Trailer includes semitrailer.

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CA 20 18 12 93
THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

PROFESSIONAL SERVICES NOT COVERED

This endorsement modifies insurance provided under the following:
BUSINESS AUTO COVERAGE FORM

With respect fo coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.

LIABILITY COVERAGE is changed by adding the following exclusions:

This insurance does not apply to: 2. “Bodily injury” resulting from food or drink furnished

1. “Bodily injury” resulting from the providing or the with these services.
failure to provide any medical or other professional 3, “Bodily injury" or “property damage” resulting from
services. the handling of corpses,

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POLICY NUMBER: COMMERCIAL AUTO
CA 20 15 12 04

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
MOBILE EQUIPMENT

This endorsement modifies insurance provided under the following:

BUSINESS AUTO COVERAGE FORM

BUSINESS AUTO PHYSICAL DAMAGE COVERAGE FORM
MOTOR CARRIER COVERAGE FORM

TRUCKERS COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.

This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.

 

Endorsement Effective: Countersigned By:

 

Named Insured:

 

 

(Authorized Representative)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SCHEDULE
Covered
"Auto"
Vehicle
Coverages Numbers Limit Of insurance Premium
Liability $ Each "Accident" $
Auto Medical Payments $ Each Person $
Personal injury Separately Stated $
Protection or in Each PtP.
Equivalent No-Fault Endorsement
Coverage
{Uninsured Motorists : $ Each “Accident” $
Underinsured Motorists $ Each "Accident" $
(Indicate Only When
Coverage Is Not
Included in Uninsured
Motorists Coverage) SIG Oe
Comprehensive ACTUAL CASH VALUE OR COST OF REPAIR, |$
WHICHEVER IS LESS, MINUS $
DED. FOR EACH COVERED AUTO,
BUT NO DEDUCTIBLE APPLIES TO LOSS
CAUSED BY FIRE OR LIGHTNING
Collision ACTUAL CASH VALUE OR COST OF REPAIR, [$
WHICHEVER IS LESS, MINUS $
DED. FOR EACH COVERED AUTO

 

 

 

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Specified ACTUAL CASH VALUE OR COST OF REPAIR, 1$
Causes of WHICHEVER IS LESS, MINUS $
Loss DED, FOR EACH COVERED AUTO FOR

LOSS CAUSED BY MISCHIEF OR VANDALISM

 

 

 

 

 

Vehicle No. Description Of Vehicles That Are Covered “Autos”

 

 

 

 

 

 

 

 

 

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

 

A. This endorsement provides only those coverages C. Liability Coverage does not apply to "bodily injury",

where a premium is shown in the Schedule. Each “property darnage" or "covered pollution cost or

of these coverages applies only to the vehicles expense" resulting from the operation of any ma-

shown as covered “autos”. chinery or equipment that is on, attached to or part
B. The vehicles described in the Schedule will be of any of these vehicles.

considered covered “autos” and not "mobile

equipment".

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THIS ENDORSEMENT CHANGES THE POLICY.

COMMERCIAL AUTO
CA 01 80 09 97

PLEASE READ IT CAREFULLY.

PENNSYLVANIA CHANGES

This endorsement modifies insurance provided under the following:

BUSINESS AUTO COVERAGE FORM
GARAGE COVERAGE FORM

MOTOR CARRIER COVERAGE FORM
TRUCKERS COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply untess modi-

fied by the endorsement.

A. Changes In Liability Coverage 2,

2. The following is added to Supplementary
Payments:

Prejudgment interest awarded against the
“insured” on the part of the judgment we pay.
Any prejudgment interest awarded against
the “insured” is subject to the applicable
Pennsylvania Rules of Civil Procedure.

B, Changes In Conditions

1. The following is added to the Loss Condi-
tions Section:

Paragraph A.2.b.(5) of the Duties In The
Event Of An Accident, Claim, Suit Or Less
Condition is replaced by the following:

After we show good cause, submit to exami-
nation at our expense, by physicians of our
choice.

The following is added to the Transfer Of
Rights Of Recovery Against Others To Us
Condition:

If we make any payment due to an "accident"
and the “insured” recavers from another party
in a separate claim or "suit", the insured shali
hold the proceeds in trust for us and pay us
back the amount we have paid Jess reason-
able attorneys’ fees, costs and expenses in-
curred by the “insured” to the extent such
payment duplicates any amount we have
paid under this coverage.

The following is added to the General Condi-
tions Section:

CONSTITUTIONALITY CLAUSE

The premium for, and the coverages of, this
Coverage Form have been established in re-
liance upon the provisions of the Pennsyl-
vania Motor Vehicle Financial Responsibility
Law.

In the event a court, from which there is no
appeal, declares or enlers a judgment, the ef-
fect of which is to render the provisions of
such statute invalid or unenforceable in whole
or in part, we shall have the right to recom-
pute the premium payable for the Coverage
Form and void or amend the provisions of the
Coverage Form, subject to the approval of
the Insurance Commissioner.

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POLICY NUMBER: COMMERCIAL AUTO
CA 22 37 03 06

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

PENNSYLVANIA BASIC FIRST PARTY
BENEFIT

For a covered “auto” licensed or principally garaged in, or "garage operations" conducted in, Pennsylvania, this
endorsement modifies insurance provided under the following:

BUSINESS AUTO COVERAGE FORM
GARAGE COVERAGE FORM

MOTOR CARRIER COVERAGE FORM
TRUCKERS COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.

This endorsement changes the policy effective on the inception date of the policy unless another date is indi-
cated below.

 

Named Insured:

Endorsement Effective Date:

 

Countersignature Of Authorized Representative

 

 

 

 

Name:
Title:
Signature:
Date:
SCHEDULE
Benefits Limit Of Insurance
Medical Expense Benefits Up to $5,000 per insured

 

 

 

 

information required to complete this Schedule, if not shown above, will be shown in the Declarations.

 

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A. Coverage

We will pay the Basic First Party Benefit in accor-
dance with the “Act” to or for an “insured” who
sustains “bodily Injury" caused by an “accident”
atising out of the maintenance or use of an “auto”,

BENEFITS

Subject to the limit shown in the Schedule or Dec-
larations, the Basic First Party Benefit consists of
Medical Expense Benefits. These benefits consist
of reasonable and necessary medical expenses
incurred for an “insured's":

1. Care;
2. Recovery; or
3. Rehabilitation.

This includes remedial care and treatment ren-
dered in accordance with a recognizect religious
method of healing.

Medical expenses will be paid if incurred within 18
months from the date of the “accident” causing
“bodily injury". If within 18 months from the date of
the “accident” causing "bodily injury" it is ascer-
tainable with reasonable medical probability that
further expenses may be incurred as a result of
the "bodily injury", medical expenses will be paid
without limitation as to the time such further ex-
penses are incurred.

» Who Is An Insured
1. You.
4. If you are an individual, any “family member",

3. Any person while “occupying” a covered
“auto”,

4. Any person while not “occupying" an "auto" if
injured as a result of an “accident” in Pennsyl-
vania involving a covered "auto".

If a covered “auto” is parked and unoccupied,
it is not an “auto” involved in an “accident”
unless it was parked in a manner as to create
an unreasonable risk of injury.

. Exclusions

We will not pay First Party Benefits for “bodily in-

jury":

1, Sustained by any person injured while inten-
tionally causing or attempting to cause injury to
himself or herself or any other person.

2. Sustained by any person while committing a
felony,

3. Sustained by any person while seeking to
elude lawful apprehension or arrest by a law
enforcement official,

=

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. Sustained by any person while maintaining or

using an “auto” knowingly converted by that
person. However, this exclusion does nat apply
to:

a. You; or
b, Any “family member",

. Sustained by any person who, at the time of

the "accident":

a. Is ihe owner of one or more currently regis-
tered “autos” and none of those "autos" is
covered by the financial responsibility re-
quired by the “Act” or

b. Is “occupying” an “auto” owned by that
person for which the financial responsibility
required by the "Act" is not in effect.

Sustained by any person maintaining or using
an “auto” while located for use as a residence
or premises.

- Sustained by a pedestrian if the "accident®

occurs outside of Pennsylvania. This exclusion
does not apply to:

a. You; or
b. Any "family member”,
Sustained by any person while “occupying”:

a. A recreational vehicle designed for use off
public roads; or

b, A motorcycle, moped or similar type vehi-
cle,

Arising directly or indirectly out of:

a. A discharge of a nuclear weapon (even if
accidental);

b. War, Including undeclared or civil war

c. Warlike action by a military force, including
action in hindering or defending against an
actual or expected attack, by any govern-
ment, sovereign or other authority using
military personnel or other agents; or

d. Insurrection, rebellion, revolution, usurped
power, or action taken by governmental au-
thority in hindering or defending against
any of these,

CA 22 37 03 06

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10.

From or as a consequence of the following
whether controlied or uncontrolled or however
caused:

a. Nuclear reaction;
b. Radiation; or
c. Radioactive contamination.

D. Limit Of insurance

1.

Regardless of the number of covered “autos”,
premiums paid, claims made, “autos" involved
in the “accident” or insurers providing First
Party Benefits, the most we will pay to or for
an "insured" as the result of any one "accident"
is the limit shown in the Schedule or in the
Declarations.

. Any amount payable under First Party Benefits

Shall be excess over any sums paid, payable
or required to be provided under any workers’
compensation law or similar law.

E. Changes In Conditions

The Conditions are changed for First Party Bene-
fits as follows:

1.

2.

First

Transfer Of Rights Of Recovery Against
Others To Us does not apply.

The following Conditions are added:
NON-DUPLICATION OF BENEFITS

No person may recover duplicate benefits for
the same expenses or loss under this or any
other similar automobile coverage including
self-insurance.

PRIORITIES OF POLICIES

We will pay First Party Benefits in accordance
with the order of priority set forth by the “Act.
We will not pay if there Is another insurer at a
higher level of priority. The "First" category
listed below is the highest level of priority and
the "Fourth" category listed below Is the lowest
level of priority. The priority order is:

The insurer providing benefits to the “in-
sured” as a named insured.

Second The insurer providing benefits to the “in-

Third

sured” as a family member who is not a
named insured under another policy provid-
ing coverage under the “Act”,

The insurer of the "auto" which the “insured”
is "occupying" at the time of the “accident”.

Fourth The Insurer providing benefits on any “auto”

CA 22 37 03 06

involved jn the "accident" if the “insured” is:
a. Not "occupying" an “auto”: and

b. Not provided First Party Benefits under
any other policy,

If wo or more policies have equal priority
within the highest applicable number in the pri-
orily order:

1. The insurer against whom the claim is first
made shall process and pay the claim as if
wholly responsible;

2. lf we are the insurer against whom the
claim is first made, our payment to or for
an “insured” will not exceed the applicable
limit shown in the Schedule or Dectara-
tians;

3. The insurer thereafter is entitled to recover
pro rata contribution from any other insurer
for the benefits paid and the costs of proc-
essing ihe claim. If contribution is sought
among insurers under the Fourth priority,
proration shall be based on the number of
involved motor vehicles; and

4, The maximum recovery under all policies
shall not exceed the amount payable under
the policy with the highest dollar limits of
benefits.

F. Additional Definitions
As used in this endorsement:

1, “Auto” means a self-propelled motor vehicle,
or trailer required to be registered, operated or
designed for use on public roads. However,
"auto" does not include a vehicte operated:

a. By muscular power; or
b. On rails or tracks,

2, The “Act” means the Pennsylvania Moter Ve-
hicle Financial Responsibility Law.

3. "Family member" means a resident of your
household who is:

a. Related to you by blood, marriage or adop-
tion; or

b. A minor in your custody or in the custody of
any other “family member".

4. “Occupying” means in, upon, getting in, on, out
or off,

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POLICY NUMBER: COMMERCIAL AUTO
CA 22 38 03 95

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

PENNSYLVANIA ADDED AND COMBINATION
FIRST PARTY BENEFITS ENDORSEMENT

This endorsement modifies insurance provided under the following:
PENNSYLVANIA BASIC FIRST PARTY BENEFIT

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.

This endorsement changes the policy effective on the inception date of the policy unless another dale is indi-
cated below,

 

Endorsement Effective

 

Named Insured Countersigned By

 

 

 

 

{Authorized Representative)
BASIC FIRST PARTY BENEFIT is changed as follows:
SCHEDULE

As indicated below, Added First Party Benefits or Combination First Party Benefits apply instead of the Basic
First Partly Benefit. The limits of liability shown for the benefits selected below replace the limits of liability shown
in the Schedule for the Basic First Party Benefit.

 

 

Benefits Limit of Liability
(per insured)

i} Added First Party Benefits

Medical Expense Benefits Up to $ 10,000

Work Loss Benefits Up to $ 5,000

subject to a rnaximum
of $ 1,000 per month

 

Funeral Expense Benefits Upto $7,500
Accidental Death Benefits §

[_] Combination First Party Benefits

Maximum Total Limit Up to §

for All Benefits
Subject to the following individual limits:

Medical Expense Benefits No specific dollar ammount
Work Loss Benefiis No specific dollar amount
Funeral Expense Benefits Up to $2,500

Accidental Death Benefits $

 

 

 

(If no entry appears above, information required to complete this endorsement will be shown in the Declarations
as applicable to this endorsement.)

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A, COVERAGE

We will pay Added First Party Benefits or Combi-
nation First Party Benefits in accordance with the
"Act" up to the limits stated in the Schedule or
Declarations to or for an “insured” who sustains
"bodily injury” caused by an “accident” and arising
out of the maintenance or use of an “auto”. We
will only pay Combination First Party Benefits for
expenses or loss incurred within 3 years from the
date of the “accident”.

In addition to the Medical Expense Benefits de-
scribed in the Basic First Party Benefit endorse-
ment, Added First Party Benefits and Combination
First Party Benefits also consist of:

4. Work Loss Benefits consisting of:

a, Loss of income. Up to 80% of the gross
Income actually lost by an “insured”,

b. Reasonable expenses actually incurred to
reduce loss of income by hiring:

(1) Special help, thereby enabling the “in-
sured” to work; or

(2) A Substitute to perform the work a self-
employed “insured” would have per-
formed.

However, Work Loss Benefits do not include:

a, Loss of expected income for any period
following the death of an “insured”: or

b. Expenses incurred for services performed
following the death of an "insured": or

c. Any loss of incorne, or expenses incurred
for services performed, during the first 5
working days the “insured” did not work af-
ter the “accident” because of the "bodily in-
jury”.

2, Funeral Expense Benefits. Actual expenses
incurred for an "insured’s” funeral or burial if
“bodily injury” resulting from the "accident"
causes his or her death within 24 months from
the date of the “accident”.

3. Accidental Death Benefits. A death benefit
paid if “bodily injury" resulting from an “acci-
dent" causes the death of you or any "family
member" within 24 months from the date of the
“accident”.

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B. EXCLUSIONS

in addition to the exclusions in the Basic First
Party Benefit endorsement, the following exclu-
sion atso applies.

We will nat pay:

Accidental Death Benefits on behalf of any person
who intentionally caused or attempted to cause
“bodily injury” to himself, herself or any other per-
son.

. LIMIT OF INSURANCE

1. Regardless of the number of covered “autos”,
premiums paid, claims made, “autos” Involved
in the “accident” or insurers providing First
Party Benefits, the most we will pay to or for
an “insured” as the result of any one "accident"
is the limit shown in the Schedule or the Decla-
rations, Combination First Party Benefits are
subject to a maximum total single timit of liabil-
ity with individual limits for specific benefits as
shown in the Schedule or Declarations.

2. lf Combination First Party Benefits are af-
forded, we will make available at least the
minimum limit required by the "Act" for the Ba-
sic First Party Benefit. This provision will not
change our total limit of liability.

. CHANGES IN CONDITIONS

In addition to the CONDITIONS applicable to the
Basic First Party Benefit endorsement, the follow-
ing CONDITION also applies:

PAYMENT OF ACCIDENTAL DEATH BENEFITS

The Accidental Death Benefit under this policy will
be paid to the executor or administrator of the de-
ceased “insured’s" estate. ({f there is no executor
or administrator, benefits shalt be paid to:

1. The deceased "insured's® surviving spouse; or

2. If there is no surviving spouse, the deceased
“insured's” surviving children: or

3. If there is no surviving spouse or surviving
children, the deceased "insured's” estate.

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Case 4:19-cv-00170-MWB Document 1-2 Filed 01/30/19 Page 49 of 157

CA 24 02 12 93
THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY,

PUBLIC TRANSPORTATION AUTOS

This endorsement modifies insurance provided under the following:
BUSINESS AUTO COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.
LIABILITY COVERAGE for a covered “auto” licensed or used to transport the public is changed as follows:

The CARE, CUSTODY OR CONTROL exclusion does not apply to “property damage” to or “covered pollution cost
or expense” involving property of the “insured’s" passengers while such property is carried by the covered “auto.”

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COMMERCIAL AUTO
CA 23 94 03:06

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

SILICA OR SILICA-RELATED DUST EXCLUSION FOR
COVERED AUTOS EXPOSURE

This endorsement modifies insurance provided under the following:

BUSINESS AUTO COVERAGE FORM
GARAGE COVERAGE FORM

MOTOR CARRIER COVERAGE FORM
TRUCKERS COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.

A. The following exclusion is added to Paragraph 8. 3. Any loss, cost or expense arising, in whole or

CA 23 94 03 06

Exclusions of Section II — Liability Coverage in
the Business Auto, Motor Carrier and Truckers
Coverage Forms and for “Garage Operations" —
Covered "Autos" In the Garage Coverage Form:

SILICA OR SILICA-RELATED DUST
EXCLUSION FOR COVERED AUTOS
EXPOSURE

This insurance does nat apply to:

i. "Bodily injury” arising, in whole or in part, out
of the actual, alleged, threatened or
suspected inhalation of, or ingestion of,
“silica” or “silica-related dust.”

2. “Property damage" arising, In whole or in
pari, out of the actual, alleged, threatened or
suspected contact with, exposure to,
existence of, or presence of, “silica” or "silica-
related dust.”

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in part, out of the abating, testing for,
monitoring, cleaning up, removing,
containing, treating, detoxifying, neutralizing,
remediating or disposing of, or in any way
responding to or assessing the effects of,
“silica” or “silica-related dust," by any
"insured" or by any other person or entity.

B. Additional Definitions

As used in this endorsement:

1. "Silica" means silicon dioxide (occurring in
crystalline, amorphous and impure forms),
silica particles, silica dust or silica
compounds,

2. “Silica-related dust" means a mixture or
combination of silica and other dust or
particles.

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CA 99 15 12 93
THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

( GOVERNMENTAL BODIES AMENDATORY ENDORSEMENT

This endorsement modifies insurance provided under the following:
BUSINESS AUTO COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.

Any land motor vehicle or “trailer” you own or lease that is designed for travel on public roads is an “auto” and not
“mobile equipment” if the sole reason for considering it “mobile equipment” is such vehicle is used solely on roads
you own.

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COMMERCIAL AUTO

CA 99 28 10 014
THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

STATED AMOUNT INSURANCE

This endorsement modifies insurance provided under the following:

BUSINESS AUTO COVERAGE FORM

BUSINESS AUTO PHYSICAL DAMAGE COVERAGE FORM
GARAGE COVERAGE FORM

MOTOR CARRIER COVERAGE FORM

TRUCKERS COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply
unless modified by the endorsement.

This endorsement changes the policy effective on the inception date of the policy unless another
date is indicated below.

 

Endorsement Effective: Countersigned By:

 

Named Insured:

 

 

(Authorized Representative)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SCHEDULE
The insurance provided by this endorsement is reduced by the following
deductible(s) :
Vehicle Number Coverage Limit Of Insurance Premium
$ On file Less $
Deductible
3 Less §
Deductible
$ Less $
Deduatible
$ Less $
Deductible
Total Premium
Note

The amount shown in the Schedule or in the Declarations is not necessarily the amount you will

receive at the time of “loss” for the described property. Please refer to the Limit Of Insurance And
Deductible Provision which follows.

 

 

 

 

Designation Or Description Of Covered “Autos”
Vehicle Number Model Year Trade Name And Model
Class 7909s

 

 

 

 

(If no entry appears above, information to complete this endorsernent will be shown in the
Declarations as applicable to this endorsement. )

A, This endorsement provides only those coverages where a premium is shown in the Schedule.
Each of these coverages applies only to the vehicles shown as covered “autos".

B. For a covered “auto” described in the Schedule, the Physical Damage Coverage Limit Of
Insurance Is replaced by the following:
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Limit Of Insurance And Deductible

1, The most we will pay for “loss” in any one “accident” is the least of the following amounts
minus any applicable deductible shown in the Schedule:

a, The actual cash value of the damaged or stolen property as of the time of the "loss":

b. The cost of repairing or replacing the damaged or stolen property with property of like
kind and quality; or

c. The amount shawn in the Schedule,

2. An adjustment for depreciation and physical condition will be made in determining actual
cash value in the event of a total "loss".

3. Ifa repair or replacement results in better than like kind or quality, we will not pay for the
amount of the betterment,

G, Deductible

For each covered “auto”, our obligation to pay for, repair, return or replace damaged or stolen
property will be reduced by the applicable deductible shawn in the Declarations or Schedule.

Any Comprehensive Coverage Deductible shown in the Declarations or Schedule does not
apply to “loss” caused by fire or lightning.

CA 89 28 10 01

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COMMERCIAL AUTO
CA 99 34 1293

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

SOCIAL SERVICE AGENCIES ~ VOLUNTEERS
AS INSUREDS

This endorsement modifies insurance provided under the following:

BUSINESS AUTO COVERAGE FORM
MOTOR CARRIER COVERAGE FORM
TRUCKERS COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.

The following is added to the LIABILITY COVERAGE WHO IS AN INSURED provision:

Anyone volunteering services to you is an "insurect" while using a covered "auto" you don't own, hire or borrow to
transport your clients or other persons in activities necessary to your business. Anyone else who furnishes that
“auto” is also an “insured”.

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( COMMERCIAL AUTO
\ CGA 99 33 02 99

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
EMPLOYEES AS INSUREDS

This endorsement modifies insurance provided under the following:

BUSINESS AUTO COVERAGE FORM
MOTOR CARRIER COVERAGE FORM
TRUCKERS COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.

The following fs added to the Section ll ~ Liability Coverage, Paragraph A.1. Who Is An Insured Provision:

Any “employee” of yours is an “insured” while using a covered “auto” you don't own, hire or borrow in your busi-
ness or your personal affairs.

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POLICY NUMBER: ’ COMMERCIAL AUTO
CA 99 37 03 06

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
GARAGEKEEPERS COVERAGE

This endorsement modifies insurance provided under the following:

BUSINESS AUTO COVERAGE FORM
MOTOR CARRIER COVERAGE FORM
TRUCKERS COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.

This endorsement changes the policy effective on the inception date of the policy unless another date is indi-
cated below.

 

 

 

 

 

 

 

 

 

 

Named Insured: City of Williamsport
Endorsement Effective Date:
Countersignature Of Authorized Representative
Name:
Title:
Signature:
Date:
SCHEDULE
Location Number Address Where You Conduct Garage Operations (Main Location)
Per schedule on file
Coverages Limit Of Insurance And Deductible Premium
3 Minus $
$ Deductible For Each Customers
Auto For Loss Caused By Theft Or
Mischief Or Vandalism Subject To
Comprehensive /& Maximum Deductible For All Such
Or Loss In Any One Event;
Specified Or
Causes Of Loss
$ 50,000 Minus
$ 500 Deductible For All Perils Subject To
$ 2,500 Maximum Deductible For All Such
Loss In Any One Event.
$ 50,000 Minus $
Collision § 500 Deductible For Each Customer's
Auto.

 

 

 

 

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Location Number

Address Where You Conduct Garage Operations

 

 

 

 

 

 

 

 

 

 

Comprehensive |§

Auto For Loss Caused By Theft Or
Mischief Or Vandalism Subject To

Maximum Deductible For All Such

Coverages Limit Of Insurance And Deductible Premium
$ Minus
5 Deductible For Each Customers
Auto For Loss Caused By Theft Or
Mischief Or Vandalism Subject To
Comprehensive {5 Maximum Deductible For Alt Such
Or Loss in Any One Event;
Specified Or
Causes Of Loss .
$ Minus
§ Deductible For All Perils Subject To
$ Maximum Deductible For All Such
Loss In Any One Event.
$ Minus
Collision 3 Deductible For Each Customers
Auto.
Location Number Address Where You Conduct Garage Operations
Coverages Limit Of Insurance And Deductible Premium
$ Minus
3 Deductible For Each Customers

 

 

Or Loss In Any One Event;
Specified Or
Causes Of Loss
$ Minus
S Deductible For All Perils Subject To
3 Maximum Deductible For Alt Such
Loss In Any One Event.
$ Minus
Collision $ Deductible For Each Customer's

Auto.

 

 

 

Total Premium For Ali Locations

 

 

 

Information required to complete this Schedule, If not shown above, will be shown in the Declarations,

 

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DIRECT COVERAGE OPTIONS
Indicate below with an “X" which, if any, Direct Coverage Option is selected.
EXCESS INSURANCE

If this box is checked, Garagekeepers Coverage remains applicable ona legal liability basis, However,
coverage also applies without regard to your or any other “insured's” legal liability for “loss” to a “customer's
auto" on an excess basis over any other collectible insurance regardless of whether the other insurance
cavers your or any olher "insured's" interest or the interest of the “customers auto's” owner.

PRIMARY INSURANCE

if this box is checked, Garagekeepers Coverage is changed to apply without regard to your or any other
“insured's" legal liability for “loss" to a “customer's auto" and is primary insurance.

A. This endorsement provides only those coverages:
1. Where a Limit of Insurance and a premium are

3. Who Is An insured
The following are “insureds” for "loss" to “cus-

shown for that coverage In the Schedule: and
2. For the location shown in the Schedule.

tomers autos" and "customer's auto” equip-
ment;

B. Coverage a, You.
1. We will pay all sums the “insured” legally must b. Your partners (if you are a partnership), or

CA 98 37 03 06

pay as damages for "loss" to a "customer's
auto” or "customer's auto" equipment left in the
“insured's” care while the “insured” is attend-
ing, servicing, repairing, parking or storing it in
your "garage operations” under:
a. Comprehensive Coverage

From any cause except:

{1) The "customer's auto's” collision with
another object; or

(2) The “customer's auto's" overturn.
b. Specified Causes Of Loss Coverage

Caused by:

{1) Fire, lightning or explosion;

(2) Theft; or

(3) Mischief or vandalisrn,
c. Collision Coverage

Caused by:

{1) The “customer's auto's" collision with

another object; or
(2) The "customer's auto's” overturn.

. We will have the right and duty to defend any
“insured” against a "suit" asking for these dam-
ages. However, we have no duty to defend any
“insured” against a "suit" seeking damages for
“loss” to which this insurance does not apply.
We may investigate and settle any claim or
"suit" as we consider appropriate, Our duty to
defend or settle ends for a coverage when the
Limit of Insurance for that coverage has been
exhausted by payment of judgments or settle-
ments.

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members (if you are a limited liability com-
pany), "employees", directors or sharehold-
ers while acting within the scope of their
duties as such.

. Goverage Extensions

The following applies as Supplementary Pay-
ments. We will pay for the "insured":

a. All expenses we incur.

b. The costs of bonds to release attachments
in any "suit" against an "insured" we de-
fend, but only for bond arnounts within our
Limit of Insurance.

c. All reasonable expenses incurred by the
"insured" at our request, including actual
loss of earnings up to $250 a day because
of time off from work.

d. All costs taxed against the "insured" in any
“suit? against an "insured" we defend.

é. All interest on the full amount of any judg-
ment that accrues after entry of the judg-
ment in any "suit" against an “insured” we
defend; but our duty to pay interest ends
when we have paid, offered to pay, or de-
posited in court the part of the judgment
that is within our Limit of Insurance.

These payments will not reduce the Limil of
insurance,

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Cc, Exclusions
1. This insurance does not apply to any of the

3. We will not pay for "loss" caused by or result-
ing from the following. Such “loss” is excluded

Page 4 of 5

following:
a. Contractual Obligations

Liability resulting from any contract or
agreement by which the “insured” accepts
responsibility for “loss”. But this exclusion
does not apply to liability for “loss” that the
“insured” would have in the absence of the
contract or agreement,

b. Theft

"Loss" due to theft or conversion caused in
any way by you, your “employees” or by
your shareholders.

c. Defective Parts

Defective parts or materials.
d. Faulty Work

Faulty “work you performed".

- We will not pay for "loss" to any of the follow-
ing:

a. Tape decks or other sound reproducing
equipment unless permanently installed in
a "customer's auto".

b. Tapes, records or other sound reproducing
devices designed for use with sound repro-
ducing equipment.

c. Sound receiving equipment designed for
us@ as a citizens’ band radio, two-way mo-
bile radio or telephone or scanning monitor
receiver, including its antennas and other
accessories, unless permanently installed
in the dash or console opening normally
used by the "customer's auto" manufacturer
for the Installation of a radio,

d, Any device designed or used to detect
speed measurement equipment such as
radar or laser detectors and any jamming
apparatus intended to elude or disrupt
speed measurement equipment.

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regardless of any other cause or event that
contributes concurrently or in any sequence to
the “loss”:

a. War, including undeclared or civil war:

b. Warlike action by a military force, Including
action in hindering or defending against an
actual or expected attack, by any govem-
ment, sovereign or other authority using
military personnel or other agents: or

c, insurrection, rebellion, revolution, usurped
power, or action taken by governmental au-
thority in hindering or defending against
any of these.

D. Limits Of Insurance And Deductibles
1. Regardless of the number of "customers

autos”, “Insureds", premiums paid, claims
made or “suits” brought, the most we will pay
for each “loss” at each location is the Ga-
fagekeepers Coverage Limit of Insurance
shown in the Schedule for that location minus
the applicable deductibles for "loss" caused by:

a, Collision; or

b. With respect to Garagekeepers Coverage
Comprehensive or Specified Causes Of
Loss Coverage:

(1) Theft or mischief or vandalism; or
(2) All perils.

. The maximum deductible stated in the Sched-

ule for Garagekeepers Coverage Comprehen-
sive or Specified Causes of Loss Coverage Is
the most that will be deducted for all loss" in
any one event caused by:

a. Theft or mischief or vandalism: or
b. All perils.

- Sometimes to settle a claim or "suit", we may

pay all or any part of the deductible. If this
happens you must reimburse us for the de-
ductible or that portion of the deductible that
we paid,

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E. Additional Definitions
As used in this endorsement:
1. "Customers auto” means a customer's land

3. "Garage operations" means the ownership,
maintenance of use of locations for the pur-
pose of a business of selling, servicing, repair-
ing, parking or staring "customers autos" and

motor vehicle or trailer or semitrailer. This defi-
nition also includes any customers auto while
left with you for service, repair, storage or
safekeeping. Customers include your “employ-
ees", and members of their households who

that portion of the roads or other accesses that
adjoin these locations. “Garage operations"
also includes all operations necessary or inci-
dental to the performance of garage opera-
tions.

pay for services performed,

2. "Loss" means direct and accidental loss or
damage and includes any resulting loss of use.

4, “Work you performed" includes:

a. Work that someone performed on your
behalf; and

b. The providing of or failure to provide warn-
ings or instructions.

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COMMERCIAL AUTO
CA 99 48 03 06

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
POLLUTION LIABILITY - BROADENED COVERAGE

FOR COVERED AUTOS — BUSINESS AUTO

3

MOTOR CARRIER AND TRUCKERS COVERAGE FORMS

This endorsement modifies insurance provided under the following:

BUSINESS AUTO COVERAGE FORM
MOTOR CARRIER COVERAGE FORM
TRUCKERS COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-

fied by the endorsement.

A. Liability Coverage is changed as follows:

1. Paragraph a, of the Pollution Exclusion ap-
plies only to fiability assumed under a contract

or agreement.

2. With respect to the coverage afforded by
Paragraph A.1. above, Exclusion 8.6. Care,

Custody Or Control does not apply.
B. Changes In Definitions

For the purposes of this endorsement, Paragraph
D. of the Definitions Section is replaced by the

following:

DB. "Covered pollution cost or expense” means

any cost of expense arising out of:

1. Any request, demand, order or statutory or

“Covered pollution cost or expense" does not
include any cost or expense arising out of the
actual, alleged or threatened discharge, dis-
persal, seepage, migration, release or escape
of “pollutants*:

a. Before the “pollutants” or any property
in which the “polfutants" are contained
are moved from the place where they
are accepted by the “Insured” for
movement into or onto the covered
"auto": or

b. After the “pollutants” or any property in
which the “pollutants” are contained are
moved from the covered “auto” to the
place where they are finally delivered,

CA 99 48 03 06

regulatory requirement that any “insured” or
others test for, monitor, clean up, remove,
contain, treat, detoxify or neutralize, or in
any way respond to, or assess the effects
of "pollutants": or

. Any claim or "suit" by or on behalf of a
governmental authority for damages be-
cause of testing for, monitoring, cleaning
up, removing, containing, trealing, detoxify-
ing or neutralizing, or in any way respond-
ing to or assessing the effects of “pollut-
ants”.

disposed of or abandoned by the "“in-
sured”,

Paragraphs a. and b. above do not apply to
"accidents" that occur away from premises
owned by or rented to an “insured” with re-
speci to “pollutants” not in or upon a cov-
ered “auto” if:

(1) The "pollutants" or any property in
which the “pollutants” are contained
are upset, overturned or damaged
as a result of the maintenance or
use of a covered "auto": and

(2) The discharge, dispersal, seepage,
migration, release or escape of the
“pollutants” is caused directly by
such upset, overturn or damage.

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SCA 23 5006
(Ed. 02/08)

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
EXTENDED COVERAGE ENDORSEMENT — BA PLUS

BUSINESS AUTO COVERAGE FORM

A. Who Is An Insured

The following are added, as “insureds,” ta Who {s
An Insured (Section Il):

i. a. Any incorporated entity of which the Named
Insured owns a majority of the voting stock
on the date of inception of this Coverage
Form; provided that,

b. The insurance afforded by this provision
A.i. does nat apply to any such entity that
is an “Insured” under any other liability
"policy" providing “auto” coverage.

2. Any organization you newly acquire or form,
other than a limited liability company,
partnership or joint venture, and over which you
maintain majority ownership interest.

The insurance afforded by this provision A.2.:

a. Is effective on the acquisition or formation
date, and is afforded only until the end of
the policy period of this Coverage Form, or
the next anniversary of its Inception date,
whichever is earlier.

b. Does not apply to:

(1) “Bodily injury" or “property damage"
caused by an “accident” that occurred
before you acquired or formed the
organization; or

(2) Any such organization that is an
“insured” under any other liability
“policy” providing "auto" coverage.

3. An “employee” of yours is an "insured" while
operating a covered auto or an “auto” hired or
rented under a contract or agreement in that
“employee's” name, with your permission, while
performing duties related to the conduct of your
business.

Policy, as used in this provision A., includes those
policies that were in force on the Inception date of
this Coverage Form but:

1. Which are no longer in force; or
2. Whose limits have been exhausted,

SCA 23 500C
(Ed. 02/08)

B. Coverage

This endorsement modifies insurance provided under the following:

Extensions — Supplementary

Payments

The following Supplementary Payments, in
Coverage Extensions (Section I), are revised as
follows:

1. In a.(2), the limit for the cost of bail bonds is
changed from $2,000 to $5,000, and

2. In a4), the limit for the loss of earnings is
changed from $250 to $500 a day.

. Fellow Employee

The Fellow Employee Exclusion contained in
Section II ~ Liability Coverage does not apply.

Such coverage as Is afforded by this provision C. is
excess over any other collectible insurance.

. Physical Damage

1. Glass Breakage

The following paragraph is added to A.3., Glass
Breakage (Section IN):

With respect to any covered “auto,” any
deductible shown In the Declarations will not
apply to glass breakage if such glass is
repaired, in a manner acceptable to us, rather
than replaced.

2. Transportation Expense

Paragraph A.4,, Coverage Extension (Section
ill) is revised, with respect to transportation
expense incurred by you, to provide:

a. $60 per day, in lieu of $20; subject to
b. $1,800 maximum, In lieu of $600.
3. Loss of Use Expenses

Paragraph A.4., Coverage Extension (Section
lil) is revised, with respect to loss of use
expenses incurred by you, to provide:

a. $1,000 maximurn, in lieu of $600.

4, Audio, Visual And Data Electronic Equipment
Coverage

The faliowing ts added to Coverage A. (Section
i):

a. PHYSICAL DAMAGE COVERAGE on a
covered “auto” also applies to “ioss" to any
permanently installed electronic equipment

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including its
accessories

antennas and other

b. A $100 per occurrence deductible applies
to the coverage provided by this provision
D.4,

§. Hired “Autos”

Subject to the following, if Physical Damage
coverage is provided under this policy then
Hired Auto Physical Damage is extended to:

a. Any covered "auto" you lease, hire, rent or
borrow without a driver; and

b. Any covered "auto" hired or rented by your
“employee” without a driver, under a
contract in that individual “employee's"
name, with your permission, while
performing duties related to the conduct of
your business.

c. The mest we will pay for any one "accident"
or “loss” is the actual cash value, cost of
repair, cost of replacement or $50,000
whichever is less rninus a $500 deductible
for each covered auto. No deductible
applies to “loss” caused by fire or lightning.

ad. Such physical damage coverage for hired
“autos” will:

{i) Be excess over any other collectible
insurance;

(2) Include loss of use, provided it is the
consequence of an “accident” for which
the Named Insured is legally liable, and
as a result of which a monetary loss is
sustained by the leasing or rental
concern.

Such coverage as is provided by this
provision (2) will be subject to a limil of
$750 per “accident.”

6. Diminution In Value

Subject to the following, the “diminution in
value” exclusion (Section Ill) does not apply to:

a. Any covered "auto" of the private
passenger type you lease, hire, rent or
borrow, without a driver for a period of 30
days or less, while performing dutles
related to the conduct of your business; and

b. Any covered “auto” of the private
passenger type hired or rented by your
"employee" without a driver for a period of
30 days or less, under a contract in that
individual "employee's" name, with your
permission, while performing duties related
to the conduct of your business.

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c. Such coverage as is provided by this
provision is limited to a "diminution in
value" loss arising directly out of accidental
damage and not as a result of the fatlure to
make repairs; faully or incomplete
maintenance or repairs; or the installation
of substandard parts,

d. The most we will pay for "loss" to a covered
“auto” in any one accident is the lesser of:

(1) $5,000; or

(2) 20% of the “auto's” actual cash value
(ACV)

Airbag Coverage

The accidental discharge of an airbag shall not be
considered mechanicat breakdown.

Duties In The Event Of Accident, Claim, Suit Or
Loss

1. The following, relative to your notification
Obligation, is added as the last paragraph of
Less Condition 2.a.:

Your “employees” may know of an “accident* or
“loss.” This will not mean that you have such
knowledge, unless such "accident" or "loss" Is
known to you or if you are not an individual, to
any of your executive officers or partners or
your Insurance manager.

2. The following paragraph, relative to your
obligation to provide us with documents, is
added to Loss Condition 2.b.(2):

Your "employees" may know of documents
received concerning a claim or “suit.” This will
not mean that you have such knowledge,
unless receipt of such documents Is known to
you or if you are not an individual, to any of
your executive officers or pariners or your
insurance manager.

Unintentional Omissions

Your failure to disclose all hazards existing on the
date of inception of this Coverage Form shall not
prejudice you with respect to the coverage afforded
provided such failure or omission is not intentional,

international Coverage — Hired "Autos"

Paragraph 7. Policy Period, Coverage Territory of
the General Conditions is amended by the addition
of the following:

The coverage territory is extended to anywhere in
the world if:

a. A Covered “auto” of the private passenger type
is leased, hired, rented or borrowed without a
driver for a period of 45 days or less: and

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b. The “insureds” responsibility 1o pay darnages is
determined in a "suit" on the merits, in the
United States of America, the territories and
possessions of the United States of America,
Puerto Rico, or Canada or in a settlement we
agree to.

WARNING

Auto accidents in Mexico are subject to the laws of
Mexico only — Not the laws of the Uniled States af
America. The Republic of Mexico considers any
auto accident a criminal offense as weil as a civil
matter.

in some cases the coverage provided under this
endorsement may not be recognized by the
Mexican authorities and we may nat be allawed to
implement this coverage at all in Mexico. You
should consider purchasing auto coverage from a
licensed Mexican Insurance Company before
driving into Mexico.

Bodily Injury — Mental injury

The definition of “bodily Injury" (Section V) is
revised as follows:

"Bodily injury" means bodily injury, sickness or
disease sustained by a person, including mental
anguish, mental injury or death resulting from any
of these.

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J. Drive Other Car Coverage ~ Executive Officers

1.

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Any “auto” you don't own, hire or borrow is a
covered “auto” for Liability Coverage while
being used by, and for Physical Damage
Coverage while in the care, custody or contro!
of, any of your “executive officers,” except:

a. An “auto” owned by thal “executive officer’
or a member of that person's househald: or

b. An “auto” used by that “executive officer’
while working in a business of selling,
servicing, repairing or parking “autos.”

Such Liability and/or Physical Damage
Coverage as is afforded by this provision J.1.
will be:

(1) Equal to the greatest of those
coverages afforded any covered "auto".
and

(2) Excess over any other collectible
insurance,

For purposes of this provision J., "executive
officer’ means a person holding any of the
officer positions created by your charter,
constitution, by-laws or any other similar
governing document, and, while a resident of
the same household, includes that person's
spouse.

Such “executive officers” are “insureds” while
using a covered “auto” described in J.4.

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THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
ECONOMIC AND TRADE SANCTIONS CONDITION

The following condition is added to the COMMON
POLICY CONDITIONS:

ECONOMIC AND TRADE SANCTIONS CONDITION

In accordance with laws and regulations of the United
States concerning economic and trade embargoes, this
policy is void ab initio (void from its inception) with
respect lo any term or condition of this policy that
violates any laws or regulations of the United States
conceming economic and trade embargoes including,
but not limited to the following:

i. Any insured, or any person or entity claiming the
benefits of an insured, who Is or becomes a
Specially Designated National or Blocked Person or
who is otherwise subject to U.S. economic or trade
sanctions;

2. Any claim or “suit" that is brought in a Sanctioned
Country or by a Sanctioned Country Government,
where any action in connection with such claim or
suit is prohibited by U.S. economic or trade
sanctions;

3. Any claim or “suit* that is brought by any Specialty
Designated National or Blocked Person or any

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(Ed. 03/03)

person or entity who is otherwise subject to U.S,
economic or trade sanctions:

4, Property that is located in a Sanctioned Country or
that is owned by, rented to or in the care, custody or
control of a Sanctioned Country Government,
where any activities related to such property are
prohibited by U.S. economic or trade sanctions: or

5. Property that is owned by, rented to or in the care,
custody or control of a Specially Designated
National or Blocked Person, or any person or entity
who is otherwise subject to U.S. economic or trade
sanctions,

As used in this endorsement a Specially Designated
National or Blocked Person is any person or entity that
is on the fist of Specially Designated Nationals and
Blocked Persons issued by the U.S. Treasury
Department's Office of Foreign Asset Control
(O.F.A.C.) as It may be from time to time amended.

As used in this endorsement a Sanctioned Country is
any country that is the subject of trade or economic
embargoes imposed by the laws or regulations of the
United States of America.

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THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

PENNSYLVANIA CHANGES — CANCELLATION
AND NONRENEWAL

This endorsement modifies insurance provided under the following:

CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
COMMERCIAL AUTOMOBILE COVERAGE PART

COMMERCIAL GENERAL LIABILITY COVERAGE PART
COMMERCIAL INLAND MARINE COVERAGE PART

COMMERCIAL LIABILITY UMBRELLA COVERAGE PART
COMMERCIAL PROPERTY COVERAGE PART

CRIME AND FIDELITY COVERAGE PART

EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
EQUIPMENT BREAKDOWN COVERAGE PART

FARM COVERAGE PART

FARM UMBRELLA LIABILITY POLICY

LIQUOR LIABILITY COVERAGE PART

POLLUTION LIABILITY COVERAGE PART
PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

A. The Cancellation Common Policy Condition is
replaced by the following:

CANCELLATION
1. The first Named Insured shawn in the Declara-

b. You have failed to pay a premium when
due, whether the premium is payable di-
rectly to us of our agents or indirectly under
@ premium finance plan or extension of

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tions may cancel this policy by writing or giving
notice of cancellation.

. Cancellation Of Policies In Effect For Less
Than 60 Days

We may cancel this policy by mailing or deliv-
ering to the first Named Insured written notice
of cancellation at least 30 days before the ef-
fective date of cancellation.

. Cancetlation Of Policies in Effect For 60
Days Or More

If this policy has been in effect for 60 days or
more or if this policy is a renewal of a policy we
issued, we may cancel this policy only for one
or more of the following reasons:

a. You have made a material misrepresenta-
tion which affects the insurability of the risk.
Notice of cancellation will be mailed or de-
livered at least 15 days before the effective
date of cancellation.

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credii. Notice of cancellation will be mailed
at feast 15 days before the effective date of
cancellation.

€. A condition, factor or loss experience mate-
rial to Insurabifity has changed substantially
or a substantial condition, factor or loss ex-
perience material to insurability has be-
come known during the policy period. No-
tice of cancellation will be mailed or
delivered at least 60 days before the effec-
tive date of cancellation.

d. Loss of reinsurance or a substantial de-
crease in reinsurance has occurred, which
loss or decrease, at the time of cancella-
tion, shall be certified to the Insurance
Commissioner as directly affecting in-force
policies. Notice of cancellation will be
mailed or delivered at least 60 days before
the effective date of cancellation,

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e. Material failure to comply with policy terns,
conditions or contractual duties. Notice of
cancellation will be mailed or delivered at
least 60 days before the effective date of

7. If notice is mailed, it will be by registered or first

class mail. Proof of mafling will be sufficient
proof of notice.

cancellation.
f. Other reasons that the insurance Commis-

B. The following are added and supersede any provi-
sions to the contrary:

1. Nonrenewal

sioner may approve. Notice of cancellation
will be mailed or delivered al least GO days
before the effective date of cancellation,

This policy may atso be cancelled from inception
upon discovery that the policy was obtained
through fraudulent statements, omissions or con-
cealment of facts material to the acceptance of the
risk or to the hazard assumed by us.

4, We will mail or deliver our notice to the first

lf we decide not to renew this policy, we will
mail or deliver written notice of nonrenewal,
stating the specific reasons for nonrenewal, to
the first Named Insured at least 60 days before
the expiration date of the policy.

. Increase Of Premium

If we increase your renewal premium, we will
maif or deliver to the first Narned Insured writ-

Page 2 of 2

Named Insured's last mailing address known to
us. Notice of cancellation will state the specific
reasons for cancellation.

. Notice of cancellation will state the effective
date of cancellation. The policy period will end
an thai date.

. If this policy is cancelled, we will send the first
Named Insured any premium refund due, If we
cancel, the refund will be pro rata and will be
returned within 10 business days after the ef-
fective date of cancellation. If the first Named
Insured cancels, the refund may be less than
pro rata and will be returned within 30 days af-
ter the effective date of cancellation. The can-
cellation will be effective even if we have not
made or offered a refund.

ten notice of our intent to increase the premium
at least 30 days before the effective date of the
premium increase.

Any notice of nonrenewal or renewal premium in-
crease will be mailed or delivered to the first
Named Insured's last known address. If notice Is
mailed, it will be by registered or first class mail.
Proof of mailing will be sufficient proof of notice.

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THIS ENDORSEMENT CHANGES THE POLICY, PLEASE READ IT CAREFULLY.

NUCLEAR ENERGY LIABILITY EXCLUSION
ENDORSEMENT

(Broad Form)

This endorsement modifies insurance provided under the following:

COMMERCIAL AUTOMOBILE COVERAGE PART
COMMERCIAL GENERAL LIABILITY COVERAGE PART

FARM COVERAGE PART
LIQUOR LIABILITY COVERAGE PART

OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART

POLLUTION LIABILITY COVERAGE PART

PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

PROFESSIONAL LIABILITY COVERAGE PART

RAILROAD PROTECTIVE LIABILITY COVERAGE PART

UNDERGROUND STORAGE TANK POLICY

i. The Insurance does not apply:

A, Under any Liability Coverage, to "bodily injury"
or "property damage’:

(1) With respect to which an “insured” under
the policy is also an insured under a nu-
clear energy liability policy Issued by Nu-
clear Energy Liability Insurance Associa-
tion, Mutual Atomic Energy Liability
Underwriters, Nuclear Insurance Associa-
tion of Canada or any of their successors,
or would be an Insured under any such pol-
icy but for its termination upon exhaustion
of its limit of liability; or

(2) Resulting from the “hazardous properties"
of “nuclear material” and with respect to
which (a) any person or organization is re-
quired to maintain financial protection pur-
suant to the Atomic Energy Act of 1954, or
any law amendatory thereof, or (b) the “in-
sured” is, or had this policy not been issued
would be, entitled to indernnity from the
United States of America, or any agency
thereof, under any agreement entered into
by the United States of America, or any
agency thereof, wilh any person or organi-
zation.

B. Under any Medical Payments coverage, to

expenses incurred with respect to "bodily in-
jury” resulting from the “hazardous properties"
of "nuclear material" and arising out of the op-
eration of a "nuclear facility” by any person or
organization.

. Under any Liability Coverage, to “bodily injury"

or “property damage” resulting from "hazard-
ous properties” of "nuclear material”, if:

(1) The "nuclear material" (a) is at any "nuclear
facility” owned by, or operated by or on be-
half of, an “insured” or (b) has been dis-
charged or dispersed therefrom:

(2) The "nuclear material” is contained in
“spent fuel” or “waste at any time pos-
sessed, handled, used, processed, stored,
transported or disposed of, by or on behalf
of an “Insured”; or

{3) The “bodily injury" or "property damage"
arises out of the furnishing by an "Insured"
of services, materials, parts or equipment
in connection with the planning, construc-
tion, maintenance, operation or use of any
“nuclear facility’, but if such facility is lo-
cated within the United States of America,
its territories or possessions or Canada, this
exclusion (3) applies only to “property dam-
age" to such "nuclear facility" and any prop-
erty thereat.

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2, As used in this endorsement:

“Hazardous properties" includes radioactive, toxic
or explosive properties,

"Nuclear material" means "source material", "Spe-
cial nuclear material” or “by-praduct material”,

"Source material", “special nuclear material’, and
“by-product material" have the meanings given
therm in the Atomic Energy Act of 1954 or in any
law amendatory thereof.

"Spent fuel" means any fuel element or fuel com-
ponent, solid or liquid, which has been used or
exposed to radiation in a “nuclear reactor".

“Waste” means any waste material (a) containing
"by-product material” other than the tailings or
wastes produced by the extraction or concentra-
tion of uranium or thorium from any ore processed
primarily for its “source material” content, and (b)
resulting from the operation by any person or or-
ganization of any “nuclear facility" included under
the first wo paragraphs of the definition of "nu-
clear facility".

"Nuclear facility" means:
(a) Any “nuclear reactor’,

(b) Any equipment or device designed or used
for (1) separating the isotopes of uranium
or plutonium, (2) processing or utilizing
“spent fuel", or (3) handling, processing or
packaging "waste";

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(c) Any equipment or device used for the proc-
essing, fabricating or alloying of "special
nuclear material" if at any time the total
amount of such material in the custody of
the "Insured" at the premises where such
equipment or device is located consists of
or contains more than 25 grams of pluto-
nium or uranium 233 or any combination
thereof, or more than 250 grams of ura-
nium 235;

(d) Any structure, basin, excavation, premises
or place prepared or used for the storage or
disposal of “waste”:

and includes the site on which any of the forego-
ing is located, alf operations conducted on such
site and all premises used for such operations.

"Nuclear reactor’ means any apparatus designed
or used to sustain nuclear fission in a self-
Supporting chain reaction or to contain a critical
mass of fissionable material.

“Property damage" includes afl forms of radioac-
tive contamination of property.

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COMMON POLICY CONDITIONS

A. Cancellation

1. The first Named Insured shown in the
Declarations may cancel this policy by
mailing or delivering to us advance
written notice of cancellation.

2. We may cancel this policy by mailing or
delivering to the first Named Insured
written notice of cancellation at least:

a. 10 days before the effective date of
cancellation if we cancel for
nonpayment of premium; or

b. 30 days before the effective date of
cancellation if we cancel for any
other reason.

3. We will mail or deliver our notice to the
first Named Insured’s last mailing
address known to us.

4. Notice of cancellation will state the
effective date of cancellation. The policy
period will end on that date.

§. If this policy is cancelled, we will send
the first Named Insured any premium
refund due. If we cancel, the refund will
be pro rata. If the first Named Insured
cancels, the refund may be less than
pro rata, The cancellation will be
effective even if we have not made or
offered a refund,

6. If notice is mailed, proof of mailing will
be sufficient praof of notice,

. Changes

This policy contains all the agreements
between you and us concerning the
insurance afforded. The first Named
Insured shown in the Declarations is
authorized to make changes in the terms of
this policy with our consent. This policy’s
terms can be amended or waived only by

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All Caverage Parts included in this policy are subject to the following conditions.

endorsement issued by us and made a part
of this policy.

. Examination Of Your Books And

Records

We may examine and audit your books and
records as they relate to this policy at any
time during the policy period and up to
three years afterward.

D. Inspections And Surveys

1. We have the right to:

a. Make inspections and surveys at any
time;

b. Give you reports on the conditions
we find; and

c. Recommend changes.

2. We are not obligated to make any
inspections, surveys, reports or
recommendations and any such actions
we do undertake relate only to
insurability and the premiums to be
charged. We do not make safety
inspections. We do not undertake to
perform the duty of any person or
organization to provide for the health or
safety of workers or the public. And we
do not warrant that conditions:

a. Are safe or healthful; or

b. Comply with laws, regulations, codes
or standards.

3. Paragraphs 1. and 2, of this condition
apply not only to us, but also to any
rating, advisory, rate service or similar
organization which makes insurance
inspections, surveys, reports or
recommendations,

4, Paragraph 2. of this condition does not
apply to any inspections, surveys,

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reports or recommendations we may
make relative to certification, under
state or municipal statutes, ordinances
or regulations, of boilers, pressure
vessels or elevators.

E. Premiums

The first Named Insured shown in the
Declarations:

1. ls responsible for the payment of all
premiums; and

2. Will be the payee for any return
premiums we pay.

Page 2 of 2

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F. Transfer Of Your Rights And Duties

Under This Policy

Your rights and duties under this policy
may not be transferred without our written
consent except in the case of death of an
individual named insured.

If you die, your rights and duties will be
transferred to your legal representative but
only while acting within the scope of duties
as your legal representative. Until your
legal representative is appointed, anyone
having proper temporary custody of your
property will have your rights and duties but
only with respect to that property.

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IL. 00 03 09 08
THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

CALCULATION OF PREMIUM

This endorsement modifies insurance provided under the following:

CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
COMMERCIAL AUTOMOBILE COVERAGE PART

COMMERCIAL GENERAL LIABILITY COVERAGE PART
COMMERCIAL INLAND MARINE COVERAGE PART

COMMERCIAL PROPERTY COVERAGE PART

CRIME AND FIDELITY COVERAGE PART

EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
EQUIPMENT BREAKDOWN COVERAGE PART

FARM COVERAGE PART

LIQUOR LIABILITY COVERAGE PART

MEDICAL PROFESSIONAL LIABILITY COVERAGE PART

OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
POLLUTION LIABILITY COVERAGE PART

PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
RAILROAD PROTECTIVE LIABILITY COVERAGE PART

The following is added:

The premium shown in the Declarations was com-
puted based on rates in effect at the time the policy
was Issued. On each renewal, continuation, or anni-
versary of the effective date of this policy, we will
compute the premium in accordance with our rates
and rules then In effect.

It. 00 03 09 08 © ISO Properties, Inc., 2007 Page 1 of 4

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PENNSYLVANIA NOTICE

An Insurance Company, its agents, employees, or
service contractors acting on its behalf, may provide
services to reduce the likelihood of injury, death or
loss. These services may include any of the following
or related services incident ta the application for,
issuance, renewal or continuation of, a policy of in-
surance:

1. Surveys:
2, Consultation or advice; or
3. Inspections,

The "Insurance Consultation Services Exemption Act
of Pennsylvania provides that the Insurance Com-
pany, ils agents, employees or service contractors
acting on its behalf, Is not liable for damages from
injury, death or loss occurring as a result of any act or
omission by any person In the furnishing of or the
fallure to furnish these services.

IL 09 10 1203

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The Act does not apply:

1. If the injury, death or loss occurred during the
aciual performance of the services and was
caused by the negligence of the Insurance Corn-
pany, its agents, employees or service contrac-
tors;

2. To consultation services required to be performed
under a written service contract not related to a
policy of insurance: or

3. If any acts or omissions of the Insurance Com-
pany, its agents, employees or service contractors
are judicially determined to constitute a crime, ac-
tual malice, or gross negligence.

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POLICY NUMBER: COMMERCIAL AUTO
CA 99 37 03 40

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
GARAGEKEEPERS COVERAGE

This endorsement modifies insurance provided under the following:

BUSINESS AUTO COVERAGE FORM
MOTOR CARRIER COVERAGE FORM
TRUCKERS COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.

This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.

 

Named insured: City of Williamsport

Endorsement Effective Date:

 

 

 

 

 

 

 

SCHEDULE
Location Number Address Where You Conduct Garage Operations (Main Location)
Coverages Limit Of Insurance And Deductible Premium
Comprehensive |§ Limit Of Insurance $ Included
$ Deductible For Each Customer's

Auto For Loss Caused By Theft
Or Mischief Or Vandalism

$ Maximum Deductible For
Loss Caused By Theft Or Mischief
Or Vandalism In Any One Event

 

 

 

 

 

 

 

 

 

 

OR

$ 50,000 Limit Of Insurance
$ 500 Deductible For All Perils For Each

Customer's Auto
$ 2,500 Maximum Deductible For A})

Loss In Any One Event

Collision $ 50,000 Limit Of Insurance $ Included

$ 500 Deductible For Each Customer's

Auta

 

 

| Information required to complete this Schedule, if not shown above, will be shown in the Declarations. |

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Direct Coverage Options
Indicate below with an "X" which, if any, Direct Coverage Option is selected,

Excess Insurance

If this box is checked, Garagekeepers Coverage remains applicable on a fegal liability basis. However,
coverage also applies without regard to your or any other “insured's” legal liability for “loss” to a "customer's
auto" on an excess basis over any other collectible insurance regardless of whether the other insurance
covers your or any other “insured's” interest or the interest of the “customer's auto's” owner.

[] Primary Insurance

Ifthis box is checked, Garagekeepers Coverage is changed to apply without regard to your or any other
"insured’s” legal liability for “loss" to a "custorner’s auto" and is primary insurance.

4. This endorsement provides only those caverages: 3. Whe Is An Insured

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1. Where a Limit of Insurance and a premium are
shown for that coverage in the Schedule; and

2. For the location shown in the Schedule.

B. Coverage

4. We will pay all sums the “insured” legally must
pay as damages for “loss” to a “customer's
auto” or "customer's auto” equipment left in the
“insured's" care while the “insured” is attend-
ing, servicing, repairing, parking or storing it in
your "garage operations” under:
a. Comprehensive Coverage
From any cause except:

{i) The “customers auto's” collision with
another object; or

(2) The “customer's auto's" overturn.
b. Specified Causes Of Loss Coverage
Caused by:
(1} Fire, lightning or explosion;
(2) Theft; or
(3) Mischief or vandalism.
c. Collision Coverage
Gaused by:
(i) The “customer's auto's" collision with
another object; or
(2) The “customer's auto's" overturn.

. We will have the right and duty to defend any
“insured” against a "suit® asking for these dam-
ages. However, we have no duly to defend any
"Insured" against a "suit" seeking damages for
“toss” to which this insurance does not apply,
We may investigate and setite any claim or
“suit” as we consider appropriate. Our duty to
defend or settle ends for a coverage when the
Limit of Insurance for that coverage has been

exhausted by payment of judgrnents or settle-
ments.

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The following are "insureds" for "loss" to “cus-
tomers autos" and “customer's auto" equip-
ment:

a. You,

bo. Your partners (if you are a partnership), or
members (if you are a limited liability cam-
pany), “employees”, directors or sharehold-
ers while acting within the scope of their du-
ties as such.

. Coverage Extensions

The following applies as Supplementary Pay-
ments, We will pay for the “insured”:

a. All expenses we incur,

b. The casts of bonds to release altachmenis
in any “suif" against an “insured” we de-
fend, but only for bond arnounts within our
Limit of Insurance.

c. All reasonable expenses incurred by the
“insured” at our request, including actual
Joss of earnings up to $250 a day because
of time off from work.

d. All court costs taxed against the "insured" in
any “suit” against an "insured" we defend,
However, these payments do not include
attorneys’ fees or attomeys' expenses
taxed against the "insured".

é. All interest on the full amount of any judg-
ment that accrues after entry of the judg-
ment in any “suit” against an “insured we
defend; but our duty to pay interest ends
when we have paid, offered to pay, or de-
posited in court the part of the judgment
that is within our Limit of Insurance.

These payments will not reduce the Limit of In-
surance.

CA 99 37 03 10
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C. Exclusions
1. This insurance does not apply to any of the

following:
a. Contractual Obligations

Liability resulting from any contract or
agreement by which the “insured” accepts
responsibility for "loss". But this exclusion
does not apply to liability for “loss” that the
“insured” would have in the absence of the
contract or agreement,

b. Theft

"Loss" due to theft or conversion caused in
any way by you, your “employees” or by
your shareholders.

c. Defective Parts

Defective parts or materials.
d. Faulty Work

Faulty "work you performed”.

2. We will not pay for "loss" to any of the follow-

ing:

a. Tape decks or other sound-reproducing
equipment untess permanently installed in a
“customer's auto",

b. Tapes, records or other sound-reproducing
devices designed for use with sound-repro-
ducing equipment.

c. Sound-receiving equipment designed for
use as a citizens’ band radio, two-way mo-
bile radio or telephone ar scanning monitor
receiver, including its antennas and other
accessories, unless permanently installed
in the dash or console opening normally
used by the "customer's auto" manufacturer
for the installation of a radio,

d. Any device designed or used to detect
speed measurement equipment such as
radar or laser detectors and any jamrning
apparatus intended to elude or disrupt
speed measurement equipment.

. We will not pay for "loss" caused by or resulting
from the following. Such “loss” is excluded re-
gardiess of any other cause or event that con-
lributes concurrently or in any sequence to the
"loss":

a. War, including undeclared or civil war:

b. Warlike action by a military force, including
action in hindering or defending against an
actual or expected altack, by any govern-
ment, sovereign or other authority using
military personnel or other agents; or

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c. Insurrection, rebellion, revolution, usurped
power or action taken by governmental au-
thority In hindering or defending against any
of these.

D. Limits Of Insurance And Deductibles
1. Regardless of the number of "customers

autos", "insureds", premiums paid, claims
made or "suits" brought, the most we will pay
for each "loss" at each location Is the Ga-
ragekeepers Coverage Limit of Insurance
shown in the Schedule for that location. Prior to
the apptication of this limit, the damages for
"loss" that would otherwise be payable will be
reduced by the applicable deductibles for "loss"
caused hy:

a. Collision; or

b, With respect to Garagekeepers Coverage
Comprehensive ar Specified Causes Of
Loss Coverage:

(1) Theft or mischief or vandalism; or
(2) All perils.

. The maximum deductible stated in the Sched-

ule far Garagekeepers Coverage Comprehen-
Sive or Specified Causes Of Loss Coverage is
the most that will be deducted for all “loss” in
any one event caused by:

a. Theft or mischief or vandalism; or

b. All perils,

. Sometimes to seltle a claim or “suit”, we ma
y

pay all or any part of the deductible. If this
happens you must reimburse us for the de-
ductible or that portion of the deductible that
we paid.

E. Additional Definitions
As used in this endorsement:
4. “Customer's auto" means a land motor vehicle,

“trailer" or semitrailer lawfully within your pos-
session for service, repair, storage or safe-
keeping, with or without the vehicle owners
knowledge or consent. A “customer's auto"
also includes any such vehicle left in your care
by your "employees" and members of their
households, who pay for services performed,

. "Loss" means direct and accidental Joss or

damage and includes any resulting loss of use.

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3. "Garage operations" means the ownership, 4. "Work you performed” includes:

maintenance or use of locations for the pur-
: : ay . a, Work that someo ie
pose of a business of selling, servicing, repair- ne perfomed on your

: . Pon , behalf; and

ing, parking or storing “customer's autos” and - . .

that portion of the roads or other accesses that b. The providing of or failure to provide wam-
adjoin these locations. "Garage operations” ings of instructions.

also includes all operations necessary or inci-
dental lo the performance of garage opera-
tions.

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POLICY NUMBER: COMMERCIAL AUTO

CA 24 93 06 12
THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

PENNSYLVANIA UNDERINSURED MOTORISTS
COVERAGE — NONSTACKED

For a covered "motor vehicle" licensed or principally garaged in, or “garage operations" conducted in,
Pennsylvania, this endorsement modifies insurance provided under the following:

BUSINESS AUTO COVERAGE FORM
GARAGE COVERAGE FORM

MOTOR CARRIER COVERAGE FORM
TRUCKERS COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.

This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below:

 

Named Insured:

Endorsement Effective Date:

 

 

 

SCHEDULE

 

Limit Of Insurance: $ 35,000 Each "Accident"

 

 

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

 

 

A, Coverage (2) Advance payment to the "insured" in an
1. We will pay all sums the “insured” is legally amount equal to the tentative settlement
entitled to recover as compensatory damages within 30 days after receipt of

from the owner or driver of an “underinsured notification.
motor vehicle". The damages must result from 3, No judgment for damages arising out of a "suit"

"bodily injury" sustained by the “insured"
caused by an “accident”. The owner's or
driver's liability for these darnages must result
from the ownership, maintenance or use of an
“underinsured motor vehicle”.

We will pay under this coverage only if
Paragraph a. or b. below applies:

a. The limits of any applicable liability bonds

brought against the owner or operator of an
“underinsured motor vehicle” is binding on us
unless we:

a, Received reasonable notice of the
pendency of the "suit" resulting in the
judgment; and

b. Had a reasonable opportunity to protect our
interests in the "suit",

or policies have been exhausted by
payment of judgments or settlements; or

b. A tentative settlement has been made
between an “insured” and the insurer of the
“underinsured motor vehicle" and we:

(1) Have been given prompt written notice
of such tentative settlement: and

B. Who Is An Insured

If the Named insured is designated in the
Declarations as:

1. An individual, then the following are "insureds":

a, The Named Insured and any "family
members".

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b. Anyone eise "occupying" a covered “motor
vehicte” or a femporary substitute for a
covered “motor vehicle’. The covered
“motor vehicle” must be out of service
because of ils breakdown, repair, servicing,
“loss” ar destruction.

c. Anyone for damages he or she is entitled to
recover because of "bodily injury" sustained
by another "insured".

2. A partnership, limited liability company,
corporation or any other form of organization,
then the following are “insureds”:

a. Anyone “occupying” a covered “motor
vehicle" or a temporary substitute for a
covered "motor vehicle’, The covered
“motor vehicle" must be out of service
because of its breakdown, repair, servicing,
“toss” or destruction.

b. Anyone for damages he or she is entitled to
recover because of "bodily injury" sustained
by another “insured”.

C. Exclusions

This insurance does not apply to any of the
following:

1. The direct or indirect benefit of any Insurer or
self-insurer under any disability benefits or
similar law, except workers' compensation law.

2. Anyone using a vehicle without a reasonable
belief that the person is entitled to do so.

3. Punitive or exemplary damages.
4, "Badily injury" sustained by:
a. An individual Named Insured while

b. Warlike action by a military force, Including
action in hindering or defending against an
actual or expected attack, by any
gavemment, Sovereign or alher authority
using military personnel or other agents: or

c. Insurrection, rebellion, revolution, usurped
power, or action taken by govemmental
authority in hindering or defending against
any of these.

D. Limit Of Insurance
1. Regardless of the number of covered “motor

vehicles", “insureds”, premiums paid, claims
made or vehicles involved in the “accident”, the
most we will pay for all damages resulting from
any one “accident” is the Limit Of Insurance for
Underinsured Motorists Coverage shown in the
Schedule or Declarations.

- No one will be entitled to receive duplicate

payments for the same elements of "loss"
under this Coverage Form and any Liability
Coverage form, Medical Paymenis Coverage
endorsement or Uninsured Motorists Coverage
endorsement attached to this Coverage Part,

We will not make a duplicate payment under
this coverage for any element of “loss” for
which payment has been made by or for
anyone who js legally responsible.

We will not pay for any element of “loss* if a
person is entitled to receive payment for the
same element of “loss” under any disability
benefits or similar taw, except workers’
compensation law.

E. Changes In Conditions

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“occupying” or when struck by any vehicle
owned by that Named Insured that is not a
covered “auto” for Underinsured Motorists
Coverage under this Coverage Form;

b. Any “family member" while “occupying” or
when struck by any vehicle owned by that
“family member" that is not a covered "auto"
for Underinsured Motorists Coverage under
this Coverage Form; or

c. Any “family member’ while “occupying” or
when struck by any vehicle owned by the
Named Insured that is insured for
Underinsured Motorists Coverage on a
primary basis under any other Coverage
Form or policy.

» "Bodily injury" arising directly or indirectly out
of:

a. War, including undeclared or civil war,

The Conditions are changed for Pennsylvania
Underinsured Motorists Coverage — Nonstacked
as follows:

1. Duties In The Event Of Accident, Claim, Suit
Or Loss is changed by adding the following:

a. Promptly send us copies of the legal papers
if a "suit" is brought.

b. A person seeking Underinsured Motorists
Coverage must also promptly notify us, in
writing, of a tentative settlement between
the "insured" and the insurer of the
“underinsured motor vehicle" and allow us
30 days to advance payment to the
“insured” in an amount equal to the
tentative settlement to preserve our rights
against the insurer, owner or operator of
such “underinsured motor vehicle".

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2. Legal Action Against Us is replaced by the
following:

a. No one may bring a legal action against us
under this Coverage Form until there has
been full compliance with all the terms of
this Coverage Form.

b. Any legal action against us under this
Coverage Form must be brought within four
years after the date on which the "insured"
either settles with, or receives a judgment
agalnst, the owner or driver of the
“underinsured motor vehicte".

c. Paragraph 2.b. above of this condition does
not apply if, within four years after the date
on which the "insured" either settles with, or
receives a judgment against, the owner or
driver of the "underinsured motor vehicle’:

(1) We or the “insured” have made a written
demand for arbitration in accordance
with the provisions of this endorsement:
or

(2) The “insured” has filed an action for
“bodily injury" against the owner or
operator of the "underinsured motor
vehicle" and such action is:

(a) Filed in a court of competent
jurisdiction; and

(b) Not barred by the applicable state
Statute of limitations.

In the event that the four-year time limitation
identified in this condition does not apply, the
applicable state statute of limitations will
govern legal action against us under this
Coverage Form.

. Transfer Of Rights Of Recovery Against
Others To Us is changed by adding the
following:

If we make any payment due to an “accident
involving an "underinsured motor vehicle” and
the "insured" recovers from another party in a
separate claim or “suit”, the “insured” shalt hold
the proceeds in trust for us and pay us back
the amount we have pald less reasonable
attorneys’ fees, casts and expenses incurred
by the “insured” to the extent such payment
duplicates any amount we have paid under this
coverage.

Our rights do not apply under this provision
with respect to Underinsured Motorists
Coverage if we:

a. Have been given prompt written notice of a
tentative settlement between an “insured”
and the insurer of an “underinsured motor
vehicle"; and

b. Fail to advance payment to the “insured” in
an amount equal to the tentative settlement
within 30 days after receipt of notification,

lf we advance payment to the “insured” in an
amount equal to the tentative settlement within
30 days after receipt of notification:

a. That payment will be separate from any
amount the “insured” is entitled to recover
under the provisions of Underinsured
Motorists Coverage; and

b, We also have a right to recover the
advanced payment.

. Other Insurance in the Business Auto and

Garage Coverage Forms and Other Insurance
~ Primary And Excess Insurance Provisions
in the Truckers and Motor Cartier Coverage
Forms are replaced by the following:

a. If there is other applicable similar insurance
available under more than one Coverage
Form or policy, the following priorities of
recovery apply:

 

 

First

Second

The Underinsured Motorists Coverage
applicable to the vehicle the "insured"
was "occupying" at the time of the
"accident".

The Caverage Form or policy affording
Underinsured Motorists Coverage to the
“insured” as an Individual Named
Insured or "family member’.

 

 

 

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b. Where there is no applicable insurance
available under the first priority, the
maximum recovery under all Coverage
Forms or policies in the second priority may
équal but not exceed the highest applicable
limit for any one vehicle under any one
Coverage Form or policy affording
coverage to an individual Named Insured or
"family member’.

c. Where there is applicable
available under the first priority:

(1) The Limit of Insurance applicable to the
vehicle the “insured” was "occupying"
under the Coverage Form or policy in
the first priority shall first be exhausted:
an

(2} The maximum recovery under all
Coverage Forms or policies in the
second priority may equal but not
exceed the highest applicable limit for
any one vehicle under any one
Coverage Form or policy affording
coverage to an individual Named
insured or "family member".

insurance

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d. If two of more Coverage Foms or policies
have equal priority:

{i) The insurer against whom the claim is
first made shall process and pay the
claim as if wholly responsible for alt
insurers with equal priority;

(2) The insurer thereafter is entitled to
recover pro rata contribution from any
other insurer for the benefits paid and
the costs of processing the claim.

5. The following condition is added:
Arbitration

a. If we and an “insured" disagree whether the
“insured" is legally entitled to recover
damages from the owner or driver of an
“underinsured motor vehicle” or do not
agree as to the amount of damages that are
recoverable by that "insured", then the
matter may be arbitrated. However,
disputes concerning coverage under this
endorsement may not be arbitrated, Both
parties must agree to arbitration, If so
agreed, each party will select an arbitrator.
The two arbitrators will select a third. If they
cannot agree within 30 days, either may
request that selection be made by a judge
of a court having jurisdiction. Each party will
pay the expenses it incurs and bear the
expenses of the third arbitrator equally.

b. Unless both parties agree otherwise,
arbitration will take place in the county in
which the "insured" lives. Local rules of law
as to arbitration procedure and evidence
will apply. A decision agreed to by two of
the arbitrators will be binding.

. Additional Definitions

As used in this endorsement:

1. “Family member" means a person related to an
individual Named Insured by blood, marriage
or adoption who is a resident of such Named
insured’s household, including a ward or foster
child,

2. “Occupying” means in, upon, getting in, on, out
or off.

3. “Underinsured motor vehicle* means a vehicle
for which the sum of all liability bonds or
policies that apply at the time of an “accident”
does not provide at least the amount an
“insured® is legally entitled to recover as
damages.

However, an "underinsured motor vehlete"
does not include any vehicle designed for use
mainly off public roads while not on public
roads,

4. “Motor vehicle” means a vehicle which is self.
propelled except one which is propelled solely
by human power or by electric power obtained
from overhead trolley wires, but does not mean
a vehicle operated upon rails.

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POLICY NUMBER: COMMERCIAL AUTO
CA 21 92 06 12

THIS ENDORSEMENT CHANGES THE POLICY, PLEASE READ IT CAREFULLY.

PENNSYLVANIA UNINSURED MOTORISTS
COVERAGE — NONSTACKED

For a covered “motor vehicle" ficensed or principally garaged in, or "garage operations” conducted in,
Pennsylvania, this endorsement modifies insurance provided under the following:

BUSINESS AUTO COVERAGE FORM
GARAGE COVERAGE FORM

MOTOR CARRIER COVERAGE FORM
TRUCKERS COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.

This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.

 

Named Insured:

Endorsement Effective Date:

 

 

 

SCHEDULE

 

Limit Of Insurance: $ 35,000 Each "Accident"

 

 

information required to complete this Schedule, if not shown above, will be shown In the Declarations,

 

 

A, Coverage B. Who Is An Insured
1, We will pay all sums the “insured” is legally if the Named Insured is designated in the
entitled to recover as compensatory damages Declarations as:

from the owner or driver of an “uninsured motor

vehicle”. The damages must result from "bodily 1. An individual, then the following are “insureds”:

injury" sustained by the “insured" caused by an a. The Named Insured and any “family
“accident”. The owner's or driver's lability for members".
these damages must result from the b. Anyone else “occupying” a covered "motor
ownership, maintenance or use of an vehicle” or a temporary substitute for a
“uninsured motor vehicle". covered "motor vehicle". The covered
2, No judgment for damages arising out of a "suit" ‘motor vehicle" must be out of service
brought against the owner or operator of an because of its breakdown, repair, servicing,
“uninsured motor vehicle" is binding on us “loss" or destruction.
unless we: c. Anyone for damages he or she is entitled to
a. Received reasonable notice of the recover because of “bodily injury" sustained
pendency of the "suit" resulting in the by another “insured”.

judgment; and

b. Had a reasonable apportunity to protect our
interests in the "suit",

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2. A partnership, limited liability company,
corporation of any other form of organization,
then the following are "insureds":

a. Anyone “occupying" a covered “motor
vehicle" or a temporary substitute for a
covered “motor vehicle". The covered
“motor vehicle” must be out of service
because of its breakdown, repair, servicing,
“toss” or destruction,

b. Anyone for damages he or she is entitled to
recover because of “bodily injury" sustained
by another "insured",

Cc. Exclusions

This insurance does not apply to any of the
following:

1. Any claim settled without our consent.
However, this exclusion does not apply if such
settlement does not adversely affect our rights
of recovery under this coverage.

2. The direct or indirect benefit of any insurer or
seif-insurer under any disability benefits or
similar law, except workers’ compensation law.

3. Anyone using a vehicle without a reasonable
belief that the person is entitled to do so.

4, Punitive or exemplary damages.
5. “Bodily injury” sustained by:

a. An individual Named Insured while
“occupying” or when struck by any vehicle
owned by that Named Insured that is not a
covered “auto” for Uninsured Motorists
Coverage under this Coverage Form;

b. Any "farnily member while “occupying” or
when struck by any vehicle owned by that
"family member" that is not a covered "auto"
for Uninsured Motorists Coverage under
this Coverage Form; or

c. Any “family member" while "occupying" or
when struck by any vehicle owned by the
Named insured that is Insured for
Uninsured Motorists Coverage on a primary
basis under any other Coverage Form or
policy,

6. “Bodily injury" arising directly or indirectly out
of:

a. War, including undeclared or civil war,

b. Warlike action by a military force, including
action in hindering or defending against an
actual or expected attack, by any
government, sovereign or other authority
using military personnel or other agents: or

c. Insurrection, rebellion, revolution, usurped
power, or action taken by govemmental
authority in hindering or defending against
any of these.

D. Limit Of Insurance

1.

Regardless of the number of covered “motor
vehicles", “insureds”, premiums paid, claims
made or vehicles involved in the "accident", the
most we will pay for all damages resulting from
any one "accident" is the Limit Of Insurance for
Uninsured Motorists Coverage shown in the
Schedule or Declarations.

- Any amount payable for damages under this

coverage shall be reduced by all sums paid by
or for anyone who is legally responsible. This
includes all sums paid for the same damages
under this Coverage Form's Liability Coverage.
This also includes all sums paid for an
“insured’s” attorney either directly or as part of
the amount paid to the “insured”.

- No one will be entitled to receive duplicate

payments for the same elements of "loss"
under this Coverage Form and any Liability
Coverage form, Medical Payments Coverage
endorsement or Underinsured Motorists
Coverage endorsement attached to this
Coverage Part,

We will not make a duplicate payment under
this coverage for any element of "loss" for
which payment has been made by or for
anyone who is legally responsible.

We will not pay for any element of “loss" if a
person is entitled to receive payment for the
same element of "loss" under any disability
benefits or similar law, except workers!
compensation law.

Changes In Conditions

The Conditions are changed for Pennsylvania
Uninsured Motorists Coverage — Nonstacked as
follows:

1

Duties In The Event Of Accident, Claim, Suit
Or Loss is changed by adding the following:

a, Promptly notify the police if a hit-and-run
driver is involved; and

b. Promptly send us copies of the legal papers
if a “suit” is brought.

Legal Action Against Us is replaced by the
following:

a. No one may bring a legal action against us
under this Coverage Form until there has
been full compliance with all the terms of
this Coverage Form.

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3.

b. Any legal action against us under this
Coverage Form must be brought within four
years after the date on which the "insured"
knows of the uninsured status of the owner
or driver of the "uninsured motor vehicle",
However, this Paragraph b. does not apply
to an “insured” if, within four years after the
date on which the “insured” knows of the
uninsured status of the owner or driver of
the “uninsured motor vehicte", we or the
“insured” have made a written demand for
arbitration in accordance with the provisions
of this endorsement.

Transfer Of Rights Of Recovery Against
Others To Us is changed by adding the
following:

If we make any payment due to an “accident”
involving an “uninsured motor vehicle” and the
"insured" recovers from another party in a
separate claim or "suit", the “insured” shall hold
the proceeds in trust for us and pay us back
the amount we have paid, tess reasonable
attorneys’ fees, costs and expenses incurred
by the "insured" to the extent such payment
duplicates any amount we have paid under this
coverage.

- Other Insurance in the Business Auto and

Garage Goverage Forms and Other Insurance
- Primary And Excess Insurance Provisions
In the Truckers and Motor Carrier Coverage
Forns are replaced by the following:

a. If there ts other applicable similar insurance
available under more than one Coverage
Form or policy, the following priorities of
recovery apply:

 

 

First The Uninsured Motorists Coverage
applicable to the vehicle the "insured"
was "occupying" at the time of the
"accident".

Second | The Coverage Form or policy affording

Uninsured Motorists Coverage to the
“insured” as an individual Named
Insured or “family member’.

 

 

 

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b. Where there is no applicable insurance
available under the first priority, the
maximum recovery under all Coverage
Forms or policies in the second priority may
equal but not exceed the highest applicable
limit for any one vehicle under any one
Coverage Form or policy affording
coverage to an individual Narned (nsured or
“family member".

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c. Where there is applicable insurance
available under the first priority:

(1) The Limit of Insurance applicable to the
vehicle the “insured” was “occupying”
under the Caverage Form or policy in
the first priority shall first be exhausted:
and

(2) The maximum recovery under all
Coverage Forms or policies in the
second priority may equal but not
exceed the highest applicable fimit for
any one vehicle under any one
Coverage Form or policy affording
coverage to an _ individual Named
insured or “family member’.

d. lf two or more Coverage Forms or policies
have equal priority:

(1) The insurer against whom the claim is
first made shall process and pay the
claim as if wholly responsible for all
insurers with equal priority:

(2) The Insurer thereafter is entitled to
Frecover pro rata contribution from any
other insurer on the same level of
priority for the benefits paid and the
cosis of processing the claim.

5. The following condition is added:

Arbitration

a. If we and an “insured” disagree whether the
“insured" is fegally entitled to recover
damages from the owner or driver of an
“uninsured motor vehicle" or do not agree
as to the amount of damages that are
recoverable by that “insured”, then the
matter may be arbitrated. However,
disputes conceming coverage under this
endorsement may not be arbitrated. Both
parties must agree to arbitration. If so
agreed, each party will select an arbitrator.
The two arbitrators will select a third. If they
cannot agree wilhin 30 days, either may
request that selection be made by a judge
of @ court having jurisdiction. Each party will
pay the expenses It incurs and bear the
expenses of the third arbitrator equally,

b. Unless both parties agree otherwise,
arbitration will take place in the county in
which the "insured" lives, Local rules of law
as to arbitration procedure and evidence
will apply. A decision agreed to by two of
the arbitrators will be binding.

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F. Additional Definitions
As used In this endorsement:

1.

Page 4 of 4

"Family member’ means a person related to an
individual Named Insured by blood, marriage
or adoption who is a resident of such Named
Insured's household, including a ward or foster
child.

. "Occupying" means in, upon, getting in, on, out
or off.

. “Uninsured motor vehicle" means a land motor
vehicle or “trailer:

a. For which no liability bond or policy applies
al the time of an “accident”.

b. For which an insuring or bonding company:
{1} Denies coverage:
{2} Is or becomes insolvent; or

(3) Is or becomes involved in insolvency
proceedings.

c. For which neither the driver nor owner can
be identified. The vehicle or ‘trailer’ must:

(1) Hit an “insured”, a covered "motor
vehicle” or a vehicle an “insured” is
“occupying”; or

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(2) Cause an “accident” resulting in "bodily
injury" to an “insured” without hitting an
“insured”, a covered "motor vehicle" or a
vehicle an “insured” is “occupying”.

lf there is no physical contact with the hit-
and-run vehicle, the facts of the "accident"
must be proved,

However, an “uninsured motor vehicle" does
not include any vehicle:

a. Owned or operated by a self-insurer under
any applicable motor vehicle law, except a
self-insurer who is or who becomes
insolvent and cannot provide the amounts
required by that motor vehicle law: or

b. Designed for use mainty off public roads
while not on public roads.

4, "Motor vehicle’ means a vehicle which is seif-

propelled except one which is propelled solely
by human power or by electric power obtained
from overhead trolley wires, but does not mean
a vehicle operated upon rails,

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COMMERCIAL AUTO
CA 20 20 0310

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

EMERGENCY SERVICES — VOLUNTEER
FIREFIGHTERS' AND WORKERS' INJURIES EXCLUDED

This endorsement modifies insurance provided under the following:

BUSINESS AUTO COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.

Liability Coverage is changed by adding the follow- 2. “Bodily injury" to any fellow volunteer firefighter
ing exclusions: or other volunteer worker of the "insured" if
This insurance does not apply to: sustained in the course of volunteer firefighting,

rescue squad or ambulance corps operations.
1. “Badily injury" to any volunteer firefighter or 4 PS OP

other volunteer worker of the “insured” if sus-
tained while such person is engaged in
volunteer firefighting, rescue squad or ambu-
lance corps operations.

GA 20 30 03 10 © Insurance Services Office, Inc., 2009 Page 1 of 1 ci
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COMMERCIAL AUTO
CA 20 02 03 10

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

AUDIO, VISUAL AND DATA ELECTRONIC EQUIPMENT
COVERAGE — FIRE, POLICE AND EMERGENCY VEHICLES

This endorsement modifies insurance provided under the following:

BUSINESS AUTO COVERAGE FORM
BUSINESS AUTO PHYSICAL DAMAGE COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.

Physical Damage Coverage is changed as follows: 2. Equipped as an emergency vehicle and owned

A. The exclusion relating to Audio, Visual and Data by a political body or any of its agencies; or
Electronic Equipment in Paragraphs B.4.c. and 3. Equipped as an emergency vehicle and owned
B.4.d. of the Business Auto and B.2.c. and B.2.d. by a volunteer fire department, volunteer res-
of the Business Auto Physical Damage Coverage cue squad or volunteer ambulance corps.

Forms does not apply to any sguprent thatis in- For covered "autos" described above, the Limit Of
stalled in or upon a covered “auto” which Is: Insurance provision in Paragraph C.2. does not
1. Owned by a police or fire departrnent; apply.

CA 20 02 03 10 © Insurance Services Office, Inc., 2009 Page 1 of 1 D
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iL. 01 20 05 14
THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

PENNSYLVANIA CHANGES ~ DEFENSE COSTS

This endorsement modifies insurance provided under the following:

COMMERCIAL AUTOMOBILE COVERAGE PART

COMMERCIAL GENERAL LIABILITY COVERAGE PART

COMMERCIAL LIABILITY UMBRELLA COVERAGE PART

COMMERCIAL PROPERTY COVERAGE PART ~ LEGAL LIABILITY COVERAGE FORM
COMMERCIAL PROPERTY COVERAGE PART — MORTGAGEHOLDER'S ERRORS AND OMISSIONS
COVERAGE FORM

ELECTRONIC DATA LIABILITY COVERAGE PART

EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART

FARM COVERAGE PART

FARM UMBRELLA LIABILITY POLICY

LIQUOR LIABILITY COVERAGE PART

MEDICAL PROFESSIONAL LIABILITY COVERAGE PART

OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
POLLUTION LIABILITY COVERAGE PART

PRODUCT WITHDRAWAL COVERAGE PART

PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

RAILROAD PROTECTIVE LIABILITY COVERAGE PART

UNDERGROUND STORAGE TANK COVERAGE PART

A. The provisions of Paragraph B. are added to all
Insuring Agreements that set forth a duty to
defend under:

4. Coverage GC — Mortgageholder’s Liabitity
under the WMortgageholders Errors And
Omissions Coverage Form.

iL 04 20 05 14

1. Section | of the Commercial General Liability,
Commercial Liability Umbrella, Electronic
Data Liability, Employment-Related Practices
Liability, Farm, Liquor Liability, Medical
Professional Liability, Owners And
Contractors Protective Liability, Pollution
Liability, Product Withdrawal,
Products/Completed Operations — Liability,
Railroad Protective Liability and Underground
Storage Tank Coverage Parts and the Farm
Umbrella Liability Policy;

2. Section fl — Liability Coverage in Paragraph
A, Goverage under the Business Auto,
Garage and Motor Carrier Coverage Forms;

3. Section A — Coverage under the Legal
Liability Coverage Form; and

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Paragraph 8. also applies to any other provision
in the policy that sets forth a duty to defend.

. If we initially defend an insured (“insured”) or pay

for an insured’s (“insured’s") defense but later
determine that none of the claims (*claims"), for
which we provided a defense or defense costs,
are covered under this insurance, we have the
right to reimbursement for the defense costs we
have incurred.

The right to reimbursement under this provision
will only apply to the cosis we have incurred after
we notify you In writing that there may not be
coverage and that we are reserving our rights to
terminate the defense or the payment of defense
costs and to seek reimbursement for defense
costs.

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POLICY NUMBER: COMMERCIAL AUTO

CA 99 28 03 10
THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

STATED AMOUNT INSURANCE

This endorsement modifies insurance provided under the following:

BUSINESS AUTO COVERAGE FORM

BUSINESS AUTO PHYSICAL DAMAGE COVERAGE FORM
GARAGE COVERAGE FORM

MOTOR CARRIER COVERAGE FORM

TRUCKERS COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.

This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.

 

Named Insured: City of Williamsport

Endorsement Effective Date:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SCHEDULE
The insurance provided by this endorsement is reduced by the following deductible(s):
Vehicle Number Coverage Limit Of Insurance And Deductible Premium
Comprehensive & $ Less Included
Collision $ Deductible nelude
Total Premium & Included
NOTE:

The amount shown in the Schedule or in the Declarations is not necessarily the amount you will receive at the

time of “loss” for the described property. Please refer to the Lirmit Of Insurance and Deductible Provisions which
follow.

 

Designation Or Description Of Covered "Autos"

Vehicle Number Modet Year Trade Name And Madel
Class 7909s on file

 

 

 

 

 

 

 

 

Information required to complete this Schedule, If not shown above, will be shown in the Declarations.

 

A. This endorsement provides only those coverages Limit Of Insurance
where a premium is shown in the Schedule. Each 1. The most we will pay for “loss” in an
, , : on
of these coverages applies only to the vehicles “accident” is the leat ye the following amounter
shown as covered “autos”. Th tual cash val the d ‘
&. For a covered “auto” described in the Schedule, a stolen property as of the time of the Poet
Physical Damage Coverage ~ Limit Of Insur- ’

ance is replaced by the following:

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b. The cost of repairing or replacing the dam-
aged or stolen property with property of like
kind and quality; or

c. The Limit of Insurance shown in the Sched-
ule.

2. An adjustment for depreciation and physical
condition will be made in determining actual
cash value in the event of a total "toss".

3. If a repair or replacement results in better than
like kind or quality, we will not pay for the
amount of the betterment.

c. Deductible
1. For each covered "auto", our obligation to pay:
a. The actual cash value of the damaged or

stolen property as of the time of the “loss”
will be reduced by the applicable deductible
shown in the Schedule:

. The cost of repairing or replacing the dam-

aged or stolen property with property of like
kind and quality will be reduced by the ap-
plicable deductible shown in the Schedule;
or

. The damages for "loss" that would oither-

wise be payable will be reduced by the ap-
plicable deductible shown in the Schedule
prior to the application of the Limit of Insur-
ance shown in the Schedule.

2. Any Comprehensive Coverage Deductible
shown in the Schedule does not apply to "loss"
caused by fire or lightning.

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Exhibit B
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J
|

. Policy Type: Renewal of Prior Policy
Producer: M I
er: McKee Risk Management, Inc | Renewal of: 419711301

 

 

 

 

 

 

Law Enforcement Liability CNA Insurance Companies

Coverage Form CNA 333 S. Wabash Ave.
Chlengu, IL 60604

 

___ Declarations
1. | Producer Number | Branch | Prefix | Policy Number jiwsuraNce PROVIDED BY THE COMPANY DESIGNATED BELOW
055289 880 LEO 419714301 (A Stock Insurance cormpany herein called the company)

 

 

 

 

Named Insured & Address . .
National Fire Insurance Company of

(Number & Street, City, State, & Zip Code) Hartford
Williamsport, City of
245 W. Fourth Sureet Retail Producer:

Williamsport, PA 17701
McKee Risk Management, Inc

. soos 1060 Fi
Legal Entity: Governmental Subdivision irst Avenue

 

 

 

 

 

 

 

 

 

 

sic Suite 202
ode: PAI3 King of Prussia, PA 19406
PRT: 54/38
2. Policy Period: Brom: 01/01/2014 To: 01/01/2015
This policy becomes effective and expires at 12:01 a.m. Standard Time at Your
Malling Address Shawn Above
4. ' Subject to Audit: No
5- | Limits of Insurance

ach Wrongful Act Limit: — $1,000,000
Aggregate Limit: $3,000,000
Deductible: $5,000

 

 

 

 

 

Business Description; Law Enforcement

 

 

 

 

Forms and endorsements applicable at time of issuance:

_C-129531-A (Ed. 01/02) C-15516-A (Ed. 03/03) G-129286-A (Ed. 11/97) G-129291-A37 (Ed. 02/98)G-129292-A (Ed.11/97)

G-129296-A (Ed. 11/97) G-129300-A (Ed, 11/97) G-129301-A (Ed. 11/97) G-129306-A (Ed, 11/97) G-144291-A (Ed. 03/03)
IL. 00 17 (Ed. 11/85) IL 02 46 (Ed. 09/96)

 

 

 

 

 

 

Deposit Premium $48,788.00

 

Minimum earned premium $1,000

 

Terrorism Risk Insurance Act PremiumS$452 Included

Countersigued

 

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Issued: 1/23/2014 Chalrman of the Board Secretary
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GAA

ADDITIONAL DECLARATIONS

For attachment to policy ne.4197}1301

The Additional Declarations below are an extension of those stated in the Declarations of the Policy to which this

Schedule is attached

 

SCHEDULE

 

Description of Hazards

Class Code

Premium Basis As
Described in the
Schedule

Rate

Advance Premium

 

Governmental Subdivision
not State or Federal

 

 

73142

70 (ce)

 

 

 

$48,788.00

 

G-129300-A
(ED. 11/97)

 
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» “HIS ENDORSEMENT CHANGES THE POLICY.
wzEASE READ IT CAREFULLY.

NON-MONETARY SUIT DEFENSE COSTS ENDORSEMENT

 

Tn consideration of an additional premium of $2,197.00 the following is added and attached:

With respect to any “suit" against the Insured seeking non-monetary relief by reason of a “wrongful act", and which is otherwise
covered by this policy, we will indemnify the Insured for reasonable costs and fees incurred in the defense of such "suit" subject to the
following conditions:

1, “Suit is first filed against the insured during (he policy period and written report of the suit is received by us during the policy
period or within sixty (60) days thereafter.

2, The limit of our liability for such costs and fees shall not exceed $10,000 per suit and $50,000 in the aggregate for the policy
period.

3. Payment under this endorsement shall be in addition to our limits of insurance stated in the declarations and described in SECTION
Tl - LIMITS OF INSURANCE AND DEDUCTIBLE.

4. We shall have not duty to defend or investigate any such "suits". However, we shall have the right at our option and expense, to
take over the defense or associate in the defense of any “suit”.

This endorsement changes the policy effective on the inception date of the policy unless another date is indicated below.

Named Insured Williamsport, City of Policy Number 419711301

Endorsement Effective 01/01/2014 Countersigned By

 

(Authorized Representative)

G-129301-A Endorsement Number,
(ED, 11/97)
Case 4:19-cv-00170-MWB Document 1-2 Filed 01/30/19 Page 95 of 157

CNB

‘8 ENDORSEMENT CHANGES THE POLICY.
PLEASE READ IT CAREFULLY.

ADDITIONAL EXCLUSIONS
PENNSYLVANIA AMENDATORY ENDORSEMENT

if shown by an "X" below as excluded, this insurance does not apply to any claim arising out of the “operations” or
“activities” of:

Excluded

=

Airports, aircraft and other aviation related activities;
Fire fighting services;

3, Ambulance, emergency medical or rescue services;

AI Ge
nN

4, Detention, correction or prison facilities;

As used in this endorsement:

a "Operations" or “activities” include those of any unit, board, commission or similar body, and their officials,
members, employees, volunteers, and any persons providing services under any mutual aid or similar agreement;
and

b. "Hospitals" includes all hospitals, clinics, nursing homes, rehabilitation facilities, psychiatric facilities and any other
similar health care facilities.

This endorsement changes the policy effective on the inception date of the policy unless another date is indicated below.

Named Insured Wiltiamsponr, City of Policy Number 419711307

Endorsement Effective 01/01/2014 Countersigned By

(Authorized Reperesentative)
G-129291-A37
(ED, 02/98)
Case 4:19-cv-00170-MWB Document 1-2 Filed 01/30/19 Page 96 of 157

CNA

i “HIS ENDORSEMENT CHANGES THE POLICY.
PLEASE READ IT CAREFULLY.

INCIDENTAL PROFESSIONAL LIABILITY ENDORSEMENT

The following is added to the definition of “bodily injury’ (DEFINITIONS - Section V):

c, Subject to 2.a. and b. above, coverage is provided for “bodily injury” arising out of the rendering of, or failure to
render, “health care services” by your medical employees, other than medical doctors or dentists, while acting
within the scope of their duties for you.

The following paragraph is added to 2. Exclusions, m. (COVERAGE - SECTION )):

However, this exclusion m. does not apply to the rendering of, or failure to render, “health care services” by your
medical employees, other than medical doctors or dentists, while acting within the scape of their duties for you,

As used in this endorsement “health care services" means:

a, Medical or nursing services or treatment, or the furnishing of food or beverages in connection therewith: or

b. The furnishing or dispensing of drugs, rnedical supplies or appliances.

This endorsement changes the policy effective on the inception date of the paticy unless another date is indicated
below.

Narned Insured Williamsport, City of Policy Number 419711301

 

 

Endorsement Effective Countersigned By

 

 

G-129292-A (Authorized Representative)

(EO. 11/97) Endorsement Number:
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GHA,

THIS ENDORSEMENT CHANGES THE POLICY,
°LEASE READ IT CAREFULLY.

PRIOR CLAIMS AND POTENTIAL CLAIMS EXCLUSION

This policy does not apply to any claim or loss arising out of any matter that was listed, or should have been listed, in the
application(s) on which we relied for the issuance of this policy.

This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below,

Named tnsured Williamsport, City of Policy Number 419711301

Countersigned By

 

Endorsement Effective

 

 

(Authorized Representative)
G-129296-A

(ED. 11/97) Endorsement Number:
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CHA,

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

FUNGI / MOLD / MILDEW / YEAST / MICROBE EXCLUSION
AND WATER DAMAGE LIMITATION

This endorsement modifies insurance provided under the following:

LAW ENFORCEMENT LIABILITY POLICY

A. The following exclusion is added to Paragraph 2., Exclusions , of Section | - Coverage:
This insurance does not apply to:
Fungi and Microbes

(1) "Bodily injury" “personal injury” or “property damage" arising out of or relating to, in whole or in
part, the actual, alleged or threatened inhalation of, ingestion of, contact with, exposure to,
existence of, or growth or presence of any “fungi” or "microbes".

(2) Any loss, cost or expense arising out of or relating to the testing for, monitoring, cleaning up,
removing, containing, treating, detoxifying, neutralizing, remediating, or disposing of, or in any
way responding to or assessing the effects of "fungi" or "microbes" by any insured or by anyone
alse,

{3) "Property damage” caused by water where there also exists any “property damage" arising out
of or relating to, in whole or in part, the actual, alleged or threatened inhalation of, ingestion of,
contact with, exposure to, existence of, or growth or presence of any "fungi" or "microbes".

This exclusion applies regardless of any other cause or event that contributes concurrently or in any
sequence ta such injury or damage, loss, cost or expense.

This exclusion does not apply where your business is food processing, sales, or serving, and the

“bodily injury" is caused solely by food poisoning in connection with such processing, sales, or
serving.

B. The following definitions are added to Section V - Definitions:

"Fungi" means any form of fungus, including but not limited to, yeast, mold, mildew, rust, smut or
mushroom, and including any spores, mycotoxins, odors, or any other substances, products, or
byproducts produced by, released by, or arising out of the current or past presence of fungi. But
"fungi" does not include any fungi intended by the insured for consumption.

“Microbe” means any non-fungal microorganism or non-fungal, colony-form organism that causes
infection or disease. “Microbe” includes any spores, mycotoxins, odors, or any other substances,
products, or byproducts produced by, released by, or arising out of the current or past presence of
microbes. But "microbe" does not mean microbes that were transmitted directly from person to
person.

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(Ed. 03/03)

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
ECONOMIC AND TRADE SANCTIONS CONDITION

The following condition is added to the COMMON
POLICY CONDITIONS:

ECONOMIC AND TRADE SANCTIONS CONDITION

In accordance with faws and regulations of the United
States concerning economic and trade embargoes, this
policy is void ab initio (void from its inception) with

respect fo any term or condition of this policy that

violates any laws or regulations of the United States
conceming economic and trade embargoes including,
but not limited to the following:

1. Any insured, or any person or entity claiming the
benefits of an insured, who is or becomes a
Specially Designated National or Blocked Person or
who is otherwise subject to U.S. economic or trade
sanctions;

2. Any claim or “suit” that is brought in a Sanctioned
Country or by a Sanctioned Country Govemment,
where any action in connection with such claim or
suit is prohibited by U.S. economic or trade
sanctions;

3. Any claim or "suit" thatis brought by any Specially
Designated National or Blocked Person or any

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(Ed. 03/03)

person or entity who is otherwise subject to U.S.
economic or trade sanctions;

4, Property that is located in a Sanctioned Country or
that is owned by, rented to or in the care, custody or
control ofa Sanctioned Country Goverament, where
any activities related to such properly are prohibited
by U.S. economic or trade sanctions: or

5. Property that is owned by, rented to or in the care,
custody or control of a Specially Designated
National or Blocked Person, or any person or entity
who is otherwise subject to U.S. economic or trade
sanctions.

As used in this endorsement a Specially Designated
National or Blocked Person is any person or entity that
is on the list of Specially Designated Nationals and
Blocked Persons issued by the U.S. Treasury
Department's Office of Foreign Asset Control (O.F.A.C.)
as it may be from time to time amended.

As used in this endorsement a Sanctioned Country is
any country that isthe subject of trade or economic
embargoes imposed by the laws or regulations of the
United States of America,

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EXCEPTION TO TERRORISM EXCLUSION FOR CERTIFIED
ACTS OF TERRORISM; CAP ON LOSSES FROM CERTIFIED
ACTS OF TERRORISM

This endorsement modifies insurance provided under the following:

LAW ENFORCEMENT LIABILITY POLICY
PUBLIC OFFICIALS LIABILITY POLICY

A. With respect to any exclusion of terrorism in this Coverage Part or attached to this
Coverage Part by endorsement, such exclusion does not apply to a "certified act
of terrorism”, That exclusion also does not apply to an act which meets the
criteria set forth in Paragraph 2. of the definition of "certified act of terrorism", when
such act resulted in aggregate losses of $5 million or less.

B. With respect to any one or more “certified acts of terrorism", we will not pay any
amounts for which we are not responsible under the terms of the federal Terrorism
Risk Insurance Act of 2002 (including subsequent acts of Congress pursuant to the
Act) due to the application of any clause which results in a cap on our liability for
payments for terrorism losses,

C. "Certified act of terrorism” means an act thatis certified by the Secretary of the
Treasury, in concurrence with the Secretary of State and the Attorney General of
the United States, to be an act of terrorism pursuant to the federal Terrorism Risk
Insurance Act of 2002. The federal Terrorism Risk Insurance Act of 2002 sets forth
the following criteria for a "certified act of terrorism”:

4, The act resulted in aggregate losses in excess of $5 million; and

2. The act isa violent act or an act thatis dangerous to human life, property or
infrastructure and is committed by an individual or individuals acting on behalf
of any foreign person or foreign interest, as part of an effort to coerce the
civilian population of the United States or to influence the policy or affect the
conduct of the United States Government by coercion.

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(Ed, 03/03)
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fHIS ENDORSEMENT CHANGES THE POLICY.
PLEASE READ IT CAREFULLY.

CONFORMITY TO STATUTE

 

This endorsement modifies insurance provided under the following:

PUBLIC OFFICIALS LIABILITY POLICY
LAW ENFORCEMENT LIABILITY POLICY

itis agreed:

1, Terms and Conditions of the Policy which are in conflict with the statutes of the state shown in the Named Insured's

Address in the Declarations are amended to conform to such statutes.

2, SECTION IV - CONDITIONS, paragraph 2. Cancellation, is amended to conform with the provisions of the ISO
Cancellation and Nonrenewal form attached to the Policy,

This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.

Named Insured Williamsport, City of Policy Number 419711301

 

 

Endorsement Effective Countersigned By

 

ce
(Authorized Representative)

G-129306-A
(ED. 11/97) Endorsement Number:
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COMMON POLICY CONDITIONS

‘ll Coverage Parts included in this policy are subject to the following conditions.
A. CANCELLATION

1. The first Named Insured shown in the Declarations may cancel this policy by mailing or delivering to us advance
written notice of cancellation.

2, We may cancel this policy by mailing or delivering to the first Named Insured writlen notice of cancellation at least:
a, 10 days before the effective date of cancellation if we cancel for nonpayment of premium; or
b. 30 days before the effective date of cancellation if we cancel for any other reason.

3. We will mail or deliver our nolice to the first Named Insured's last mailing address known to us.
4. Notice of cancellation will state the effective date of cancellation. The policy period will end on that date,

§. If this policy is cancetled, we will send the first Named Insured any premium refund due. If we cancel, the
refund will be pro rata, If the first Named tnsured cancels, the refund may be less than pro rata. The
cancellation will be effective even if we have not made or offered a refund.

6. If notice is mailed, proof of mailing will be sufficient proof of notice.
B. CHANGES
This policy contains all the agreements between you and us concerning the insurance afforded. The first Named Insured

shown in the Declarations is authorized to make changes in the terms of this policy with our consent. This policy's terms
can be amended or waived only by endorsement issued by us and made a part of this policy.

C. EXAMINATION OF YOUR BOOKS AND RECORDS

We may examine and audit your books and records as they relate to this policy at any time during the policy period and
“po to lhree years afterward.

OD. INSPECTIONS AND SURVEYS
We have the right but are not obligated to:
1. Make inspections and surveys at any time;
2, Give you reports on the conditions we find: and

3. Recommend changes.

Any inspections, surveys, reports or recommendations relate only to insurability and the premiums to be charged. We
do not make safety inspections, We do not undertake to perform the duty of any person or organization to provide for
the health or safety of workers or the public. And we do not warrant that conditions:

4. Are safe or healthful; or

2, Comply with laws, reguiations, codes or standards.

This condition applies not only to us, but also to any rating, advisory, rate service or similar organization which makes
insurance inspections, surveys, reports or recommendations.

E. PREMIUMS .

The first Named Insured shown In the Declarations:
1. Is responsible for the payment of all premiums; and

2. Will be the payee for any return premiums we pay.

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F. TRANSFER OF YOUR RIGHTS AND DUTIES UNDER THIS POLICY

. Your rights and duties under this policy may not be transferred without our written consent except in the case of death
‘an individual named insured,

Ifyou die, your rights and duties will be transferred to your legal representative but only while acting within the scope

of duties as your legal representative. Until your legal representative is appointed, anyone having proper temporary
custody of your property will have your rights and duties but only with respect to that property,

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THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

PENNSYLVANIA CHANGES-
CANCELLATION AND NONRENEWAL

This endorsement modifies insurance provided under the following:

BOILER AND MACHINERY COVERAGE PART
BUSINESSOWNERS POLICY

COMMERCIAL AUTO COVERAGE PART
COMMERCIAL CRIME COVERAGE PART*
COMMERCIAL GENERAL LIABILITY COVERAGE PART
COMMERCIAL PROPERTY COVERAGE PART

COMMERCIAL INLAND MARINE COVERAGE PART
FARM COVERAGE PART

LIQUOR LIABILITY COVERAGE PART
POLLUTION LIABILITY COVERAGE PART
PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

* This endorsement does not apply to coverage provided for employee dishonesty (Coverage Form A) or public
employee dishonesty (Coverage Forms © and P).

A. The Cancellation Common Policy Condition is replaced by the following:

CANCELLATION

1. The first Named Insured shawn in the Declarations may cancel this policy by writing or giving notice of
cancellation.

2. Cancellation Of Policies In Effect For Less Than 60 Days

We may cancel this policy by mailing or delivering to the first Named insured written notice of cancellation at
least 30 days before the effective date of cancellation

3. Cancellation Of Policies In Effect For 60 Days Or More

if this policy has been in effect for 60 days or more or if this policy is a renewal of a policy we issued, we may
cancel this policy only for one or more of the following reasons:

a. You have made a material misrepresentation which affects the insurability of the risk. Notice of cancellation
will be mailed or delivered at least 15 days before the effective date of cancellation,

b. You have failed to pay a premium when due, whether the premium is payable directly to us or our agents or
indirectly under a premium finance plan or extension of credit. Notice of cancellation will be mailed at least
15 days before the effective date of cancellation.

¢. A condition, factor or lass experience material to insurability has changed substantially or a substantial
condition, factor or loss experience material to insurability has becorne known during the policy period.
Notice of cancellation will be mailed or delivered at least 60 days before the effective date of cancellation.

d. Loss of reinsurance or a substantial decrease In reinsurance has occurred, which loss or decrease, at the
time of cancellation, shall be certified to the Insurance Commissioner as directly affecting in-force policies.
Notice of cancellation will be mailed or delivered at least 60 days before the effective date of cancellation.

e, Material failure to comply with policy terms, conditions or contractual duties. Notice of cancellation will be

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mailed or delivered at least 60 days before the effective date of cancellation,

f. Other reasons that the Insurance Commissioner may approve. Notice of cancellation will be mailed or
detivered at least 60 days before the effective date of cancellation.

This policy may also be cancelled from inception upon discovery that the policy was obtained through fraudulent
Statements, omissions or concealment of facts material to the acceptance of the risk or to the hazard assumed
by us,

4, We will mail or deliver our notice to the first Named Insured’s last mailing address known to us. Notice of
cancellation will state the specific reasons for cancellation.

5. Notice of cancellation will state the effective date of cancellation. The policy period will end on that cate,

6. If this policy is cancelled, we will send the first Named Insured any premium refund due. lf we cancel, the
refund will be pro rata and will be returned within 10 business days after the effective date of cancellation. If the
first Named Insured cancels, the refund may be less than pro rata and will be returned within 30 days after the
effective date of cancellation. The cancellation will be effective even if we have not made or offered a refund.

7. If notice is maited, it will be by registered or first class mail. Proof of mailing will be sufficient proof of notice,
B.The following are added and supersede any provisions to the contrary:

1. Nonrenewal

If we decide not to renew this policy, we will mail or deliver written notice of nonrenewal, stating the specific
reasons for nonrenewal, to the first Named Insured at least 60 days before the expiration date of the policy,

2. Increase Of Premium

f we increase your renewal premium, we will mail or deliver to the first Named Insured written notice of our intent to
increase the premium at least 30 days before the effective date of the premium increase,

Any notice of nonrenewal or renewal premium increase will be mailed or delivered to the first Named Insurec's last
known address. lf notice is mailed, it will be by registered or first class mail. Proof of mailing will be sufficient proof
of notice.

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Law Enforcement Liability Policy

 

Varlaus provisions in this policy restrict coverage. Read
the entire policy carefully to determine rights, duties and
what is and is not covered.

Throughout this policy the words "you" and "your" refer to
the law enforcement agency shown as the Named Insured

in the Declarations. The words “we", “us” and “our” refer
to the Company providing this insurance.

The word “insured” means any person or organization
qualifying as such under WHO IS AN INSURED (SECTION
I),

Other words and phrases that appear in quotation marks
have special meaning. Refer to SECTION V —
DEFINITIONS

SECTION | — COVERAGE
1. Insuring Agreement.

a. We will pay those sums that the insured becomes
legally obligated to pay as compensatory civil
damages because of “injury”. This insurance
applies only to such “injury” that results from a
“wrongful act” to which this insurance applies.
We will have the right and duty to defend any
“suit” seeking those damages, We may, at our
discretion, investigate any incident or “wrongful
act" and settle, subject to condition 14., any claim
or “suit”, But:

(1) The amount we will pay for damages Is limited
as described in LIMITS OF INSURANCE AND
DEDUCTIBLE (Section Ill);

(2) Our right and duty to defend end when we
have used up the applicable Limit of
Insurance in the payment of judgments or
settlements.

No other obligation or liability to pay sums or
perform acts or services is covered unless
explicitly provided for under SUPPLEMENTARY
PAYMENTS.

b. This insurance applies to a “wrongful act”
only if:

(1) The “wrongful act" takes place in the
“coverage territory": and

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(2) The “wrongful act" occurs during the
policy period.

2. Exclusions,
This insurance does not apply to

a. Any abligations that insurecis or their insurance
companies have under workers compensation,
unemployment campensation, disability benefits
or similar laws.

b. Damages sustained by any of your law
enforcement officers or employees (including
those that are auxiliary or volunteer), if such
damages are directly or indirectly related to their
employment by you.

c. Damages arising out of the Ownership,
maintenance, management, aperation, use,
control, loading or unloading of any “auto”, or
motor or propelled vehicle of any kind, watercraft
or aircraft:

(1) Owned or operated by, rented or loaned to
any insured: ar

(2) Operated by any person on behalf of, of in the
course of employment by, an insured.

d. Liability assumed under any contract or
agreement except mutual law enforcernent
assistance agreements between political
subdivisions.

e, Claims arising out of any act, “wrongful act’,
service or duty for anyone other than you.

This exclusion does not apply if the act or service
is a result of a mutual law enforcement as-
sistance agreement or contract between political
subdivisions, nor does it apply to any activities
approved by you.

f. Claims arising out of the insured’s employment
policies or practices, including, but not limited to
application for employment, refusal to employ,
termination of employment, coercion, demotion,
evaluation, reassignment, discipline, defamation,

harassment {including sexual harassment),
humiliation, discrimination or violation of civil
sights.

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Any claim that results in a final legal determ-
ination that any insured has:

(1) Committed any criminal, dishonest, bad faith
or fraudulent act, error or omission or
intentional malicious act, error or omission; or

(2) Deliberately violated, or had knowledge of or
consented to the violation of, any federal,
state or local statule, ordinance, rule or
regulation.

This exclusion does not apply to any other
insured where there is no legal finding that such
other insured actively joined in:

(a) An act described in g. (1) above:

(b) Or had knowledge of, or consented to, the
violation described in g. (2) above.

“Property damage” to property:

(1) Owned, used or occupied by or rented to the
insured; or

(2) In the care, custody or control of the insured,
or over which the insured is, for any purpose,
exercising physical control,

This exclusion h. (2) does not apply to
property on persons ai the time of their arrest.

Any claim arising out of the:

(1) Furnishing by an insured of services,
materials, parts or equipment in connection
with, or

(2) Planning, construction, maintenance, exis.
tence or use of any nuclear reactor or device,
nuclear waste storage or disposal site or any
other nuclear facility, the transportation of
nuclear material, or the hazardous properties
of nuclear material.

Any claim seeking:
(1) Anything other than money damages;

(2) tnjunctive, mandamus, declamatory or
equitable relief; or

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(3) Wages or other employee compensation,
overtime or similar claims, even if designated
as liquidated damages, under any federal,
state or local statutes, rules, or ordinances or
regulations or claims arising from collective
bargaining agreements, or awards or
settlements,

Any claim made against an insured by another
insured.

(1) Any claim, “suit”, proceeding, damages, toss,
cost or expense:

{a) Arising out of any actual, alleged or
threatened emission, discharge,
dispersal, seepage, migration, release or
escape of “pollutants” at any time: or

(b) Arising out of any request, demand or
order for any “clean up of” “pollutants”: or

(c) Incurred as result of any “clean up of"
“pollutants”;

(2) The investigation, settlement or defense of
any claim, “suit”, proceeding, damages, loss,
cost or expense excluded by (1) above or
alleging or in any way invatving the above.

As used in this exclusion:

“Pollutants” include any noise, solid semi-solid,
liquid, gaseous or thermal irritant or contaminant,
including smoke, vapor, soot, fumes, mists, acids,
alkalis, chemicals, biological and etiologic agents
of materials, electrornagnetic or ionizing radiation
and energy, genetically engineered materiats,
teratogenic, carcinogenic and rrutagenic
materials, “waste” and any other irritant or
contaminant.

“Waste” includes any materiats to be disposed,
recycled, reconditioned or reclaimed.

"Clean up of” includes monitoring, removal, con-
tainment, treatment, detoxification or neutrali-
zation of, testing for or response in any way ta, or
assessment of the effects of “pallutants”,

. Liability arising out of the rendering of, or failure to

fender, professional services by a member of the
medical profession.

The liability of an insured for fines, penalties, casts
or expenses imposed by law or arising from any
complaint or enforcement action of any federal,
State or iocal governmental regulatory agency, or

 
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damages which may be deemed uninsurable by
taw or under law.

0, Any claim for damages arising out of, or alleged
to have arisen out of, the transmission of, or
exposure to, a communicable disease.

(1) As respects this exclusion, AIDS (Acquired
Immune Deficiency Syndrome) will be
considered a communicable disease.

(2) This exclusion includes such damages
claimed because of negligent training,
supervision, recruitment. policies ~—or
procedures.

Supplementary Payments

We will pay, with respect to any claim or “suit” we defend:

1.

2.
part of the judgment that is within the applicable Limit
of Insurance.
3.
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All expenses we incur, subject to the deductible
amount. Refer to LIMITS OF INSURANCE AND
DEDUCTIBLE (Section lit).

Up to $250 for the cost of bail bonds required
because of “injury” to which this insurance applies.

The cost of bonds to release attachments in a “suit”
we defend, but only for bond amounts within the
applicable Limit of Insurance. We do not have to
furnish these bonds.

All reasonable expenses incurred by the Insured at
our request to assist us in the investigation or defense
of the claim or “suit, including actual loss of earnings
up to $100 a day because of time off from work.

All cosis taxed against the insured in a "suit" we
defend.

Pre-judgment interest awarded against the insured on
that part of the judgment we pay. {f we make an offer
to pay the applicable Limit of Insurance, we will not
pay any pre-judgment interest based on that period of
time after the offer.

All interest on the full amount of any judgment that
accrues after entry of the judgment and before we
have paid, offered to pay, or deposited in cour the

Premium on appeal bonds in any “suit” we defend.

Reasonable expenses incurred for “first aid” to others
al the time and place of an accident, for “bodily injury”
to which this insurance applies.

These payments will not reduce the Limits of Insurance.

SECTION 1I—WHO IS AN INSURED

1.

2.

You are an insured,

Each of the following is also an insured, but only while
acting within the scope of their duties for you:

a. Your law enforcement officers and, in the event of
their death, incapacity or bankruptcy, their heirs,
executors, administrators, assigns and legal
representatives;

b. The politicat entity or subdivision of which the taw
enforcement agency is a part, department or
bureau and its public officials, provided such
political entity or subdivision is legally constituted
at the Inception date of this policy; and

c. All other employees and authorized volunteers of
the law enforcement agency.

No person or organization is an insured with respect to
the conduct of any current or past partnership or Joint
venture that is not shown as a Named Insured in the
Declarations,

SECTION III-LIMITS OF INSURANCE AND
DEDUCTIBLE

1

The Limits of Insurance shown in the Declaration and
the rules below fix the most we will pay regardless of
the number of:

a. Insureds;
b. Claims made or “suits” brought; or

c. Persons or organizations making claims or
bringing “suits”.

The Aggregate Limit is the most we will pay for all
damages to which this insurance applies.

Subject to 2, above, the Each Wrongful Act Limit is the
most we will pay for the sum of all damages arising
out of the same “wrongful act” to which this insurance
applies.
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Subject to 3. above, the Each Wrongful Act Limit
applies in excess of the Deductible shown in the
Declarations, By accepting this insurance the
insured agrees that such Deductible will be
uninsured and borne by the insured.

b, The terms of this insurance, including those with
respect to your duties in the event of an incident,
“wrongful act”, clairn or “suit”, apply irrespective
of the application of the deductible amount.

c. We may, at our discretion, pay all or part of any
deductible shown in the Declarations. Upon
notice of such payment you shall promptly
reimburse us for the amount we paid.

d. Claims based on or arising out of:

(1) The same “wrongful act” or the related
“wrongful acts” of one or more insureds: or

(2) Riot, insurrection or civil disturbance which
results in an official proclamation of a state of
amergency, temporary curfew or martial law
will be considered a single claim, to which
only one Each Wrongful Act Limit, and
Deductible, will apply. 3,

The Deductible, as referred to In this policy, will apply
to the sum of damages and “defense expenses’.

The limits of this policy apply separately to each
consecutive annual period and to any remaining period of

fess than 12 months, starting with the beginning of the
policy period shown In the Declarations, unless the policy
period is extended after issuance for an additional period

of less than 12 months. In that case, the additional period 4,
will be deemed part of the last preceding period for
purposes of determining the Limits of Insurance,

SECTION IV-— CONDITIONS
1. Bankruptcy.

Bankruptcy or insolvency of the insured will not relieve
us of our obligations under this policy.

2. Cancellation

a. The first Named Insuted shown in the Dec-
larations may cancel this policy by mailing or
delivering to us advance written notice of
cancellation,

b, We may cancel this policy by mailing or delivering

to the first Narned Insured written notice of
cancellation at feast:

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(1) 10 days before the effective cate of cancellation
if we cancel for nonpayment of premium: or

(2) 60 days before the effective date of
cancellation if we cancel for any other reason.

c. We will mail or deliver our notice to the first
Named Insured’s last mailing address known to
us,

d. Notice of cancellation will state the effective date
of cancellation. The policy period will end on that
date.

e@. If this policy is canceled, we will send the first
Named Insured any premium refund due. If we
cancel, the refund will be pro rata. If the first
Named Insured cancels, the refund may be less
than pro rata. In all cases, refunded premium will
be less any earned minimum premium, The
cancellation will be effective even if we have not
made or offered a refund.

f. i notice is mailed. proof of mailing will be
sufficient proof of notice.

Changes

This policy contains all the agreements between you
and us concerning the insurance afforded. The first
Named Insured shown in the Declarations is
authorized to make changes in the terms of this policy
with our consent. This policy's terms can be amended
or waived only by endorsement issued by us and
made a part of this policy.

Duties in the Event of Incident, Wrongful Act,
Claim or Suit.

a. You must see to it that we are given written notice
as soon as practicable of an incident or “wrongful
act" which may result in a claim. To the extent
possible, natice should include:

(1) All available information about the
circumstances concerning the incident or
“wrongful act” including:

{a) How, when and where it took place; and

(b) The names and addresses of any
witnesses and persons seeking damages;
and

(2) What claim you think may result,

However, even when you notify us of an incident
or “wrongful act”, this does not relieve you of your
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obligation to also notify us of any resulting claim
or “suit”.

b. When you first learn of a claim made or “suit”
brought against any insured, you must:

(1) Immediately record the specifics of the clairn
or "suit" and the date received; and

(2) Notify us as soon as practicable.

You must see to it that we receive written notice of
the claim or “suit” as soon as practicable.

c. You and any other involved insured must:
(1) Immediately send us copies of any demands,
notices, summonses or legal papers received

in connection with the claim or a “suit:

(2) Authorize us to obtain records and other

inforrnation; 8.
(3) Cooperate with us in the investigation,
settlement or defense of the claim or “suit”;
(4) Assist us, upon our request, in the
enforcement of any right against any person
or organization who may be liable to the
insured because of damages to which this
insurance may also apply; and
(5) In no way jeopardize our rights after an
incident or “wrongful act”.

d. No insureds will, except at their own cost,
voluntarily make a payment, assume any
obligation or incur any expense, other than for
“first aid”, without our written consent,

Examination Of Your Books And Records

We may examine audit and copy your books and

records as they relate to this policy at any time during

the policy period and up to three years afterward,

9.

Governmental Immunity.

Because you are a public institution, you may be

entitled to governmental immunity. This policy does

not constitute a waiver of any governmental immunity

to which you are entitled.

Inspections And Surveys

We have the right but are not obligated to:

a. Make inspections and surveys at any time;

b. Give you reports on the conditions we find; and

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c. Recommend changes.

Any Inspections, surveys, reports or recommen-
dations relate only to insurability and the premiums to
be charged. We do not make safety inspections. We
do not undertake to perform the duty of any person or
organization to provide for the health or safety of
workers or the public. And we do not warrant that
conditions:

a. Are safe or healthful: or

b. Comply with laws, regulations, codes or
standards.

This condition applies not only to us, but also to any
rating, advisory, rate service or similar organization
which rakes insurance inspections, surveys, reports
of recommendations.

Legal Action Against Us.

No legal action may be brought against us unless, as
a condition precedent thereto, the insured has fully
complied with ail the terms of this policy. In addition,
no person or arganization has a right under this
policy:

a. To join us as a party or otherwise bring us into a
“suit” asking for darnages from an insured: or

b. To sue us on this policy unless all of its terms
have been fully complied with.

A person or organization may sue us to recover on,
an agreed settlement or on a final judgment against
an insured obtained after an actual tial: but we will
not be liable for damages that are not payable under
the terms of this policy or that are in excess of the
applicable Limit of Insurance. An agreed settlement
means a settlement and release of liability signed by
us, the insured and the claimant or the claimant's
legal representative.

Other Insurance.

a, Except for such other insurance that is pur-
chased specifically to be excess of the Limits of
Insurance provided by this policy, the insurance
provided by this policy form is excess over any
other collectible insurance and its deductible or
self-insured retention provisions. The presence of
a deductible or self-insured retention in such other
insurance will not amend the deductible provision
of this policy.

b. When this insurance is excess, we will have no
duty to defend any claim or “suit that any other
G-129286-A (ED. 11/97)

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insurer has a duty to defend. if no other insurer
defends, we will undertake to do so, but we will be
entitled to the insured’s rights against all those
other insurers.

c. When this insurance is excess over other
insurance, we will pay only our share of the
damages, if any, that exceeds the sum of:

(1) The total amount that all such other insurance
would pay for the damages in the absence of
this insurance: and

(2) The total of all deductible and sell-insurect
amounts under all that other insurance.

d. When both this insurance and other insurance
apply to the loss on the same excess basis, we
will share with such other insurance by the
method described below:

(1) If all of the other insurance permits
contribution by equai shares, we will follow
this method also. Under this approach, each
insurer contributes equal amounts until it has
paid its applicable Limit of Insurance or none
of the loss remains, which comes first.

(2) If any of the other insurance does not permit
contribution by equal shares, we will
contribute by limits. Under this method, each
insurer's share is based on the ratio of its
applicable Limit of insurance to the total
applicable Limit of Insurance of all insurers,

10. Premium Audit.

ifthe Declarations states that the policy is Subject to
audit:

a. The premium shown in the Declarations is a
deposit premium only. At the close of each audit
period we will compute the earned premium for
that period.

b. Audit premiums are due and payable on notice to
the first Named Insured. If the sum of the
advance and audit premiums paid for the policy
term Is greater than the earned premium, we will
return the excess to the first Named Insured,

c. The first Narned Insured must keep records of the
information we need for premium computation,
and send us copies at such times as we may
request.

171. Premiums

The first Named Insured shawn in the Declarations:

12.

13.

14,

15,

16,
PAGE 6 of 8

a. |s responsible for the payment of all premiums;
and

b. Will be the payee for any return premiums we pay.
Representations.

By accepting this policy, the Narned Insured agrees
that:

a. The statements in the Declarations and in the
application for insurance are accurate and
complete;

b. Those statements are based upon represen-
tations which the insureds made to you, and
which you made to us; and

c, We have issued this policy in reliance upon those
representations.

Separation Of Insureds.

Except with respect to the Limits of Insurance, and
any rights or duties specifically assigned to the first
Named Insured, this Insurance applies:

a. As if each Named Insured were the only Named
Insured; and

b. Separately to each insured against whom claim is
made or “suit” is brought.

Settlement.

if the first Named Insured, on behalf of all insureds,
refuses to consent, within a reasonable period of time,
to any settlement offer we recommend and elects to
contest the claim or continue any legal proceedings in
connection with such claim then, subject to the
provisions of Section Ill - Limits of Insurance, our
liability for the claim will not exceed the amount for
which the claim could have been settled, plus the cast
of defense incurred by us up to the date of such
refusal.

Transfer Of Rights Of Recovery Against
Others To Us,

If the insured has rights to recover all or part of any
Payment we have made under this policy, those rights
are transferred to us. The insured must do nothing
after loss to impair them. At our request, the insured
will bring “suit” or transfer those rights to us and help
us enforce them.

Your Authority And Duties.

 
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The first Named Insured shown in the Declarations
agrees to act on behalf of all insureds with respect to
cancellation, notice of any incident, “wrongful act”,
claim or "suit", payment or return of any premium, or
consent lo a claim settlement that we recommend.
Each Insured, by accepting this insurance, agrees to:

a.

Have the first Named Insured act for them in such
matters: and

Promptly notify the first Named Insured, in writing,

of any incident or “wrongful act” which may result 7.
in a claim, or of any claim or “suit” brought
against ther.

SECTION V—DEFINITIONS

1.

G-1292B6-A (ED. 11/97)

“Auto” means a land motor vehicle, trailer or semi-
trailer designed for travel on public roads.

“Bodily injury” means:

a.

Any physical harm to a person's health, including
sickness or disease; and

Any metal harm to, or the death of, the same
person described in 2.a, above, as a direct result
of such physical harm.

“Coverage territory” means:

a.

The United States of America (including its
territories and possessions), Puerio Rico and
Canada: and

All ather parts of the world if:

(1) The “wrongful act” is committed by an Insured
whose home is in the territory described in
(a.) above, but is away for a short time on
your business; and

(2) The insured’s responsibility to pay damages
is determined in a “suit” on the merits in the
territory described in (a.) above or in a
setttement to which we agree.

“Defense expenses” mean expenditures including, but

nat limited to, aur costs of investigations, experts,
adjustment services, legal services, court costs, and = 8.
other similar expenses.

“First aid” means the rendering of emergency medical
treatment by any of your law enforcement officers, but
only when care by a licensed medical professional is
not immediately availabte,

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“Injury” means “bodily injury”, “property damage” or
“personal injury”:

a. The insured did not expect or intend. "Injury"
resulting from the use of reasonable force to
protect persons or property will not be considered
expected or intended; and

b. Arising out of the insured’s duties to provide law
enforcement and/or other activities approved by
you.

“Personal injury" means injury, other than “bodily
injury", arising out of one or more of the following:

a. False arrest; wrongful detention or wrongful
imprisonment;

b. Malicious prosecution:

c. Assault and battery from the use of reasonable
force lo protect persons or property:

d. Discrimination, unless uninsurable by law;

e. Humiliation;

f. False or improper service of process:

g. Violation of property rights;

h. Violation of civil rights, unless uninsurable by law;

. Wrongful eviction or wrongful entry, or other
violations of the right of private occupancy; and

J. The oral or written publication of material that:

(1) Defames, slanders or libels a person or org:
anization or disparages a person's or org-
anization’s goods, products or services: or

(2) Violates a person's right of privacy.

However, “personal injury” does not inctude the
oral or written publication of material in the course
of, or related to, advertising, broadcasting,
telecasting or videotaping activities conducted by
or on behalf of any insured.

“Property damage” means:

a. Physical injury to tangible property, including alt
resulting loss of use of that property: or

b. Loss of use of tangible property that is not
physically injured.
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9. “Suit” means a civil proceeding in which damages to

which this insurance applies are alleged.
includes;

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"Suit"

10,

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a. An arbitration proceeding in which such damages
are claimed and to which you must submit or do
submit with our consent: or

b. Any other alternative dispute resolution
Proceeding in which such damages are claimed
and to which you submit with our consent.

“Wrongful act” means any actual or alleged error or
misstatement ar act or omission or neglect or breach
of duty, including misfeasance and nonfeasance, by
the insured In the discharge of duties for you,

“Wrongful act" includes allegations of malfeasance,
but only if they are ultimately proven to be groundiess.
This insurance does not apply to malfeasance if there
is a final legat determination that such has taken
place.
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Exhibit C
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KLINE & SPECTER, PC.

By: JAMES J. WALDENBERGER, ESQUIRE
LD, Nos: 83837

1525 Locust Street, 19" Floor

 

Philadelphia, PA 19102
(215) 772-1000 Attomey for Plaintiff
NANCY ROBINSON WESTBROOKS, : COURT OF COMMON PLEAS
ADMINISTRATOR OF THE ESTATE OF JAMES: LYCOMING COUNTY, PA.
DAVID ROBINSON, deceased :
647 Maple Street : NO: 14 00573
WilHamspert, PA 17701 '
Plaintiff : JURY TRIAL DEMANDED

v :
JONATHAN DEPRENDA
2005 Blair Street

Williamsport, PA 17701-2871
AND

LIAMSFORT BUREAU OF POLICE
245 West Fourth Street
Williamsport, PA 17701

AND

CITY OF WILLIAMSPORT

33 W. 3" Street :

Williamsport, PA 17701 qt
Defendants

 

PLAINTIFF'S FIRST AMENDED COMPLAINT
I. PARTIES |
. 1. Plaintiff, Nancy Robinson Westbrooks, is an adult individual with an address of 647
Maple Street, Williamsport, PA. 17701. Ms, Westbooks is the mother of James David Robinson, age
42, who died on January 12, 2014, Ms, Westbrooks was appointed Administrator of the Estate of

James David Robinson on February 4, 2014,

FY

 
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2. Defendant, Jonathan Deprende, is an adult individual and resides at 2005 Blair Sireet,
Williamsport, PA 17701-2871.

3. Defendant, Williamsport Bureau of Police, is a governmental entity, duly organized
and existing under the laws of the Commonwealth of Pennsylvania, with a principal place of
business located at 245 West Fourth Street, Williamsport, PA 17701.

4, Defendant, City of Williamsport, is a governmental entity, duly organized and
existing under the Jaws of the Commonwealth of Pennsylvania, with a principal place of business
located at 33 W.3™ Street, Williamsport, PA 17701.

5. At all relevant times, Defendant, Jonathan Deprenda, was the agent, broker, servant
and/or ernployee of Defendants, Williamsport Bureau of Police and/or City of Williamsport, and
acting within the course of his employment and scope of authority. .

«6. At all relevant times, Defendants, Williamsport Bureau of Police and/or City of
Williamsport, each acted and/or failed to act through their officials, agents, workers, servants,
contractors, and employees, including but not limited to, Defendant Jonathan Deprenda, ail of whom
were acting within the scope of authority.

7. Atall relevant times, Defendants, Jonathan Deprenda, Williamsport Bureau of Police,

‘and/or City of Williamsport, were the agents, brokers, servants, alter-egos, instrumentalities, and/or
employees of each other and acting within the scope of their respective authorities.
Wl. STATEMENT OF FACTS

8, On January 12, 2014, James David Robinson (“Mr. Robinson”) was driving his

vehicle on East Third Street in Williamsport, Pennsylvaria,

9, At or about the same time, Defendant, Jonathan Deprenda (“Mr. Deprenda”), was
*

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driving his vebicle on East Third Street in excess of 100 miles per hour in a 35 mile per bour zone.

9," At approximately 6:48 p.m., Mr, Deprenda crashed into Mr. Robinson’s vebicle, Mr.
Deprenda was driving his vehicle in excess of 88 miles per hour, and on the wrong side of the road,
at the time of the crash. oH

10. ' Mr. Deprenda was an on-duty police officer at the time and operating his vehicle on
behalf of Defendants, Williamsport Bureau of Police and/or City of Williamsport, -

11, Upon information and belief, the crash occurred approximately one minute after a
radio‘call to Mr. Deprenda from the Lycoming County 911 Center indicated that the pursuit to which
Mr, Deprende was heading was over, |

12. The impast by Mr. Deprenda’s vehicle caused Mr. Robinson's vehicle to crash into an
alectrical pole and then a building, and catch on fire.

13. The aforementioned accident resulted solely from the negligence, recklessness and
deliberate indifference of Defendants.

14, Asthe result of Defendants’ negligent and reckless actions and/or omissions, Plaintiff

suffered severe injuries and damages, including, but not limited to:

a death;
b. severe pain and suffering;
G various and severe and painful bodily injuries as set out in James Robinson's

autopsy and medical records;
a. pre-impact fright;
e, funeral expenses;

f.. mental anguish; _
Case 4:19-cv-00170-MWB Document 1-2 Filed 01/30/19 Page 118 of 157

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g. disfigurement;

h, loss of life's pleasures;

i, lost wages; |

j. loss of future earning capacity;

k medical expenses;

1, exnotional distress;

in. all damages allowable under the Survival Act, 42 PaC.S.A. §8302, the
applicable Rules of Civil Procedure and the decisional lew interpreting the
Survival Act, including daniuges for lost earnings of the decedent hetween
the time of his injury and his death, his total estimated future earning power
less his cost of personal maintenance, and/or pain and suffering endured by
Mr. Robinson prior to his death, including, but not limited to, physical pain
and suffering, mental pain and suffering, mental suffering, loss of life’s
pleasures, disfigurement, and humiliation; |

a, all damages allowed under the Wrengful Death Act, 42 Pa.C.8.A, §8301, the
applicable Rules of Civil Procedure and all decisional law interpreting the
Wrongful Death Act, including, damages for medical, fimeral, and burial
expenses, expenses of administration, monetary support Mr. Robinson would
have provided during his lifetime, value of the services provided or which
could have been expected to have been performed in the future by Mr.
Robinson, and all pecuniary losses suffered as a result of Mr. Robinson's

death,
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MAY. 19. 201¢Cabe i 4-cv- Mali aESCIGbdument 1-2 Filed 06/09/14 Pad@ ?ldf20?. 7

0, all damages allowed under 42 Pa.C,8.A. §8528;
p. al] damages allowed under 42 Pa.C.S.A. §8553.
co I
NEGLIGENCE

Plaintiff, Nancy Robinson Westbrooks,
Administrator of the Estate of James David Robinson, deceased
Defendants, Jonathan Deprenda, Williamsport Bureau of Police,

and City of Williamsport

15. Plaintiffhereby incorporates by reference paragraphs lihrough 14 as though fully set
forth herein at length.

16. At all relevant times, Defendant, Jonathan Deprenda, was the emplovec, agent
and/representative of Defendants, Williamsport Bureau of Police and/or City of Williamsport, and
was acting within the scope of his authority and employment in the furtherance of their businesses,
Accordingly, Defendants, Williamsport Bureau of Police and/or City of Williamsport, are vicariously

liable for the negligent and reckless actions m;:d/oyamissions of Defendant, Jonathan Deprenda.

17, The negligence and recklessness of Defendants consists, inter alia, of the following:

a, failing to properly operate and control the motor vehicle;
b. driving at an excessive rate of speed under the circumstances;
c failing to maintain a proper look out;

d. crashing into Mr. Robinson’s vehicle;
® causing the collision with Mr. Robinson's vehicle;
f, failing to heed the traffic conditions then and there existing;

g. failure to operate the motor vehicle in such a manner so as to avoid the
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aforesaid occurrence;
h. reckless driving;
j. inattentive driving;
i, violation of the laws and ordinances of the City of Wilhamsport and

Lycoming County and the statutes and regulations of the Commonwealth of

Pennsylvania governing the operation of motor vehicles on the streets and

highweys:
j. failing to timely slow and/or stop the valiicle sc as to avoid a collision;
a :
k, failing to exercise due care & the operation of a motor vehicle so as nat to
endanger others;

m. violating 75 Pa.C.S.A. §3105(b)(3) by exceeding the maximum speed limit in
such a.menner so as to endanger life;
n. violating 75 Pa.C.S.A. §3105(e) by operating the motor vehicle with reckless
disregard of the safety of others; |
18, The above-referenced actions and omissions fall within the exceptions to
governmental immunity pursuant to 42 Pa.C.S.A. §8542(0)(1).
19. The above-referenced conduct of Defendants was the direct and proximate causes of,
and/or substantial contributing factors to, Plaintiff's damages as set forth above.
WHEREFORE, Plaintiff demands judgméfit ageinst cach named Defendant, jointly and
severally, for a sum in excess of Fifty Thousand ($50,000.00) Dollars, for compensatory damages,

and such other relief as this Court may deeyn just and proper.
Case 4:19-cv-00170-MWB Document 1-2 Filed 01/30/19 Page 121 of 157

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RR
NEGLIGENCE
Plaintiff, Nancy Robinson Westbrooks, |
Administrator of the Estate of James David Robinson, deceased
Defendants, Williamsport Bureau of Police and City of Williamsport

20. Plaintiff hereby incorporates by reference paragraphs 1 through 19 as though fully set
forth herein at length.

21, At ell relevant times, Defendant, Jonathan Deprenda, was the employee, agent
and/representative of Defendants, Williamsport Bureau of Police and/or City of Williamsport, and
was acting within the scope cf his authority and employment in the furtherance of their businesses,
Accordingly, Defendants, Williamsport Bureau of Police and/or City of Williamsport, are vicariously
liable for the negligent and reckless actions anid) ot dinissions of Defendant, Jonathan Deprenda, as
set forth above. : oe

22. ‘In addition to being vicariously liable for the negligent and reckless actions and/or
omissions of Defendant, Jonathan Deprenda, Defendants, Williamsport Bureau of Police and/or City
of Williamsport, are directly liable for their negligent and reckless actions and/or omissions, which
consist, inter alia, of the following:

a, failing to supervise Jonathan Deprenda;
b, failing to properly train Jonathan Deprenda;
g, failing to create, implement, and/or enforce policies and procedures relating —

_ to the operation of motor vehicles;

d. failing to create, implembnt,pnd/or enforce policies and procedures relating

 
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to responding to calls involving other officers;
€. failing to create, implement, and/or enforce policies and procedures relating
to responding to calls which have been called off and/or reported to be over.

23. The above-referenced actions and omissions fall within the exceptions to
governmental immunity pursuant to 42 Pa.C.S.A. §8542(b)(1).

24.  Theabove-referenced conduct of Defendants wus the direct and proximate causes of,
and/or substantial contributing factors to, Plaintiff's damages as set forth above.

WHEREFORE, Plaintiff demands judgment against each named Defendant, jointly and
severally, for a sum in excess of Fifty Thousand ($50,000.00) Dollars, for compensatory damages, |
and such other relief as this Court may deem just and proper, |

COUNT BI
CIVIL RIGHTS |
VIOLATION OF 42 U.S.C, SEC. 1983
Plaintiff, Nancy Robinson Westbrooks, .
Administrator of the Estate of James David Robinson, deceased
Defendant, J onsthan Deprenda

25. Plaintiff hereby incorporates by reference paragraphs Ithrough 24 as though fully set
forth herein at length,

26, Aral relevant times, Defendant’ Jetfathan Deprenda, was acting under the color of
the law, to wit, under the color of statutes, regulations, policies, customs and usages of the
Commonwealth of Pernsylvania and/or the City of Williamsport,

27. + Atall relevent times, Defendant, Jonathan Deprenda, was the employee, agent

and/representative of Defendants, Williamsport Bureau of Police and/or City of Williamsport, and
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was acting within the scope of his authority and employment in the furtherance of their businesses,

Accordingly, Defendants, Williamsport Bureau of Police and/or City of Williamsport, axe Vicaricusly

liable for Defendant, J onathan Deprenda’ s Violations of 42 U. S. Cc. Sec. 1983 and/or  deiiberate

indifference to the constitutions] rights of Mr. Robinson.

28. Defendant, J onathan Deprenda's violations of 42 U.S.C, Sec, 1983 and/or deliberate

indifference to the constitutional rights of Mr. Robinson consist, inter alia, of the following:

a,

b.

wr

_ aforesaid accurrence;

failing to properly operate and contro! the motor vehicle;
driving at an excessive rate of speed under the circumstances;
failing to maintain a proper look out;

crashing into Mr. Robinson’s vehicle;

causing the collision with Mr. Robinson's vehicle;

failing to heed the traffic. conditions then and there existing;

gt
failure to operate the motor vehicle in such a mahner so ag to avoid the

reckless driving:

inattentive driving:

violation of the laws and ordinances of the City of Williamsport and
Lycoming County and the statutes and regulations of the Commonwealth of
Pennsylvania governing the operation of motor vehicles on the streets and
highways;

failing to timely slow and/or Stop the vehicle so as to avoid a collision;

failing to exercise due care in the operation of a motor vehicle so as not to
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endanger others;
m, violating 75 Pa.C.S.A. §3105(b)3) by exceeding the maximum speed limit in
such a manner so a8 to endanger lifes - .
n. violating 75 Pa.C.S.A. §3105(e) by operating the motor vehicle with reckless
disregard of the safety of others;
0. driving far in excess of the speed limit despite Knowledge that the pursuit to
which he was responding was OVET; |
p. exceeding the speed limit by over 70 miles per hour,
q. exceeding the speed limit by over 50 miles per hour at the time of the crash.
29. The above-referenced actions constitute violations of 42 U.S.C. Sec. 1983, the
Fourteenth Amendment to the United States Constitution, and/or Mr. Robinson's right to substantive
due. process.
30, The above-referenced actions constitute a deliberate indifference to, and/or reckless
disregard for, Mr. Robinson’s safety and/or constitutional right to life,
31. The above-referenced actions are outrageous, egregious, and conscience-shocking,
and rise to a level of intention to cause harm.
32. The above-referenced actions ‘were. the direct and proximate causes of, and/or
substantial contributing factors to, Plaintiff's damages as set forth above.
WHEREFORE, Plaintiff demands judgment against each named Defendart, jointh and
sevezally, for a sum in excess of Fifty Thousand ($50,000.00) Dollexs, for compensatory damages,

and such other relief as this Court aay deem just and proper,

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COUN’ IV

 

CIVIL RIGHTS |
VIOLATION OF 42 US, C. SEC, 1983 -
" Plaintiff, Nancy Robinson Westbrooks,
Administrator of the Estate of James David Robinson, deceased
Defendants, Williamsport Bureau of Police and City of Williamsport

33. Plaintiff hereby incorporates by reference paragraphs I through 32 as though fully set
forth herein at length,

34, - At all relevant times, Defendants, Williamsport Bureau of Police and City of
Williamsport, were acting under the color of the law, to wit, under the color of statutes, regulations,
policies, customs and usages of the Commonweelth gf Pennsylvania and/or the City of Williamsport,

35. Upon information and belief; Défendants, Williamsport Bureay of Police and City of
Williamsport, possessed actual and/or constructive notice of Mr. Deprenda’s, and/or other police
officers’, prior operation of motor vehicles with reckless disregard and/or deliberately indifference to
the safety and/or constitutional rights of others.

35. _ Defendants, Williamsport Bureau of Police’s and City of Williamsport’s violations of
42 US.C, Sec. 1983 and/or deliberate indifference to the constitutional rights of Mr, Rebinson
consist, jnter alia, of the following:

a failing to supervise Jonathan Deprenda;

b, failing to properly train Jonathan Deprenda;

C. failing to create, implement, end/or enforce policies and procedures relating
to the operation of motor vehicles

d. failing to create, implement, and/or enforce policies and procedures telating

. fo responding to calls involving other officers;

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@. fai ling to create, implement, and/or enforce policies and Procedures relating
to responding to calls whiotthave been called off and/or reported to be over;

f sraploying, policies and/or procedures which recklessly disregard, and/or are
deliberately indifferent to, the safety and constitutional righis of the public
relating to. the operation of motor vehicles by police officers;

g. engaging in customs and/or practices which recklessly disregard, and/or sre
deliberately indifferent to, the safety and constitutional rights of the public
relating to the operation of motor vehicles by police officers;

h. failure to appropriately discipline Mr. Deprenda for prior operation of a
motor vehicle with reckless disregard and/or deliberately indifference to the
safety and/or constitutional rights of others. .

29. The above-referenced actions congiitute violations of 42 U.S.C. Sec, 1983, the

Fourteenth Amendment to the United States Constitution, and/or Mr. Robinson’ s right to substantive

due process,

30, The above-referenced actions constitute policies and/or practices which evidence a

deliberate indifference to, and/or reckless disregard for, Mr. Robinson’ s safety and/or constitutional

right to life.

31. The above-referenced actions are outrageous, egregious, and conscience-shocking,

and rise to a level of intention to cause harm.

32. The above-referenced actions were the direct and proximate causes of, and/or

substantial contributing factors io, Plaintiff's damages as set forth above.

WHEREFORE, Plaintiff demands judgment. against each named Defendant, jointly end

severally, for 2 sum in excess of Fifty Thousand ($50,000.60) Dollars, for compensatory damages,

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and such other relief as this Court may deem just and proper.
FIRST CAUSE OF ACTION - WRONGFUL DEATH

Plaintiff, Nancy Robinson Westbrooks,
Administrator of the Estate of Jaynes David Robinson, deceased,
v

All Defendants

33, Plaintiff hereby incorporates by reference paragraphs } through 32 as though fully set
forth herein at length.

34, Mr. Robinson left surviving him the following person who may be entitled to recover
for damages under the Wrongful Death Act:

(2) Nancy Robinson Westbrooks
647 Maple Street
Williamsport, PA 1770)

35. Plaintiff, Nancy Robinson Westbrooks, as Administrator of the Estate of James David
Robinson, deceased, brings this Wrongful Death action on behalf of the beneficiary under and by
virtue of the Acts of 1855, P.L. 309, as amended, 4g,Pa C.S.A. Sec, 8301, the applicable Rules of
Civil Procedure, and decisional law. -

36. As a result of the acts and omissions of the defendants, as set forth above, Mr.
Robinson was caused grave injuries and death resulting in the entitlement to damages by said
beneficiary under the Wrongful Death Act,

37. Plaintiff, Nancy Robinson Westbrooks, as Administrator of the Pstate of James David
Robinson, claims damages for all administrator's expenses recoverable under the Wrongful Death
Act, including, but not limited to, damages for hospital, medical, funeral, and burial expenses, and
expenses of administration necessitated by reason of injuries causing decedent's death.

38. Plaintiff, Nancy Robinson Westbrooks, as Administrator of the Estate of James David

Robinson, claims damages for loss of the monetary support that decedent would have provided to his
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beneficiary during decedent's lifetime, including, but not limited to earnings, maintsnance, support,
and other similar losses recognized under the Wrongful Death Act that she would have received from
him for the rest of decedent’s natural life,

39, Plaintiff, Nancy Robinson Westiirogks, as Administrator of the Estate of James David
Robinson, claims under the Wrongful Death Act, damages for the services provided or which could
have beer. expected to have been performed in the future by decedent,

40. Plaintiff, Nancy Robinson Westbrooks, as Administrator of the Estate of James David
Robinson, claims damages under the Wrongful Death Act, for all pecuniary losses suffered by
beneficiary.

41. Plaintiff, Nancy Robinson Westbrooks, as Administrator of the Estate of James David
Robinson, claims damages under the Wrongful Death Act, an amount to compensate beneficiary for
the loss of contribution between the time of death and today, and the amount of support that decedent
would have contributed in the future,

42. Plaintiff, Nancy Robinson Westbrook, as Adrninistrator of the Estate of James Davia
Robinson, claims, on behalf of the Wrongful Death Act beneficiary, damages for emotional and
profound loss, and other similar losses recognized under.the Wrongful Death Act.

43. Plaintiff, Nancy Robinson Westbrooks, as Administrator of the Estate of James David
Robinson, claims, on behalf of the Wrongful Death Act beneficiary damages under the Wrongful
Death Act, damages for the loss of companionship, services, comfort, society, guidance, solace, and
protection of decedent.

a4 Plaintiff, Nancy Robinson Westbrooks, as Administrator of the Estate of James David

Robinson, claims damages under the Wrongful Death Act, and the full measure of damages allowed

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under the law and under the cutegories of administrator's expenses, support, and services as defined
under the laws of the Commonwealth of Pennsylvania. .

WHEREFORE, Plaintiff demands judgment against each named Defendant, jointly and
severally, for a sum in excess of Fifty Thousand ($50,000,00) Dollars, for compensatory damages,
and such other relief as this Court may deem just and proper.

SECOND CAUSE OF ACTIGN. SURVIVAL ACTION
Plaintiff, Nancy Robinson Westbrooks,
Administrator of the Estate of James David Robinson, deceased
AE Defendants

43. Plaintiifhereby incorporates by reference paragraphs \through 44 as though fully set
forth herein at length.

46. Nancy Robinson Westbrooks, as Administrator of the Estate of James David
Robinsog, brings this Survival Action on behalf of the Mr, Robinson under and by virtue of 42
Pa.C.8.A. § 8302, the applicable Rules of Civil Procedure and decisional law.

47,  Asaresult of the actions and/or omissions of Defendants, as set forth above, Mr.
Robinson was caused grave injuries and death sesulting in the entitlement to damages by said

a
beneficiaries under the Survival Act. - oS

48. Aaa result of the death of, Mr. Robinson, his Estate has been deprived of the

economic value of his life expectancy, and plaintiff, Nancy Robinson Westbrooks, as Administrater
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of the fstate of James David Robinson, and on behalf of Survival Act beneficiary, claim under the

Survival Act, damages for all pecuniary losses suffered by the Estate as a result of his death,

 
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including all loss of income, earnings, retirement income and benefits and Social Security meome,
until death, as a result of decedent’s death,

4S, Plaintiff, Nancy Robinson Westbrooks, as Administrator of the Estate of James David
Robinson, and on behalf of Survival Act beneficiary, further claims under the Survival Act, the total
amount that decedent would have earned between today and the end of his life expectancy. Plaintiff
especially seeks the total amount of future lost edining capacity, including, but not limited to the total
amount of future lost earnings and earning capacity, including, but not limited to the total lost future
net earnings for decedent, less his cost of personal maintenance.

50. Plaintiff, Nancy Robinson Westbrooks, as Administrator of the Estate of James David
Robinson, deceased, and on behalf of Survival Act beneficiary, further claims, under the Survival
Act, damages for embarrassment, disfigurement, humiliation, and mental anguish.

41. Plaintiff, Nancy Robinson Westbrooks, as Administrator of the Estate of James David
Robinson, on behalf Survival Act beneficiary, further claim, under the Survival Act, damages forthe
conscious pain and suffering, and inconvenience endured by decedent prior to his death, including,
but not limited to physical pain and suffering, mental pain and suffering, and the frizht and mental
suffering attributed to the peril leading to decedent's, death,

52. Plaintiff, Nancy Robinson Westbrooks, as Administrator of the Estate of James Devid
Robinson, claims the full measure of damages under the Survival Act and decisional law interpreting

said Act.

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WHEREFORE, Plaintiff demands judgment against each named Defendant, jointly and

severally, for a sum in excess of Fifty Thousand ($50,000.00) Dollars, for compensatory damages,

and such other relief as this Court may deem just and proper.
Respectfully submitted,

KLINE & ERSP.C.

Dated: $//4/fH By:

 

JAMES J, ALDENBERGER, ESQUIRE
AseOrne? for Plaintiff

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Case 4:19-cv-00170-MWB Document 1-2 Filed 01/30/19 Page 132 of 157

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VERIFICATION
1, Nenoy Robinson Weatbrooks, Administator of the Estate of James David Robinson,
‘deceased, hereby stute that I am the Plaintiff in this action and that the facts set forth in the
foregoing Amended Complaint are true and correct to the best of my knowledge, information and
belic# I understand thst this statement is mado subject to the penaltics of 18 Pa. CSA. § 4504
relating i unswom falsification te authorities.

Date: Mier

 

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Exhibit D
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Case 4:14-cv-01114-JEJ Document 37 Filed 11/16/15 Page 1 of 8
Case 4:14-cv-01114-JEJ Document 36-1 Filed 11/13/15 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

NANCY ROBINSON WESTBROOKS,
ADMINISTRATOR OF THE ESTATE OF
JAMES DAVID ROBINSON, deceased

Plaintiff
Civil Action No, 14-1114
v. :
JONATHAN DEPRENDA, ET. AL.

Defendants

 

ORDER APPROVING SETTLEMENT AND ORDER FOR DISTRIBUTION

AND NOW, on this (GK day of oben ye4 2015, upon cansideration of Plaintiff's
Petition for Approval of Settlement, Allocation of Settlement Proceeds between Wrongful Death
and Survival Claims, and Approval of Distribution of Settlement Proceeds, it is hereby
ORDERED and DECREED that Petitioner ts authorized to enter into a settlement with the

defendants in the gross sum of $],000,000.00,

It is further ORDERED and DECREED that the total proceeds, including settlement
proceeds, be allocated and distributed as follows:
TO: Kline & Specter, P.C. — fee $333,333.33

TO: Kline & Specter, P.C, - reimburse costs $27,434.36

The balance of $639,232.31 is hereby allocated 85% to the wrongful death action and
15% to the survival action distributable as follows:

(CONTINUE TO NEXT PAGE)
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Case 4:14-cv-01114-JEJ Document 37 Filed 11/16/15 Page 2 of 8
Case 4:14-cv-01114-JEJ Document 36-1 Filed 11/13/15 Page 2 of 2

Wrongful Death Action — 85% of $639,232.31
TO: Nancy Westbraoks . $543,347.46
Survival Action — 15% of $639,232.31

TO: Nancy Westbrooks, Administratrix of
the Estate of James Robinson, deceased $95,884.85

BY THE COURT:

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Case 4:19-cv-00170-MWB Document 1-2 Filed 01/30/19 Page 136 of 157

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EXHIBIT A

 
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Short Certificate

Commantoealth of Pennsylvania { ss
Connty of Lycoming

I, Annabel Miller, Register of Wills in and for Lycoming County, Pennsylvania, DO
HEREBY CERTIFY that on the 4th day of February, 2014, NANCY ROBINSON
WESTBROOKS was duly and legally appointed as Administratrix of the estate of JAMES
DAVID ROBINSON, Late of Lycoming County, Pennsylvania, and having been duly qualified
as such according to law, as can be verified by reference to the records in my office, and that

Letters of Administration were granted to her which have not been revoked,

WITNESS my hand and seal of office, at Williamsport, in the County aforesaid, this 4th day
of February, 2014,

Date of Death 1/12/2014 o~
Social Security No. XXX-XX-XXXX 4rwibed tylley

Register of Wills

 

NOT VALID WITHOUT ORIGINAL SIGNATURE AND IMPRESSED SBAL

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Case 4:19-cv-00170-MWB Document 1-2 Filed 01/30/19 Page 138 of 157

 

Case 4:14-cv-01114-JEJ Document 37 Filed 11/16/15 Page 5 of 8
Case 4:14-cv-01114-JEJ Document 36-3 Filed 11/13/15 Page 1 of 2

EXHIBIT B
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Case 4:14-cv-01114-JE3 Document 37 Filed 11/16/15 Page 6 of 8
Case 4:14-cv-01114-JE) Document 36-3 Filed 11/13/15 Page 2 of 2

ESTATE OF JAMES ROBINSON » DECEASED

IKLINE & SPECTER, P.C.
LEGAL COSTS AND EXPENSES

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

MEDICAL RECORDS
| TOTAL MEDICAL RECORDS EXPENSE | 4,500.00 |
EXPERT REVIEW
TOTAL EXPERT REVIEW EXPENSE 17,100.66
MISCELLANEOUS
Messenger/Courier/UPS/Fed-Ex 1,389,20
Filing/Service/Court/Witness Fees 830,28
Postage 97.22
‘Telephone/Facsimile 498.39
Photocopying/Color copying 1,629.73
Travel/Lodging/Meals 1,379,358
Research 9.50
TOTAL MISCELLANEOUS EXPENSE 5,833.70

 

 

 

 

 

TOTAL KLINE & SPECTER, P.C. COSTS $27,434.36 |

 
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EXHIBIT C
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Case 4:14-cv-01114-JEJ Document 36-4 Filed 11/13/15 Page 2 of 2

CERTIFICATION OF NANCY WESTBROOKS
1. I, Nancy Westbrooks, am Plaintiff in the matter of

 

Westbrooks vy. Jonathan
Deprenda, et al., U.S.D.CM.D.Pa., Docket No. 14-cv-01114, and was the mother of James

Robinson.

2, Y was represented by Shanin Specter, Esquire, James J, Waldenberger, Esquire,

and Braden R. Lepisto, Esquirs of Kline & Specter, P.C.

3, Tam completely and. totally satisfied with my legal representation in this matter,

4, Twas provided, and read, the Petition for Settlement Approval,

5, I approve the settlement of $1,000,000,00 to resolve all claims against all
defendants.

6.

] approve my attorneys’ fee of $333,333.33 and costs of $27,434.36,

ray WESTBROOKS, Petitioner and

Administratrix of the Estate of J ames
Robinson, deceased

Dated: vies 2015

ete,
Case 4:19-cv-00170-MWB Document 1-2 Filed 01/30/19 Page 142 of 157

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:

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

WANCY ROBINSON WESTBROOKS,
ADMINISTRATOR OF THE ESTATE OF
JAMES DAVID ROBINSON, deceased
Plainuff :
; Civil Action No, 14-1114
ve :
JONATHAN DEPRENDA, et al.

Defendants

 

PLAINTIF®’S PETITION FOR
APPROVAL OF SETTLEMENT,
ALLOCATION OF SETTLEMENT PROCEEDS
BETWEEN WRONGFUL DEATH AND SURVIVAL CLAIMS,
AND APPROVAL OF DISTRIBUTION OF SETTLEMENT PROCEEDS

Plaintiff, Nancy Robinson Westbrooks, Administratrix of the Estate of James David
Robinson, deceased, by and through her attorneys, Kline & Specter, P.C., respectfully request
this Honorable Court enter an Order approving a settlement of $1,000,000.00, allocating the
settlement proceeds between the Wrongful Death and Survival claims, and distributing the
settlement proceeds, as follows:

lL. This is case arises out of a motor vehicle accident between Officer Jonathan
Deprenda of the City of Williamsport’s police department and Plaintiffs decedent, James
Robinson, on January 12, 2014. Mr. Robinson was driving his vehicle on East Third Street in
Williamsport, Pennsylvania. At or about the same time, Officer Deprenda was driving his
vehicle on East Third Street in excess of 100 miles per hour in a 35 mile per hour zone, At

approximately 6:48 p.m., Officer Deprenda crashed into Mr. Robinson’s vehicle, At the moment

of the crash, Officer Deprenda was driving his vehicle in excess of 88 miles per hour, and on the
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wrong side of the road. The impact by Officer Deprenda’s vehicle caused Mr. Robinson's
vehicle to crash into an electrical pole and then a building, and catch on fire. Mr, Robinson died
from the injuries suffered in the crash,

2. Following motion practice at the onset of this litigation, the parties participated in
setilement negotiations with the assistance of the Honorable John E. Jones I. Along with
telephone conferences, Judge Jones conducted an in-person settlement conference on September
16, 2015. Plaintiff Nancy Westbrooks was personally present for part of the negotiations, After
a full day of negotiations, no agreernent was reached. However, the parties continued to
negotiate, with the assistance of Judge Jones, and came to a resolution on November 2, 2015,

3. The parties agreed to settle tne case for $1,000,000,00 and the following non-
economic terms:

a, Williamsport City Council will issue a public apology to Ms. Westbrooks;

b, Williamsport will re-name the Cultural Acts Grant Program in honor of
Mr. Robinson and will fund it at a $3,000 level for the next ten years;

G Williamsport will erect a plaque in Mr. Robinson’s honor in a City
building;

d. Williamsport will adopt a new pursuit policy with input from Plaintiff and
Plaintiff's counsel; and,

é, Williamsport will provide additional training for all Williamsport Police
Officers on emergency vehicle operation,

4, It should be noted that Plaintifi’s counsel is working to recover Mr. Robinson’s
underinsured motorist coverage limit of $25,000.00 from Progressive Casualty Insurance
Company, which provided underinsured motorist coverage to Mr. Robinson as of the time of the
accident. When the UIM claim is resolved, Plaintiff will file a supplemental Petition addressing

that settlement.
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5, James Robinson's date of birth was January 28, 1971 and his social security
number was XXX-XX-XXXX, Mr. Robinson died on January 12, 2014,

6. Nancy Westbrooks was Jumes Robinson’s mother, Her date of birth is December
30, 1951, her social security number is C560, and her address is 647 Maple Street,
Williamsport, Pennsylvania 17701. On February 4, 2014, Ms. Westbrooks was appointed
Adminisiratrix of the Estate of James Robinson, deceased by the Register of Wills of Lycoming
County. (See Letters of Administration, attached as Ex. A.)

7. As of the time of his death on January 12, 2014, James Robinson was unmarried
and Icft no issue surviving him,

8, This settlement is proper because:

(a) This was a complex case with catastrophic injuries in which liability was
vigorously defended on factual and legal grounds.

(b) Defendant presented several defenses. First, while Plaintiff likely would
have prevailed on her negligence claims against Williamsport and Officer Deprenda, she faced
significant challenges in proving her civil rights claims against either defendant. In order to
succeed on the civil rights claims, Plaintiff would have had to prove that Officer Deprenda’s
conduct “shocked the conscience” and that Williamsport instituted an unconstitutional custom,
policy, or practice that caused Mr. Robinson’s death. Defendants moved to dismiss Plaintiff's
claims arguing that she failed plead facts sufficient to state causes of action. Although
Defendants’ Motion was denied, they would have filed a Motion for Summary Judgment on
these issues and presented factual defenses on these issues, Although Plaintiff expected to
prevail at the summary judgment stated, admittedly, it would be a close call. On the issue of

police officers engaging in conduct that “shocks the conscience,” courts throughout the country
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often have dismissed claims involving somewhat similar circumstances. As for the claims
against Williamsport, Defendants have represented to Plaintiff that Williamsport did not have a
custom, policy, or practice that authorized officers to engage in the type of reckless behavior
engaged in by Officer Deprenda. According to Williamsport, the criminal case against Officer
Deprenda, in part, was based on the fact that he violated standing policies, procedures, and
training. Establishing at trial that Defendants violated Mr. Robinson’s civil rights would have
been a significant challenge.

Establishing the civil rights claims would be necessary to obtain a recovery anywhere
near the value of this case. The Pennsylvania Political Subdivision Tort Claims Act caps
Defendants’ labilizy at $500,000.00 for the negligence claims. Accordingly, Plaintiff would
have needed to prevail on the civil rights claims to obtain adequate compensation for Mr.
Robinson's death, Even if Plaintiff prevailed on her civil rights claims, she may have had
difficully collecting the judgment. Williarasport’s insurance coverage ($500,000.00) only
applies to the negligence claims. Williamsport is not covered for the civil rights cluims against it
and is not obligated to indemnify Officer Deprenda in connection with the civil rights claim
against him, So if Plaintiff prevailed on the civil rights claims against Officer Deprenda,
Plaintiff will not be able to collect that recovery from Williamsport, Given these significant
challenges, the settlement is in Ms, Westbrooks’ best interests.

9. Based on the above, this case presented several substantial obstacles to a verdict
in Plaintiff's favor beyond the settlement offer. Additionally, this settlement provides Ms,
Westbrooks with non-economic remedies that a jury would not have been able to impose against
Defendants. For these reasons, it is the professional opinion of James J. Waldenberger, Esquire,

and Braden R, Lepisto, Esquire, who are undersigned counsel for Plaintiff, that the proposed
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settlement is reasonable.

10. The fee arrangement entered into by Petitioner provides that counsel is to receive
one-third (1/3) recovery in this case, plus costs,

11, Plaintiff's counsel advanced $27,434.36 in costs, (See Litigation Expenses,
attached as Ex. B.) There was no guarantee that these costs ultimately would be recovered, In
the opinion of the undersigned, these costs were reasonable and necessary for the investigation
and litigation of this case,

12, Pursuant to the one-third (1/3) contingent fee agreement, counsel requests a fee in
the sum of $333,333.33. In the opinion of the undersigned, this fee is reasonable.

13. Petitioner requests allocation of the net proceeds of the settlement after deduction
of costs and attorney's fees, $639,232.31, as follows:

Wrongful Death Claim 85%
Survival Claim 15%

14. Pursuant to the Penusylvania Wrongful Death Act, the sole beneficiary of the
Wrongful Death claim is Petitioner Nancy Westbrooks.

15, Pennsylvania Jaw supports a presumption in favor of wrongful death beneficiaries
over estate beneficiaries (the Survival Action), warranting allocation of 85% of the net recovery

to wrongful death. See Krause v. B & O Railroad, 33 Pa. D.&C, 3d 458 (1983), Notably, a

 

portion. of the claim would have involved the loss of James Robinson’s services under the
Wrongful Death Act, 42 Pa.C.S.A. §8301, Damages for wrongful death are the value of the
decedent’s life to the family, as well as expenses caused to the family by reason of the death.
The Wrongful Death Statute, 42 Pa,C.S.A, Sec, 8301 (Purdon 1982), compensates the decedent's

survivors for the pecuniary losses they have sustained as a result of the decedent's death. Sinn vy.
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Bird, 486 Pa, 146, 151 n. 3, 404 A.2d 672, 6745 n. 3 (1979). This includes the value of services

the victim would have rendered to his family if he had lived. Heffner v. Allstate Insurance Co.

 

265 Pa.Super, 181, 401 A.2d 1160 (1979), aff'd 491 Pa. 447, 421 A.2d 629 (1980), Slaseman v.

Myers, 309 Pa.Super. 537, 455 A.2d 1213 (1983), see also Mecca v. Lukasik, 366 Pa. Super,

 

149, 163, 530 A.2d 1334, 1341 (1987) (“Damages for wrongful death are the loss of decedent's
life and the loss to his or her family.”)

In addition, the Pennsylvania Superior Court, in Rettger_v. UPMC, 991 A.2¢ 915 (Pa.
Super, 2010), held that damages for the “value of services,” under the Wrongful Death Act,
includes “society and comfort.” In Rettaer, a jury awarded $2.5 million in Wrongful Death
damages to the parents of Michael Rettger, who was twenty-four years old, unmarried and had
no children. Defendant sought remiéftitur of the Wrongful Death award on the basis that
“services” include “little more than the value of household chores.” However, the Superior
Court disagreed and held as follows:

“Damages for wrongful death are the value of the decedent’s life to
the family, as well as expenses caused to the family by reason of
the death.” Thus, ntembers of the decedent’s family enumerated
it the Wrongful Death Act may recover not only for medical,
funeral and estate administration expenses they incur, but alsa
the value of his services, including society and comfort.

UPMC’s argument seeks to diminish the valuc of “services” for
which decedent's family members, namely his parents, may be
compensated, implying that compensable “services” include little
more than the value of household chores. (“His only actual
‘services’ to his parents consisted of the performance of yard
work.”) As illustrated by the foregoing discussion, however, the
term clearly extends to the profound emotional and psychological
loss suffered upon the death of a parent or child where the
evidence establishes the negligence of another as its cause, In
this case, the jury recognized the depth of the anguish suffered by
Rettger’s parents, awarding them a sum which, while substantial,
could not compensate them for the loss of a son they had nurtured
to adulthood,

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Id. at 932-933. On February 16, 2011, the Pennsylvania Supreme Court denied allocator in
response to Defendants’ appeal of the Superior Court’s decision. Rettger v. UPMC, 15 A.3d 491
(Pa, 2011),

Consequently, Nancy Westbrooks, as the Wrongful Death Act beneficiary, is permitted to
recover the “value of services,” which includes “profound emotional and psychological loss,” as
explained in Rettger v. UPMC, 991 A.2d 915 (Pa. Super. 2010), alloc. denied, 15 A.3d 491 (Pa.
2011). In this circumstance, the profound emotional loss associated with losing her son, James,
supports the proposed allocation.

16. With regard to the distribution of the proceeds under the Wrongful Death Act, the
Act provides that “{t]he damages recovered shall be distributed to the beneficiaries in the
proportion they would take the personal estate of the decedent in the case of intestacy...” 42
Pa. C.4. Sec. 8301.

17. Accordingly, Petitioner respectfully requests an allocation of the settlement
proceeds atter decuction for attorneys’ fees ($333,333.33) and legal costs ($27,434.36), which
totals $639,232.31, as follows:

Wrongful Death Action — 85% of $639,232.31

TO: Nancy Westbrooks $543,347.46

Survival Action — 15% of $639,232.31

TO: Nancy Westbrooks, Administratrix of
the Estate of James Robinson, deceased $95,884.85

18. Nancy Westbrooks has reviewed this Petition and approves the settlement and

allocation set forth herein. (See Certification of Nancy Westbrooks, attached as Ex. C.)

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19. This Petition has been forwarded to Wrongful Death/Survival Action Request,
Business and Trust Evaluation Manager, Inheritance Tax Division, Bureau of Individual Taxes at
the Commonwealth of Pennsylvenia, Department of Revenue, Department 280601, Harrisburg,
Pennsylvania 17128 via overnight mail requesting approval of the allocation recited herein.

WHEREFORE, Petitioner requests Court approval of the proposed settlement recited

above and entry of the proposed Order,

Respectfully submitted,
KLINE & SPECTER, P.C,

By: ww

JAMES J.|;WALDENBERGER, ESQUIRE
y Attorney fpr Plaintiff'Petitioner
Dated: 3h

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CERTIFICATE OF SERVICE
1, JAMES J. WALDENBERGER, ESQUIRE, hereby certify that on the date listed below,
a true and correct copy of Plaintiffs Petition for Approval of Settlement, Allocation of
Settlement Proceeds between Wrongful Death and Survival Claims, and Approval of
Distribution of Settlement Proceeds was served via e-mail upon the following:
John P. Gonzales, Esquire
Marshall Deanehey Warner
Coleman & Goggin
2000 Market Street, Suite 2300

Philadelphia, PA 19103
Email: JPGonzeles@MDWCG.com

 

Ernest J. Bernabei, WI, Esquire
Harvey Pennington LTD
1800 John F. Kennedy Blvd
Suite 1300
Philadelphia, PA 19103

Email; EBERNABI@HARVPENN.COM

KLINE & SPECTER, B.C.

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Date: ia| 3 I \ BY:

 

i.
JAMES J. WWALDENBERGER, ESQUIRE
Attorney for Plaintiff‘Petitioner

4,

 
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Exhibit E
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COLLIAU CARLUCCIO KEENER MORROW PETERSON & PARSONS

ATTORNEYS AT LAW

THREE RADNOR CORPORATE CENTER
100 MATSONFORD Roao
SUITE 200
RADNOR, PA 19087

(610) 964-5840 = Fax (609) 495-8881

EDWARD M, NAPIERKOWSKI DIRECT DIAL
ATTORNEY (610) 964-5824

April 27, 2015

VIA FACSIMILE AND REGULAR MAIL
Williamsport Bureau of Police

City of Williamsport

C/O Norm Lubin, Esq.

Casale and Bonner, P.C.

33 W. 3” Street

Williamsport, PA 17701-6518

RE: Case No.: 14-005473
Insured: City of Williamsport, PA
Claimant: Estate of James David Robinson
Date of Loss: OL/12/2014
Policy: LEO 419711301
Issuing Co.: National Fire Insurance Co. of Hartford (NFICH)

Dear Mr, Lubin:

I have been asked to represent the interests of National Fire Insurance Company of
Hartford (“NFICH”) relating to this matter. As you are aware, NFICH issued Law Enforcement
Liability Policy 41911301 (1/1/2014-1/1/2015) to the City of Williamsport (“the City”). I write
to re-affirm NFICH’s position that there is no insurance coverage available to the City under the
Policy for the claims at issue in the Estate of Robinson v. Deprenda. et al, (“Robinson
Lawsuit”).

The City is aware that NFICH is participating in its defense in the Robinson Lawsuit
under Business Auto Policy MNA 410708561. The City is likewise aware that NFICH has
denied coverage under the Law Enforcement Liability Policy,

By way of background, the City was sued by the Estate of James Robinson (“Estate"),
Robinson was killed when he was struck by a City police vehicle driven by Jonathan Deprenda.
Mr. Deprenda was an employee of the Williamsport Police Department and, at the time of the
accident, was in the course and scope of his job duties. There are various counts in the Robinson

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(312) 822-6603 (214) 220-5916 (2133996-510) (609) 395-5500 (242-2745 (415) 932-7001) (8134889-5 165
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Lawsuit filed in state court in Lycoming County, Pennsylvania, Those counts are as follows: A)
Negligence; B) Violation of Civil Rights; C) Violation of 42 U.S.C. § 1983; D) Wrongful Death;
and E) Survival Action.

The Insuring Agreement for the Law Enforcement Liability Policy provides in relevant
part as follows:

/. Insuring Agreement.

a. We will pay those sums that the insured becomes legally obligated to
pay as compensatory civil damages because of “injury.” This
insurance applies only to such “injury” that results from a
“wrongful act” to which this insurance applies.

“Wrongful act” is defined in the policy as:

10. “Wrongful act” means any actual or alleged error or misstatement or
act or omission or neglect or breach of duty, including misfeasance
and nonfeasance, by the insured in the discharge of duties for you.

“Wrongful act” includes allegations of malfeasance, but only if they
are ultimately proven to be groundless. This insurance does not apply
to malfeasance if there is a final legal determination that such has
taken place,

The Law Enforcement Liability Policy responds to damages because of “injury.” “Injury” means
“bodily injury,” “property damage,” or “personal injury” that the insured did not expect or
intend. “Bodily injury” is defined as:

2. “Bodily injury’ means:

a, Any physical harm to a person's health, including sickness or
disease; and

b, Any mental harm to, or the death of, the same person
described in 2.a. above, as a direct result of such physical
harm,

The policy contains the below definition of “personal injury”:

7. “Personal injurv’ means injury, other than “bodily injury", arising
out of one or more of the following: ,.,

h, Violation of civil rights, untess uninsurable by law;
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Finally, there are certain exclusions in the Law Enforcement Liability Policy. One of those
exclusions relates to damages arising out of the use of a motor vehicle. That exclusion provides
that the insurance does not apply to:

c. Damages arising out of the ownership, maintenance,
management, operation, use, control, loading or unloading of
any “auto”, or motor or propelled vehicle of any kind, watercraft
or aircraft:

(1) Owned or operated by, rented or loaned to any insured; or

(2) Operated by any person on behalf of, or in the course of
employment by, an insured,

Included within the definition of “auto” is a land motor vehicle.

Pennsylvania courts have applied the automobile exclusion and upheld its validity in
various circumstances including circumstances analogous to those at issue here. See
Countryway Ins. Co. v. Slaugenhoup, 360 Fed.Appx. 348 (3d Cir. 2010), Wilcha v. Nationwide
Mut. Fire Ins. Co., 887 A.2d 1254 (Pa. Super. 2005); National Cas. Co. v. Borough of

Wyomissing, 57 Fed. Appx. 62 (3d Cir. 2003); Pulleyn y. Cavalier Ins. Corp., 351 Pa. Super, 347,
505 A.2d 1016 (1986).

It is my understanding that the City maintains there is coverage under the Law
Enforcement Liability Policy because the case here involves separate claims of civil rights
violations. In that regard, the relatively recent case of Aspen Specialty Ins. Co. v. Wilson
Borough, et al., 2011 WL 711053 (E.D. Pa.) (Feb. 28, 2011) is also notable. In that case, the
defendant borough was sued by the estate of a tort victim who was killed while the police were
involved in a high speed chase of a felon. Like here, there were § 1983 claims made against the
borough. A police professional liability policy issued to the borough contained an “automobile
exclusion” for bodily injury coverage. The court determined that there was no coverage because
“personal injury” must be “injury, other than bodily injury.” Since the injuries sustained were
“bodily injury,” there was no coverage. The Court noted: “merely because personal injury can
arise out of a violation of civil rights, does not mean that all civil rights violations result in
personal injury rather than bodily injury.” Id. at 3.

As referenced above, NFICH is participating in the defense of the City in the Robinson
Lawsuit under the Business Auto Policy. NFICH is working with the City to protect the City’s
interests in that action. As you know, NFICH is prepared to contribute a total of $500,000 in full
settlement of all claims arising out of the underlying accident.

NFICH owes no coverage to the City under the Law Enforcement Liability Policy. To
that end, NFICH stands ready to do all that is necessary to protect its interests regarding this

 
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matter including the filing of an affirmation declaratory judgment action in order to determine its
ultimate obligations under the Law Enforcement Liability Policy.

NFICH remains willing to work with the City in order to resolve the Robinson Lawsuit.
However, NFICH is not willing to concede “coverage” under the Law Enforcement Liability
Policy where none exists. To the extent that the City believes that there are facts or case law
which must be considered by NFICH in its coverage analysis, NFICH asks that it be immediately
brought to our attention and due consideration will be given to that information.

Your questions can be directed to me at (610) 964-5824.

Very traty'ypurs,
CF

Edward M. Caoterkeowski

   

EMN:edf

ce: Barry Wood (via e-mail only)
Ed Andrescavage (via e-mail only)

 
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VERIFICATION

I, Joe Pawlak, finance director of the City of Williamsport, verify that the facts set forth
in the foregoing Complaint, are true and correct to the best of my knowledge, information and
belief. I understand that the statements therein are made subject to the penalties of 18 Pa.C.S.
§4904 relating to unsworn falsification to authorities.

Date: 1/3 [\ An 22

Joe Pawlak | ) \

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CITY OF WILLIAMSPORT, : IN THE COURT OF COMMON PLEAS OF
Plaintiff = : LYCOMING COUNTY, PENNSYLVANIA
vs. ; DOCKET NO. 16-0520

CNA INSURANCE COMPANIES and
NATIONAL FIRE INSURANCE OF
HARTFORD,

Defendants

CERTIFICATE OF SERVICE
I, AUSTIN WHITE, hereby certify that a true and correct copy of the foregoing

Complaint was served this 4 day of January, 2019, upon the following, service as indicated:

First Class Mail, Postage Prepaid:

CNA Insurance Companies
333 South Wabash Avenue
Chicago, Hlinois 60604

National Fire Insurance Company of Hartford
333 South Wabash Avenue
Chicago, Illinois 60604

McCORMICK LAW FIRM

J, David Smith, .D. No. 27813
Austin White, I.D, No. 312789
Attomeys for Plaintiff

City of Williamsport

835 West Fourth Street
Williamsport, PA 17701
(570) 326-5131

 
